                                                                              Case 2:20-cv-02291-DOC-KES        Document 1   Filed 03/10/20   Page 1 of 92 Page ID
                                                                                                                      #:1


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                                                                                     Attorneys for Plaintiffs
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                                                                                 8                        UNITED STATES DISTRICT COURT
                                                                                 9                       CENTRAL DISTRICT OF CALIFORNIA
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                                                                                      LA ALLIANCE FOR HUMAN                     Case No. 2:20-cv-02291
                                                                                11    RIGHTS, an unincorporated
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                                      association, JOSEPH BURK,
                                                                                12    HARRY TASHDJIAN, KARYN                    COMPLAINT FOR:
                                     1990 SOUTH BUNDY DR., SUITE 705




                                                                                      PINSKY, CHARLES MALOW,
                                                                                13
                                          LOS ANGELES, CA 90025




                                                                                      CHARLES VAN SCOY, GEORGE                   (1) Negligence
                                                                                      FREM, GARY WHITTER, and                    (2) Violation of Mandatory Duty
                                                                                14    LEANDRO SUAREZ, individuals,                   (Cal. Gov’t Code § 815.6; Welf.
                                                                                                                                     & Inst. Code § 17000)
                                                                                15                        Plaintiffs,            (3) Violation of Cal. Civ. Code §
                                                                                                                                     3490, et seq.
                                                                                16          v.                                   (4) Violation of Cal. Civ. Code §
                                                                                                                                     3501 et seq.
                                                                                17    CITY OF LOS ANGELES, a                     (5) Inverse Condemnation/Violation
                                                                                      municipal entity; COUNTY OF LOS                of Art. I § 19 of California
                                                                                18    ANGELES, a municipal entity; and               Constitution
                                                                                      DOES 1 through 200 inclusive,              (6) Waste of Public Funds and
                                                                                19                                                   Resources (Cal. Civ. Proc. Code
                                                                                                          Defendants.                § 526a)
                                                                                20                                               (7) Violation of California
                                                                                                                                     Environmental Quality Act
                                                                                21                                                   (“CEQA”) (Cal. Pub. Res. Code
                                                                                                                                     § 21000 et seq.)
                                                                                22                                               (8) Violation of California Disabled
                                                                                                                                     Persons Act (Cal. Civ. Code § 54,
                                                                                23                                                   et seq.)
                                                                                                                                 (9) Violation of TITLE II of the
                                                                                24                                                   Americans with Disabilities Act,
                                                                                                                                     42 U.S.C. §§ 12131 et seq.
                                                                                25                                               (10) Violation of Section 504 of the
                                                                                                                                     Rehabilitation Act, 29 U.S.C. §§
                                                                                26                                                   791 et seq.
                                                                                                                                 (11) Violation of Due Process and
                                                                                27                                                   Equal Protection (42 U.S.C. §
                                                                                                                                     1983; U.S. Const. amend.
                                                                                28                                                   V/XIV)


                                                                                                                        COMPLAINT
                                                                              Case 2:20-cv-02291-DOC-KES   Document 1   Filed 03/10/20   Page 2 of 92 Page ID
                                                                                                                 #:2


                                                                                 1                                          (12) Violation of Due Process –
                                                                                                                               State Created Danger Doctrine
                                                                                 2                                             (42 U.S.C. § 1983; U.S. Const.
                                                                                                                               amend XIV)
                                                                                 3                                          (13) Uncompensated Taking (42
                                                                                                                               U.S.C. § 1983; U.S. Const.
                                                                                 4                                             amend. V/XIV)
                                                                                                                            (14) Municipal Liability for
                                                                                 5                                             Unconstitutional Custom or
                                                                                                                               Policy (42 U.S.C. §1983)
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                                     1990 SOUTH BUNDY DR., SUITE 705




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                                          LOS ANGELES, CA 90025




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                                                                                                                  COMPLAINT
                                                                              Case 2:20-cv-02291-DOC-KES       Document 1       Filed 03/10/20   Page 3 of 92 Page ID
                                                                                                                     #:3


                                                                                 1                                  INTRODUCTION
                                                                                 2         1.     People are perishing in the streets at a rate of three per day while the
                                                                                 3   City and County of Los Angeles have tried but failed to stem this tide of human
                                                                                 4   tragedy. 1 The numbers alone are staggering. There are 58,936 homeless
                                                                                 5   individuals in Los Angeles County (“County”) and 36,300 in the City of Los
                                                                                 6   Angeles’ (“City”)—an increase of 12 percent and 16 percent from just the prior
                                                                                 7   year’s count, respectively. 2 The City’s homeless population has nearly doubled
                                                                                 8   in the last three years. Some 75 percent of these are unsheltered persons who
                                                                                 9   lack regular access to basic hygiene care such as toilets, running water to wash
                                                                                10   hands, showers, sinks, kitchen, laundry which has led to filthy (and unhealthy)
                                                                                11   conditions. Los Angeles bears the dishonorable distinction of hosting the largest
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                                                                                12   unsheltered population in the country. 3
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                                                                                13         2.     In both the City and County, homeless encampments are becoming
                                                                                14   entrenched. With increased population density, unlimited property accumulation
                                                                                15   has fostered a proliferation of flea-infested rats and other vermin, which are
                                                                                16   largely responsible for the recent outbreaks of medieval diseases. Large items
                                                                                17   obstruct the free passage and use of the streets and sidewalks. Encampments
                                                                                18   have brought with them rampant drug sales and use, which in turn provide a
                                                                                19   platform for violent assaults and property crimes. Crime both on and by our
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                                                                                              County of Los Angeles, Public Health, Center for Health Impact
                                                                                22   Evaluation, Recent Trends in Mortality Rates and Causes of Death Among
                                                                                     People Experiencing Homelessness in Los Angeles County (October 2019),
                                                                                23   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                                     al.pdf.
                                                                                24
                                                                                           2
                                                                                             Los Angeles Homeless Services Authority (“LAHSA”), 2019 Greater
                                                                                25   Los Angeles Homeless Count (Sept. 5, 2019),
                                                                                     https://www.lahsa.org/documents?id=3467-2019-greater-los-angeles-homeless-
                                                                                26   count-total-point-in-time-homeless-population-by-geographic-areas.pdf.
                                                                                27         3
                                                                                              U.S. Dep’t of Housing and Urban Development (“HUD”), The 2018
                                                                                     Annual Homeless Assessment Report (AHAR) to Congress (December 2018),
                                                                                28   https://files.hudexchange.info/resources/documents/2018-AHAR-Part-1.pdf.

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                                                                                                                       COMPLAINT
                                                                              Case 2:20-cv-02291-DOC-KES       Document 1     Filed 03/10/20   Page 4 of 92 Page ID
                                                                                                                     #:4


                                                                                 1   homeless residents has intensified. 4 The multiplication of makeshift structures,
                                                                                 2   garbage, human waste, and other detritus has created circumstances throughout
                                                                                 3   the City that are crippling for local businesses, unlivable for residents, and deadly
                                                                                 4   for those on the streets. The environmental impact from power-washing human
                                                                                 5   waste and used needles into our oceans is unassessed and untold. The City and
                                                                                 6   County combined spend over a billion dollars annually providing police,
                                                                                 7   emergency, and support services to those living on the streets. And still, the
                                                                                 8   tragedy unfolds.
                                                                                 9         3.     This crisis has been building for decades, as mental health affliction
                                                                                10   and drug addiction rates have risen, so has the cost of housing, and support
                                                                                11   structures for those on the streets have been stretched to the breaking point by
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                                                                                12   burgeoning demands and insufficient funding by local, state, and federal
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                                                                                13   governments. The population of people experiencing homelessness has surged
                                                                                14   75 percent since 2012 while sustainable short- and long-term solutions have been
                                                                                15   in short supply. Los Angeles County Department of Public Health has repeatedly
                                                                                16   warned the City that basic hygiene services were needed to maintain public
                                                                                17   health in or near homeless encampments—but those critical services have been in
                                                                                18   short supply. 5
                                                                                19
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                                                                                21         4
                                                                                             Joel Grover and Amy Corral, A Homeless Man Punched Two People in
                                                                                     the Face, But Was Cited and Released, NBC Los Angeles, (Nov. 11, 2019, 4:00
                                                                                22   PM), https://www.nbclosangeles.com/news/local/hollywood-violent-homeless-
                                                                                     attacks-increase-video-564682831.html; Eric Leonard, Homeless Crime Jumps
                                                                                23   Nearly 50 Percent in Los Angeles, LAPD Says, NBC Los Angeles (Dec. 10,
                                                                                     2018, 4:52 PM), https://www.nbclosangeles.com/news/local/LAPD-Reports-
                                                                                24   Spike-in-Homeless-Crime-502407861.html; Zoie Matthew, Crimes Against the
                                                                                     Homeless Have Risen, and Advocates are Searching for Answers, Los Angeles
                                                                                25   Magazine (Oct. 15, 2019), https://www.lamag.com/citythinkblog/homeless-
                                                                                     crime/.
                                                                                26
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                                                                                              Matt Stiles, As Homeless Crisis Worsens in L.A., The County Leans On
                                                                                27   City Officials To Act, Los Angeles Times (June 8, 2019, 5:04 PM),
                                                                                     https://www.latimes.com/local/lanow/la-me-homeless-county-letter-20190608-
                                                                                28   story.html.

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                                                                                                                        COMPLAINT
                                                                              Case 2:20-cv-02291-DOC-KES        Document 1     Filed 03/10/20    Page 5 of 92 Page ID
                                                                                                                      #:5


                                                                                 1         4.     Homeless advocates have put pressure on the City and County for
                                                                                 2   years to permit public camping, allow the accumulation of piles of personal
                                                                                 3   property on the streets, and generally make it more comfortable for people to live
                                                                                 4   on the streets. But street-living is by no means more “comfortable,” because of
                                                                                 5   significant health issues and inherent danger involved in being unsheltered.
                                                                                 6   Enforcement of homeless-related crimes has been reduced, or in some cases
                                                                                 7   eliminated, in the name of compassion. But allowing people to die on the streets
                                                                                 8   isn’t compassionate; it’s cruel.
                                                                                 9         5.     The massive build-up of property and tents has made the sidewalks
                                                                                10   unpassable: Charles Van Scoy, restricted to a wheelchair, is trapped in his own
                                                                                11   home; Karyn Pinsky must walk with her young son in a stroller in the middle of
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                                                                                12   traffic. The Inner-City Arts Center must hire security to walk with students and
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                                                                                13   staff to and from campus. Business owners have suffered as well—customers
                                                                                14   cannot access stores and are declining to patronize them due to conditions on the
                                                                                15   street, and business owners are spending hundreds of thousands of dollars on
                                                                                16   increased sanitation and security measures and cannot maintain employees.
                                                                                17   Joseph Burk has lost tenants and hundreds of thousands of dollars in client
                                                                                18   accounts. Residents and workers throughout the area are confronted daily by
                                                                                19   disease, illicit drug sales and use, prostitution, and general filth and squalor.
                                                                                20   People are openly using drugs, urinating, and defecating in public.
                                                                                21         6.     Residential and commercial buildings alike have endured fires from
                                                                                22   homeless camps, where makeshift heaters are used to keep people warm, open air
                                                                                23   fires are used to cook food, utility wiring is tampered with to provide electricity,
                                                                                24   and arsons arise out of drug or property disputes. 6 Businesses are being dropped
                                                                                25
                                                                                26         6
                                                                                              James Queally, Firecrackers. Molotov cocktails. Fire attacks have shaken
                                                                                     L.A.’s homeless community, Los Angeles Times (Oct. 18, 2019, 7:00 AM),
                                                                                27   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                     attacks-fire; Joel Grover and Amy Corral, Los Angeles Homeless Illegally Use
                                                                                28   Fire Hydrants to Fill Water Balloons, Bathe, Shave, NBC Los Angeles (Aug. 23,

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                                                                                                                        COMPLAINT
                                                                              Case 2:20-cv-02291-DOC-KES        Document 1     Filed 03/10/20   Page 6 of 92 Page ID
                                                                                                                      #:6


                                                                                 1   by insurance companies because of the fire risks associated with the homeless
                                                                                 2   living on their sidewalks. 7
                                                                                 3         7.     The frequency of criminal conduct has increased so dramatically in
                                                                                 4   some areas that law enforcement officials can respond only to the most egregious
                                                                                 5   crimes—and often only after serious damage has been done. And those who are
                                                                                 6   experiencing homelessness pay the highest price for this lawlessness.
                                                                                 7   Aggravated assaults against homeless victims rose 57 percent from 2017 to 2018;
                                                                                 8   crimes with a homeless suspect increased by 28.5 percent. Those percentages are
                                                                                 9   set to increase again in 2019: in Central Division alone, the percentage of Part I
                                                                                10   (serious) crimes involving a transient victim year-to-date has risen 51.4 percent
                                                                                11   from 2018 and the percentage of Part I crimes involving a transient suspect has
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                                                                                12   risen 45.1 percent (although the overall Part I crime rate has only increased 3.2
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                                                                                13   percent). And as these crimes increase, recidivism is also on the rise as even the
                                                                                14   few arrested quickly return to the streets. 8
                                                                                15         8.     Humans living on the streets and in their cars have no regular access
                                                                                16   to sanitation facilities, so trash and human waste end up in public spaces and
                                                                                17   ultimately our oceans. Businesses are regularly cleaning used syringes out of
                                                                                18   their drains; an untold number are washed into our waterways. The
                                                                                19   environmental impact of the homelessness crisis was recently underscored in a
                                                                                20
                                                                                21
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                                                                                     2019, 5:11 PM), https://www.nbclosangeles.com/investigations/Los-Angeles-
                                                                                23   Homeless-Illegally-Use-Fire-Hydrants-to-Fill-Water-Balloons-Bathe-Shave-
                                                                                     558051461.html.
                                                                                24
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                                                                                              Joel Grover and Amy Corral, Your Insurance Is Canceled Because of
                                                                                25   Homeless Tent Fires, NBC Los Angeles (Sept. 23, 2019, 11:55 AM),
                                                                                     https://www.nbclosangeles.com/news/local/LA-Homeless-Encampment-Fires-
                                                                                26   Insurance-Rates-Tents-Homelessness-561145811.html.
                                                                                27         8
                                                                                              Grover, supra note 4,
                                                                                     https://www.nbclosangeles.com/news/local/hollywood-violent-homeless-attacks-
                                                                                28   increase-video-564682831.html.

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                                                                                                                         COMPLAINT
                                                                              Case 2:20-cv-02291-DOC-KES       Document 1     Filed 03/10/20    Page 7 of 92 Page ID
                                                                                                                     #:7


                                                                                 1   letter from the Environmental Protection Agency. 9 Yet the governmental policies
                                                                                 2   and inaction that perpetuate these pollutants continue unabated.
                                                                                 3         9.     The City of LA’s Bureau of Sanitation regularly power-washes
                                                                                 4   streets, sidewalks, and other public spaces that have been occupied by
                                                                                 5   unsheltered individuals; but those clean-ups cost millions of dollars and are
                                                                                 6   ineffective in proactively addressing the crisis. 10 In 2018, it cost over $35 million
                                                                                 7   to conduct almost 15,000 clean-ups of homeless encampments, yet the ultimate
                                                                                 8   benefits both to the encampment residents and to surrounding community are
                                                                                 9   minimal at best. The residents of the encampments are permitted to retain most
                                                                                10   of their belongings (health hazards included) back into the exact same area after
                                                                                11   the clean-up is conducted. Trash and human waste are often permitted to remain
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                                                                                12   or are pushed into surrounding streets. Id. Yet the City’s 2019-2020 budget has
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                                                                                13   actually increased funding for these ineffective programs by $6.45 million. 11
                                                                                14         10.    The mentally ill in this City and County are visibly suffering in the
                                                                                15   street, IMD (Institute for Mental Disease) facilities are overfilled, and even the
                                                                                16   antiquated conservatorship laws can’t work as they were meant to when there is
                                                                                17   nowhere for conserved persons to go. Without medical supervision, the most
                                                                                18   severely affected cannot hold jobs or housing, and are left to wander and fend for
                                                                                19   themselves in a horrific cycle of degradation. And the number of those suffering
                                                                                20
                                                                                21
                                                                                           9
                                                                                             Letter from Andrew Wheeler, Administrator, U.S. Environmental
                                                                                22   Protection Agency, to Gavin C. Newsom, Governor of California (Sept. 26,
                                                                                     2019), https://www.epa.gov/sites/production/files/2019-
                                                                                23   09/documents/9.26.19_letter-epa.pdf.
                                                                                24         10
                                                                                              Joel Grover and Amy Corral, Homeless Encampment Cleanups: Are
                                                                                     Millions of Tax Dollars Being Wasted?, NBC Los Angeles, (May 13, 2019, 8:44
                                                                                25   AM), https://www.nbclosangeles.com/news/local/Los-Angeles-Homeless-
                                                                                     Encampments-Tent-City-Trash-Garbage-Waste-Cleanup-509849151.html.
                                                                                26
                                                                                           11
                                                                                             Emily Alpert Reyes and Benjamin Oreskes, L.A. expands cleanup teams
                                                                                27   for homeless encampments, vowing to be ‘less reactive’, Los Angeles Times
                                                                                     (June 28, 2019, 1:18 PM), https://www.latimes.com/local/lanow/la-me-ln-
                                                                                28   homeless-encampment-cleanups-plan-20190628-story.html.

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                                                                                                                        COMPLAINT
                                                                              Case 2:20-cv-02291-DOC-KES         Document 1   Filed 03/10/20   Page 8 of 92 Page ID
                                                                                                                       #:8


                                                                                 1   has climbed with the increased prevalence of illegal narcotics, which are being
                                                                                 2   used to self-medicate or are the cause of the mental decline in the first place.
                                                                                 3          11.    The solutions currently under official consideration are too few, too
                                                                                 4   expensive, and take too long. There is no plan in place or being considered to
                                                                                 5   provide shelter for a majority of the region’s significant homeless population. In
                                                                                 6   2018 Mayor Garcetti unveiled his “A Bridge Home” initiative, which
                                                                                 7   commendably would up to 2,000 shelter beds to the City’s inventory. Yet due to
                                                                                 8   protests, legal challenges, construction costs, and location waffling, only 673
                                                                                 9   beds have opened to-date. Even if all 2,000 beds were available today, they
                                                                                10   would barely scratch the surface of the 27,221 beds needed in the City to house
                                                                                11   its unsheltered population. An additional burden is placed on the defendants by
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                                                                                12   many of the smaller neighboring municipalities, which have done very little to
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                                          LOS ANGELES, CA 90025




                                                                                13   address their own crises and instead rely on the City and County to pick up their
                                                                                14   slack. Yet instead of addressing these issues head-on, defendants maintain their
                                                                                15   inadequate trajectory. And the problem continues to outpace the solutions.
                                                                                16          12.    Proposition HHH, a $1.2 billion City project, is now expected to net
                                                                                17   only 5,873 supportive units and 1,767 affordable units, at a staggering cost of
                                                                                18   $531,000 to $700,000 per bed. 12 Likewise Measure H—a county-wide tax
                                                                                19   increase that was originally estimated to net $355 million in homeless-relief
                                                                                20   funding available per year—is spread so thin that it has failed to make any
                                                                                21   significant dent in the crisis. 13
                                                                                22
                                                                                23
                                                                                24          12
                                                                                               Ron Galpern, Los Angeles Controller, Report: The High Cost of
                                                                                     Homeless Housing: Review of Proposition HHH (Oct. 8, 2019),
                                                                                25   https://lacontroller.org/audits-and-reports/high-cost-of-homeless-housing-hhh/.
                                                                                26          13
                                                                                              LAHSA, LAHSA Releases 2019 Housing Inventory Count (Sept. 19,
                                                                                     2019), https://www.lahsa.org/news?article=584-lahsa-releases-2019-housing-
                                                                                27   inventory-count (“On our present course, it will take far too long to build far too
                                                                                     few units of housing to effectively end this crisis” – Peter Lynn, executive
                                                                                28   director LAHSA).

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                                                                                                                          COMPLAINT
                                                                              Case 2:20-cv-02291-DOC-KES       Document 1     Filed 03/10/20   Page 9 of 92 Page ID
                                                                                                                     #:9


                                                                                 1         13.    Despite the magnitude of the problem, there is hope. Steps could be
                                                                                 2   taken to provide safe sleeping spaces for the entire homeless population for a
                                                                                 3   fraction of the funds currently devoted the homelessness crisis. Union Rescue
                                                                                 4   Mission recently built a Sprung structure (large membrane tent) in a matter of
                                                                                 5   months—the single tent houses more than 100 people at a cost of only $10,000
                                                                                 6   per bed (including a six-month stay, security, and social services). 14 The City has
                                                                                 7   actually utilized this same structure in several places—yet for a variety of
                                                                                 8   reasons, the City’s cost was quadruple Union Rescue Missions’, at $42,000 per
                                                                                 9   bed. 15 In Hawaii, the city of Honolulu is putting up large military-grade
                                                                                10   inflatable tents in select parks to quickly and effectively provide shelter when the
                                                                                11   demand exceeds supply, at a cost of $6,000 per bed which also includes a 90-day
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                                                                                12   stay, security, and social services. 16 Sacramento has purchased small Pallet
                                     1990 SOUTH BUNDY DR., SUITE 705
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                                                                                13   shelters for $2,000 per bed. 17 Tiny houses are being used in Seattle to create
                                                                                14   micro-villages as bridge housing. 18 Entire kits can be purchased to house a family
                                                                                15
                                                                                16         14
                                                                                             Rev. Andy Bales and J. Michael Arnold, When it Comes to
                                                                                     Homelessness, We Must Do More and We Must Do it Now, Los Angeles
                                                                                17   Downtown News (Aug. 5, 2019),
                                                                                     http://www.ladowntownnews.com/opinion/when-it-comes-to-homelessness-we-
                                                                                18   must-do-more-and/article_6b08711a-b57e-11e9-850e-670a231aefa4.html.
                                                                                19         15
                                                                                              Joel Grover and Amy Corral, Inside the Massive Tent That Might be a
                                                                                     Partial Solution Homelessness in LA, NBC Los Angeles (Sept. 11, 2019, 1:45
                                                                                20   PM), https://www.nbclosangeles.com/news/local/los-angeles-la-homeless-
                                                                                     encampments-sprung-tents-shelter-skid-row/1965408/.
                                                                                21
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                                                                                               Dan Nakaso, Pilot project aimed at reducing Oahu’s homeless will start
                                                                                22   in Waipahu, Star Advertiser (Oct. 20, 2019, 5:28 PM),
                                                                                     https://www.staradvertiser.com/2019/10/20/hawaii-news/pilot-project-aimed-at-
                                                                                23   reducing-oahus-homeless-will-start-in-waipahu/; Allyson Blair, Giant inflatable
                                                                                     tents for the homeless could be coming to a park near you, Hawaii News Now
                                                                                24   (Nov. 27, 2018), https://www.hawaiinewsnow.com/2018/11/28/giant-inflatable-
                                                                                     tents-homeless-could-be-coming-an-oahu-park-near-you/.
                                                                                25
                                                                                           17
                                                                                             Theresa Clift, These small homeless shelters can be built in 20 minutes.
                                                                                26   Sacramento may buy dozens of them, The Sacramento Bee (Nov. 13, 2019, 4:50
                                                                                     PM), https://www.sacbee.com/news/local/article237332039.html.
                                                                                27
                                                                                           18
                                                                                            Sharon Lee, Tiny House Villages in Seattle: An Efficient Response to
                                                                                28   Our Homelessness Crisis (March 15, 2019),

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 10 of 92 Page ID
                                                                                                                   #:10


                                                                              1    of 4 in a large tent complete with furniture, refrigerator, heater, and electrical
                                                                              2    generator for a little more than $2,000 ($500 per bed). 19 Large “festival” tents
                                                                              3    that can be purchased for $400 are being used by the city of Modesto to address
                                                                              4    its own homelessness crisis. 20 3D printed 400-square foot homes can be built in
                                                                              5    less than 24 hours and cost only $4,000 to construct. 21
                                                                              6          14.    Even using the $10,000-per-bed number and extrapolating, it would
                                                                              7    cost roughly $272 million to provide a bed for every unsheltered person in the
                                                                              8    City, and an extra $170 million to provide a bed for every unhoused person in the
                                                                              9    rest of the County. 22 In other words, just one-quarter of the Proposition HHH
                                                                              10   funds could provide a bed for every unsheltered homeless person in the City.
                                                                              11   And using only 1.2 percent of the County’s $36.1 billion annual budget (less than
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                                                                              12   this year’s Measure H funds allocated to “combat homelessness”) the County
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                                          LOS ANGELES, CA 90025




                                                                              13
                                                                              14
                                                                              15
                                                                              16   https://shelterforce.org/2019/03/15/tiny-house-villages-in-seattle-an-efficient-
                                                                                   response-to-our-homelessness-crisis/.
                                                                              17
                                                                                         19
                                                                                            Relief ShelterKits, Relief Tents: Concept Designs,
                                                                              18   https://www.relieftents.com/relief-tents/shelterkit-living-supportkit/ (last visited
                                                                                   Mar. 9, 2020).
                                                                              19
                                                                                         20
                                                                                             Kevin Valine, Modesto homeless camp is filling up, but officials adapt
                                                                              20   to find room for more, The Modesto Bee (May 13, 2019, 4:58 PM),
                                                                                   https://www.modbee.com/news/local/article230345544.html; QAMP, Qamp
                                                                              21   Tent, https://qamp.com/products/qamp-tent?variant=35987893763 (last visited on
                                                                                   Mar. 9, 2020).
                                                                              22
                                                                                         21
                                                                                            Aria Bendix, These 3D-printed homes can be built for less than $4,000
                                                                              23   in just 24 hours, Business Insider (Mar. 12, 2019, 2:09 PM),
                                                                                   https://www.businessinsider.com/3d-homes-that-take-24-hours-and-less-than-
                                                                              24   4000-to-print-2018-9; Sharon Jayson, 3-D-pringed homes a concept turns into
                                                                                   something solid, The Washington Post (Mar. 6, 2020, 3:00 AM),
                                                                              25   https://www.washingtonpost.com/realestate/3d-printed-homes-a-concept-turns-
                                                                                   into-something-solid/2020/03/05/61c8b0d2-36e4-11ea-bf30-
                                                                              26   ad313e4ec754_story.html.
                                                                              27         22
                                                                                           See LAHSA, supra note 2, https://www.lahsa.org/documents?id=3467-
                                                                                   2019-greater-los-angeles-homeless-count-total-point-in-time-homeless-
                                                                              28   population-by-geographic-areas.pdf.

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                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20      Page 11 of 92 Page ID
                                                                                                                   #:11


                                                                              1    could provide a bed for every homeless person in its entire jurisdiction.23 When
                                                                              2    considering tent or pallet options, that amount is reduced even further.
                                                                              3          15.     And there are places to put these kinds of shelters. Hundreds of
                                                                              4    acres adjacent to LAX are owned and controlled by the City and could support
                                                                              5    thousands of beds. 24 Under Title V of the McKinney-Vento Homeless Assistance
                                                                              6    Act 25, the federal government is obligated to lease or deed underutilized federal
                                                                              7    property to local governments for the specific purpose of homeless assistance,
                                                                              8    such as the abandoned Federal Aviation Administration (FAA) building in
                                                                              9    Hawthorne, toured by a White House delegation in September. 26 The County’s
                                                                              10   General Hospital (LAC+USC) Building, with 1.5 million square feet of space in
                                                                              11   the heart of East L.A., has been vacant for over a decade—the County at one
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                                                                              12   point considered utilizing it for homeless assistance but is now evaluating it as a
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                                                                              13   “mixed use” property. 27 St. Vincent Medical Center, a 366-bed facility, is
                                                                              14   closing and both the City and County are in talks about purchasing it (though the
                                                                              15   extent to which either could or would use the infrastructure to capitalize on the
                                                                              16
                                                                                         23
                                                                                           County of Los Angeles, 2019-2020 Los Angeles County Budget: LA
                                                                              17   County budget process concludes with adoption of $36.1 billion supplemental
                                                                                   budget, https://www.lacounty.gov/budget/ (last visited on Mar. 9, 2020).
                                                                              18
                                                                                         24
                                                                                           Rob Eshman, Opinion: Imagine if L.A. put the same effort into housing
                                                                              19   the homeless that it does Olympic athletes, Los Angeles Times: Opinion (Nov.
                                                                                   10, 2019, 4:00 AM), https://www.latimes.com/opinion/story/2019-11-
                                                                              20   10/homeless-crisis-housing-2028-olympics-los-angeles.
                                                                              21         25
                                                                                              42 U.S.C. § 11411.
                                                                              22         26
                                                                                             Jeff Stein, Trump officials tour unused FAA facility in California in
                                                                                   search for place to relocate homeless people, The Washington Post (Sept. 11,
                                                                              23   2019, 5:49 PM), https://www.washingtonpost.com/business/2019/09/12/trump-
                                                                                   officials-tour-unused-faa-facility-california-search-place-relocate-homeless-
                                                                              24   people/.
                                                                              25         27
                                                                                            Jacqueline Ramírez, Second community meeting explores future of
                                                                                   former County Hospital, Boyle Heights Beat (Sept. 18, 2019),
                                                                              26   https://boyleheightsbeat.com/second-community-meeting-explores-future-of-
                                                                                   former-county-hospital/; Alex Medina, Community meeting to explore former
                                                                              27   County Hospital re-use, Boyle Heights Beat (June 12, 2019),
                                                                                   https://boyleheightsbeat.com/community-meeting-to-explore-former-county-
                                                                              28   hospital-re-use/.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 12 of 92 Page ID
                                                                                                                  #:12


                                                                              1    property to house exponentially more than 366 is yet to be seen). 28 The County
                                                                              2    owns over 200 acres of the Los Angeles County Fairgrounds (“Fairplex”) in
                                                                              3    Pomona which, while currently leased to the non-profit Los Angeles County Fair
                                                                              4    Association, may be negotiated to support shelters. The L.A. City Controller has
                                                                              5    recently identified 13,948 separate properties within the City owned by various
                                                                              6    public entities, many of which are vacant or underutilized. 29 Even small lots
                                                                              7    could support pallet houses individual tents, or “tiny home” communities with
                                                                              8    shared bathroom facilities.
                                                                              9          16.    Board-and-care facilities—which offer housing, meals, and basic
                                                                              10   assistance for those who need supportive care—could also be part of the solution.
                                                                              11   But they are closing all over California at rapid rates because it is becoming
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                                                                              12   economically infeasible to remain open. 30 This has resulted in an estimated 1,000
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                                                                              13   individuals becoming homeless in Los Angeles County in the last couple years—
                                                                              14   and without such supportive care, their conditions inevitably decline. Those
                                                                              15   same facilities—which are paid only $35 per-night-per-guest by government
                                                                              16   entities—could be utilized as temporary shelters with higher per-guest
                                                                              17   compensation ($60 per night). No infrastructure would need to be built, and the
                                                                              18
                                                                                         28
                                                                                            Eric Heinz, LA County bids to purchase St. Vincent Medical Center for
                                                                              19   homeless aid, Los Angeles Daily News, (Feb. 7, 2020, 8:24 AM),
                                                                                   https://www.dailynews.com/2020/02/07/la-county-bids-to-purchase-st-vincent-
                                                                              20   medical-center-for-homeless-aid/.
                                                                              21         29
                                                                                             Los Angeles City Controller, Publicly-Owned Properties,
                                                                                   https://controllerdata.lacity.org/dataset/Publicly-Owned-Properties/bawf-
                                                                              22   ixme/data (last visited Mar. 9, 2020); Los Angeles City Controller, Property
                                                                                   Panel: A guide to publicly-owned properties in the City of Los Angeles,
                                                                              23   https://lacontroller.maps.arcgis.com/apps/Cascade/index.html?appid=b6d7907c1
                                                                                   18d4ea2a1dd96bc0425633d (last visited Mar. 9, 2020); Natalie Hoberman,
                                                                              24   Despite housing crisis, LA lags in building its own sprawling land portfolio,
                                                                                   TheRealDeal (May 28, 2019, 1:00 PM),
                                                                              25   https://therealdeal.com/la/2019/05/28/despite-housing-crisis-la-lags-in-building-
                                                                                   on-its-own-sprawling-land-portfolio/.
                                                                              26
                                                                                         30
                                                                                            Jocelyn Wiener, Overlooked mental health “catastrophe:” Vanishing
                                                                              27   board-and-care-homes leave residents with few options, CalMatters: Projects
                                                                                   (Apr. 15, 2019), https://calmatters.org/projects/board-and-care-homes-closing-in-
                                                                              28   california-mental-health-crisis/.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20         Page 13 of 92 Page ID
                                                                                                                    #:13


                                                                              1    property owners would have greater financial incentive to stay open to provide
                                                                              2    beds, meals, and basic care. Similarly, the shared housing model supported by
                                                                              3    SHARE!, Haaven, and others, boasts zero infrastructure costs with the added
                                                                              4    benefit of self-sustenance after a one-time $4,000-per-bed investment. 31
                                                                              5          17.      For decades, the City and County have failed to dedicate the
                                                                              6    necessary funds or build the infrastructure to support the significant numbers of
                                                                              7    unhoused persons. This failure of public will has been exacerbated by recent
                                                                              8    legal decisions, including Martin v. City of Boise, in which the Ninth Circuit
                                                                              9    held, “‘[S]o long as there is a greater number of homeless individuals in a
                                                                              10   jurisdiction than the number of available beds in shelters,’ the jurisdiction cannot
                                                                              11   prosecute homeless individuals for ‘involuntarily sitting, lying, and sleeping in
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                                                                              12   public.’” Martin v. City of Boise, 920 F.3d 584, 617 (9th Cir. 2019) (alterations
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                                          LOS ANGELES, CA 90025




                                                                              13   in original omitted) (citation omitted), cert. denied, 140 S. Ct. 674 (2019). In
                                                                              14   December 2019, the Supreme Court declined to take up the Martin case on
                                                                              15   review. Despite the sweeping ruling in Martin, and huge increase in numbers of
                                                                              16   unsheltered in the City and County, neither entity has been able to pivot their
                                                                              17   strategy to address the decision, and the crisis has increased exponentially. This
                                                                              18   has had a profoundly negative affect on both the homeless and the community as
                                                                              19   a whole.
                                                                              20         18.      While this is not a natural disaster, it is a disaster nonetheless, and it
                                                                              21   should be treated that way. Officials in both the County and City have gone to
                                                                              22   great lengths in the last couple years to address this crisis, and their efforts are
                                                                              23   impressive and commendable; yet much more needs to be done. The only way to
                                                                              24   address this crisis with the urgency it deserves is an emergency response—
                                                                              25   providing immediate shelter for all and abating the degradation of our cities and
                                                                              26
                                                                              27
                                                                              28         31
                                                                                              See para. 70 infra.

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                                                                                                                        COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 14 of 92 Page ID
                                                                                                                  #:14


                                                                              1    communities, for the good of everyone. It can be done cheaply and quickly, and
                                                                              2    it must be done now.
                                                                              3                       I.    JURISDICTION AND VENUE
                                                                              4          19.    This action is brought pursuant to 42 U.S.C. § 1983, the Americans
                                                                              5    with Disabilities Act (42 USC §§12131 et seq.) (“ADA”), Section 504 of the
                                                                              6    Rehabilitation Act of 1973 (29 U.S.C. § 794 et seq.) (“Section 504”), and the
                                                                              7    Fifth, and Fourteenth Amendments of the United States Constitution. This Court
                                                                              8    has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343, 1367, 2201 and 2202.
                                                                              9          20.    This court has supplemental jurisdiction over Plaintiffs’ state law
                                                                              10   claims pursuant to 28 U.S.C. § 1367, as it arises from the same case or
                                                                              11   controversy as Plaintiffs’ federal claims.
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                                                                              12         21.    All of the actions and omissions complained of occurred in the
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                                                                              13   Central District of California. Therefore, venue is proper in this District. 28
                                                                              14   U.S.C. §1331.
                                                                              15
                                                                              16                      II.    GENERAL ALLEGATIONS
                                                                              17         22.    Plaintiffs are informed and believe, and thereon allege, that, at all
                                                                              18   times herein mentioned, each of the Defendants and Does 1-20 inclusive was the
                                                                              19   agent, employee, and co-conspirator of each of the remaining Defendants, and in
                                                                              20   participating in the acts alleged in this Complaint, acted within the scope of such
                                                                              21   agency and employment, in furtherance of the conspiracy, and with the
                                                                              22   permission and consent of the co-conspirator Defendants.
                                                                              23         23.    All causes of action brought under California law are for equitable
                                                                              24   and injunctive relief only. Therefore, no tort claim was necessary prior to filing
                                                                              25   this suit. See Cal. Gov. Code § 905 (West, 2019); Qwest Commc’ns Corp. v. City
                                                                              26   of Berkeley, 146 F. Supp. 2d 1081 (N.D. Cal. 2001); Hart v. County of Alameda,
                                                                              27   76 Cal. App. 4th 766 (1999).
                                                                              28

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 15 of 92 Page ID
                                                                                                                   #:15


                                                                              1          24.    Each paragraph of this Complaint is expressly incorporated into each
                                                                              2    cause of action set forth below.
                                                                              3
                                                                              4                      III.     FACTUAL ALLEGATIONS
                                                                              5    A.    History of Homeless Treatment in Los Angeles
                                                                              6          25.    What is now known as Skid Row began in the late 1800s as a
                                                                              7    concentration of day-rate hotels, bars, and brothels catering to the “rail riders”
                                                                              8    (transients riding the trains) due to its proximity to where the trains terminated at
                                                                              9    Los Angeles. 32 Service providers like the Union Rescue Mission opened their
                                                                              10   doors to help the indigent who congregated there. Decades later, when the 1970s,
                                                                              11   brought a push for “de-institutionalization” of those suffering from mental
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                                                                              12   illnesses, Skid Row became a beacon of hope for those needing services and
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                                          LOS ANGELES, CA 90025




                                                                              13   shelter. 33 At the same time, DTLA experienced an economic resurgence and
                                                                              14   developers began restoring the Skid Row area. Activists pushed back and fought
                                                                              15   for a policy of “containment” with the goal of centralizing missions, charities,
                                                                              16   and other homeless services within the 50-square block area, encouraging
                                                                              17   “undesirable population elements” to stay within the boundaries, in return for an
                                                                              18   agreement with the City to keep redevelopment out of it. 34 In one interview, the
                                                                              19   Reverend Andy Bales, who runs Union Rescue Mission, noted the containment
                                                                              20
                                                                              21         32
                                                                                             Sebastin Kempkens, L.A.’s Homelessness Crisis: How Did We Get
                                                                                   Here?, LA Weekly (Nov. 21, 2018), https://www.laweekly.com/l-a-s-
                                                                              22   homelessness-crisis-how-did-we-get-here/; 99% Invisible: The Containment
                                                                                   Plan, Radiotopia (Oct. 10, 2017), https://99percentinvisible.org/episode/the-
                                                                              23   containment-plan/; Union Rescue Mission, About Skid Row,
                                                                                   https://urm.org/about/faqs/about-skid-row/ (last visited Mar. 9, 2020).
                                                                              24
                                                                                         33
                                                                                          See Kempkens, supra note 32, https://www.laweekly.com/l-a-s-
                                                                              25   homelessness-crisis-how-did-we-get-here/.
                                                                              26         34
                                                                                            Rich Connell, SKID ROW: ‘Containment Strategy’ of Aiding Residents,
                                                                                   Easing Impact on Business District Is Slow and Frustrating, Los Angeles Times
                                                                              27   (Aug. 5, 1985, 12:00 AM), https://www.latimes.com/archives/la-xpm-1985-08-
                                                                                   05-me-3525-story.html; 99% Invisible, supra note 32,
                                                                              28   https://99percentinvisible.org/episode/the-containment-plan/.

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                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES            Document 1 Filed 03/10/20        Page 16 of 92 Page ID
                                                                                                                      #:16


                                                                              1    policy “basically said ‘Let’s send everybody who’s struggling in all of L.A. to
                                                                              2    Skid Row and then let’s turn our back on it.” 35 The policy is now widely
                                                                              3    considered a failure, yet unofficially continues today.
                                                                              4          26.        The 1980 and 1990s, with the crack epidemic and simultaneous cuts
                                                                              5    to the welfare system, brought in true and enduring homelessness, with
                                                                              6    encampments springing up on sidewalks and criminals preying on the
                                                                              7    vulnerable. 36 Then-mayor Tom Bradley opened an urban campground along the
                                                                              8    L.A. River, but it was soon closed due to terrible living conditions. At various
                                                                              9    times groups have placed portable toilets in key encampment locations, only to
                                                                              10   have the city remove them when they became magnets for prostitution and drug
                                                                              11   use. In the early 1990s, as a settlement of litigation between the City and County,
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                                                                              12   Los Angeles Homeless Services Authority (“LAHSA”), a joint-powers authority,
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                                                                              13   was created to oversee the City and County’s homeless response. The aim was
                                                                              14   more accountability, but ultimately it has resulted in an accountability deficit.
                                                                              15         27.        That deficit is particularly apparent in the litigious history of two
                                                                              16   Los Angeles Municipal Code provisions (“L.A.M.C.”)—section 41.18 and
                                                                              17   56.11—that regulate behavior in public rights-of-way. Section 41.18(d) provides
                                                                              18   “No person shall sit, lie or sleep in or upon any street, sidewalk or other public
                                                                              19   way.” 37 56.11 prohibits, among other things, storage of “excess personal
                                                                              20
                                                                              21
                                                                              22
                                                                                         35
                                                                                          See Kempkens, supra note 32, https://www.laweekly.com/l-a-s-
                                                                              23   homelessness-crisis-how-did-we-get-here/.
                                                                              24         36
                                                                                              Id.
                                                                              25         37
                                                                                            The Los Angeles City Council is currently considering an amendment to
                                                                                   41.18(d) that would permit persons to sit, lie, or sleep in non-sensitive public
                                                                              26   areas (500 feet away from schools, parks, and day care facilities, out of tunnels,
                                                                                   etc.) Emily Alpert Reyes, L.A. is again considering limits on where homeless
                                                                              27   people can sleep — this time by schools and parks, Los Angeles Times (Aug. 22,
                                                                                   2019, 5:25 PM), https://www.latimes.com/california/story/2019-08-22/homeless-
                                                                              28   sidewalk-sleeping-ban-restrictions-boise-case-shelter.

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                                                                                                                          COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 17 of 92 Page ID
                                                                                                                  #:17


                                                                              1    property” meaning property which cumulatively exceeds 60 gallons in a public
                                                                              2    area. 38
                                                                              3           28.   In 2006, the City settled a case brought by several activists, Jones v.
                                                                              4    City of Los Angeles, agreeing not to enforce Section 41.18(d)’s restrictions on
                                                                              5    tents and people sleeping in public areas between the hours of 9 p.m. and 6 a.m.
                                                                              6    As part of the agreement, the parties concurred that a published court decision
                                                                              7    would be de-published and would no longer be binding authority. According to
                                                                              8    the Los Angeles Times, “The [Jones] agreement set the stage for today’s
                                                                              9    encampment explosion.” 39 And ironically, the de-published Jones decision was
                                                                              10   still oft-cited and essentially resurrected in the 2018 published decision of Martin
                                                                              11   v. City of Boise.
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                                                                              12          29.   In 2011, the Ninth Circuit upheld an injunction in Lavan v. City of
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                                                                              13   Los Angeles that prohibited the City from seizing unattended property without
                                                                              14   notice absent objectively reasonable belief that it is abandoned, evidence of
                                                                              15   crime, contraband, or presents an “immediate threat to public health or safety.”
                                                                              16   Unfortunately, it is difficult to determine when property is “abandoned” as
                                                                              17   opposed to momentarily “unattended” when there are tens of thousands of people
                                                                              18   living unsheltered in our public spaces. The result is a massive build-up of
                                                                              19
                                                                              20
                                                                                          38
                                                                                             LAMC 56.11 was amended in 2016 in direct response to Lavan v. City of
                                                                              21   Los Angeles, discussed infra. Its express stated purpose was to “balance the
                                                                                   needs of the residents and public at large to access clean and sanitary public areas
                                                                              22   with the needs of the individuals, who have no other alternatives for the storage
                                                                                   of personal property, to retain access to a limited of personal property in public
                                                                              23   areas.” Unsurprisingly, unhappy advocates have challenged the new amendment,
                                                                                   first as applied to those living in Skid Row (Mitchell v. City of Los Angeles, 16-
                                                                              24   CV-01750 SJO JPR) and now city-wide (Garcia v. City of Los Angeles, 2:19-CV-
                                                                                   06182 DSF PLA).
                                                                              25
                                                                                          39
                                                                                            Gale Holland, Why L.A. County’s homelessness crisis has been decades
                                                                              26   in the making, Los Angeles Times (June 5, 2019, 11:10 AM),
                                                                                   https://www.latimes.com/local/california/la-me-ln-homeless-housing-crisis-
                                                                              27   count-history-skid-row-20190605-story.html ( “‘We are dealing with historical
                                                                                   consequences of bad decisions made 10 years ago to guarantee a right to
                                                                              28   sidewalks instead of a right to shelter,’ said Westside Councilman Mike Bonin.”).

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES            Document 1 Filed 03/10/20   Page 18 of 92 Page ID
                                                                                                                      #:18


                                                                              1    property, which harbors significant health and safety risks that mostly go
                                                                              2    undetected until too late.
                                                                              3          30.    Eight years after the Ninth Circuit upheld the Lavan injunction, the
                                                                              4    City entered into a settlement in the case of Mitchell v. City of Los Angeles.
                                                                              5    Under the terms of that settlement, the City bound its own hands in agreeing to
                                                                              6    significantly limit the enforcement of L.A.M.C. Section 56.11, permitting the
                                                                              7    accumulation of personal property beyond the code section’s limits, and
                                                                              8    relegating enforcement to only certain bulky items such as couches, mattresses,
                                                                              9    refrigerators, and wooden pallets within a designated area known as “Skid Row
                                                                              10   and surrounding areas.” The Mitchell agreement has led to a sharp decline in
                                                                              11   health and safety for housed and unhoused alike not just in Skid Row but
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                                                                              12   throughout downtown. The agreement promotes and authorizes violation of a
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                                                                              13   valid city ordinance and suffers from significant legal flaws. League of
                                                                              14   Residential Neighborhood Advocates v. City of Los Angeles, 498 F.3d 1052, 1055
                                                                              15   (9th Cir. 2007) (“A federal consent decree or settlement agreement cannot be a
                                                                              16   means for state officials to evade state law.”); City of Glendale v. Superior Court,
                                                                              17   18 Cal. App. 4th 1768, 1778-79 (1993) (“It is well established that
                                                                              18   governments cannot divest themselves by contract of the right to exert their
                                                                              19   governmental authority ‘in matters which from their very nature so concern that
                                                                              20   authority that to restrain its exercise by contract would be a renunciation of
                                                                              21   power to legislate for the preservation of society or to secure the performance of
                                                                              22   essential governmental duties.’”). 40
                                                                              23         31.    Mitchell was settled in the wake of a recent, broadly-sweeping
                                                                              24   decision addressing homeless regulation: Martin v. City of Boise, based almost
                                                                              25   entirely on the reasoning published (then de-published) in Jones. Martin held
                                                                              26
                                                                              27         40
                                                                                          See [Proposed] Intervenors’ Notice of Motion and Motion for Relief
                                                                                   from Order or Modification thereof, Mitchell v. City of Los Angeles, Case No.
                                                                              28   CV16-01750 SJO (JPRx) (C.D. Cal. June 24, 2019), ECF No. 120-1.

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES             Document 1 Filed 03/10/20       Page 19 of 92 Page ID
                                                                                                                       #:19


                                                                              1    that “so long as there is a greater number of homeless individuals in a jurisdiction
                                                                              2    than the number of available beds in shelters” a person may not be prosecuted for
                                                                              3    sitting, lying, or sleeping in public. Martin, 920 F.3d at 617 (original alterations
                                                                              4    omitted) (citation omitted). The language in the Martin does not provide clear
                                                                              5    guidance for cities struggling with sizable homeless populations--in some
                                                                              6    passages, Martin suggests that there must be enough beds for everyone before
                                                                              7    anyone may be cited for sleeping on a sidewalk, while other aspects of Martin
                                                                              8    indicate that individuals “who do have access to adequate temporary shelter” but
                                                                              9    “choose not to use it” may be prosecuted without reference to the community. Id.
                                                                              10   at n.8.
                                                                              11             32.     Regardless of how the Martin case is interpreted, it is clear the only
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                                                                              12   way out of the current crisis is to provide beds to the unsheltered. That will not
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                                                                              13   be easy. The homelessness crisis has now reached the highest numbers we have
                                                                              14   ever seen, with 58,936 homeless individuals in Los Angeles County and 36,300
                                                                              15   homeless individuals in the City. Approximately 75 percent of these are
                                                                              16   unsheltered, meaning living and sleeping in a place not meant for human
                                                                              17   habitation, including streets, parks, tents, and cars. The task of finding beds for
                                                                              18   so many people is daunting, but it must be done if Los Angeles is to find its way
                                                                              19   clear of this crisis.
                                                                              20     B.           Crime and Fire Incidents Have Escalated
                                                                              21              33. The crisis of so many unsheltered individuals in a wealthy City is a
                                                                              22   tragedy in and of itself. But the tragedy has been exacerbated by a severe spike
                                                                              23   in crime both on and by homeless persons, particularly in violent attacks. 41
                                                                              24   LAPD citywide data from 2017 to 2018 shows a 36 percent increase in crimes
                                                                              25   against homeless victims, aggravated assault increased 57 percent, and crimes
                                                                              26
                                                                                             41
                                                                                            Leonard, supra note 4,
                                                                              27   https://www.nbclosangeles.com/news/local/LAPD-Reports-Spike-in-Homeless-
                                                                                   Crime-502407861.html; Matthew, supra note 4,
                                                                              28   https://www.lamag.com/citythinkblog/homeless-crime/.

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                                                                                                                          COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 20 of 92 Page ID
                                                                                                                  #:20


                                                                              1    with a homeless suspect rose 28.5 percent. The statistics from 2018 to 2019 are
                                                                              2    even worse:
                                                                              3           •   The homicide rate citywide rose 5 percent last year yet homicides
                                                                              4               against a homeless victim in Central Bureau rose 33 percent.
                                                                              5           • Violent crimes against a homeless person increased 18.9 percent
                                                                              6               citywide while property crimes identifying a homeless victim rose 43.8
                                                                              7               percent.
                                                                              8           • Violent crimes with an identified homeless suspect rose 22.5 percent
                                                                              9               citywide (48.1 percent in Central Division) and property crimes with
                                                                              10              an identified homeless suspect rose 18 percent citywide (27.9 percent
                                                                              11              in Central Division).
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                                                                              12          • Homicides in Central Division with an identified homeless suspect
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                                                                              13              increased by a shocking 175 percent from 2018 to 2019.
                                                                              14          34. Drugs are being sold and used openly on streets and sidewalks.
                                                                              15   Public urination and defection have become the norm. LA Metro spent $36
                                                                              16   million on a bike-share program, but those bikes go missing daily and many have
                                                                              17   been recovered, repainted or otherwise vandalized, in homeless encampments
                                                                              18   throughout the city. 42 As the ranks of the desperate and downtrodden have grown
                                                                              19   exponentially in Skid Row and throughout the City and County, and quality-of-
                                                                              20   life laws are left unenforced, public order has deteriorated.
                                                                              21          35. In addressing the rise in crime within the homeless community, one
                                                                              22   City official accurately noted, “[T]here are certainly tensions that are rising
                                                                              23   within the homeless population. . . the connective tissue between them all is the
                                                                              24   increase in the concentration. As the homeless encampments increase, so do
                                                                              25   fights over territory, over property, over intangibles, as well as domestic
                                                                              26
                                                                                         42
                                                                                           David Goldstein, Goldstein Investigation: Hundreds Of Taxpayer-
                                                                              27   Funded Metro Bikes Stolen, Stripped, CBS Los Angeles (Nov. 7, 2019, 11:59
                                                                                   PM), https://losangeles.cbslocal.com/2019/11/07/goldstein-investigation-
                                                                              28   taxpayer-funded-metro-bikes-stolen-stripped/.

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                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 21 of 92 Page ID
                                                                                                                  #:21


                                                                              1    violence.” 43 “Personal Security Tips” have been given to County employees
                                                                              2    walking to and from civil and mental health courts, advising them “remain
                                                                              3    vigilant,” “travel in numbers,” and “drive in a middle or left lane” due to the
                                                                              4    criminal element rising out of surrounding homeless encampments.
                                                                              5           36. Crime against homeless women in particular has become a “crisis
                                                                              6    within a crisis” with 60 percent of homeless women reporting violence in the last
                                                                              7    year and 25 percent experiencing it “often” or “always.” 44 More than a quarter
                                                                              8    have experienced sexual assault in the last twelve months, and 37 percent report
                                                                              9    having experienced domestic violence in the same time period. 45
                                                                              10          37. As crime has increased, so have fires. There were 2,500 fires just
                                                                              11   involving the homeless community in Los Angeles in 2018, which is double the
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                                                                              12   number of such fires in 2017. 46 And the statistics for 2019, while not yet released
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                                                                              13   were on track to far outpace 2018’s record number. 47 The industrial buildings
                                                                              14   and businesses downtown regularly experience fires from adjacent encampments,
                                                                              15   whether from heaters, food preparation, or arson. In the first six months of 2019,
                                                                              16   there were 65 fires just in this one small area. Businesses are being dropped by
                                                                              17
                                                                              18         43
                                                                                            See Queally, supra note 6,
                                                                                   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                              19   attacks-fire.
                                                                              20         44
                                                                                             Elijah Chiland, For women, ‘living on the streets in Los Angeles is
                                                                                   dangerous and traumatic’, Curbed Los Angeles (Jan. 30, 2020, 2:25 PM),
                                                                              21   https://la.curbed.com/2020/1/30/21115700/downtown-womens-center-homeless-
                                                                                   report.
                                                                              22
                                                                                         45
                                                                                           Downtown Women’s Center, 2019 Los Angeles City Women’s Needs
                                                                              23   Assessment, https://www.downtownwomenscenter.org/wp-
                                                                                   content/uploads/2020/01/DWC-2019-Los-Angeles-Womens-Needs-
                                                                              24   Assessment.pdf (last visited Mar. 9, 2020).
                                                                              25         46
                                                                                            See Queally, supra note 6,
                                                                                   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                              26   attacks-fire.
                                                                              27         47
                                                                                           Id.; Marc Brown, Leanne Suter, et al., LAFD incidents involving the
                                                                                   homeless disproportionately high, data shows, ABC Eyewitness News (Feb. 11,
                                                                              28   2020, 11:15 AM), https://abc7.com/5919386/.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 22 of 92 Page ID
                                                                                                                  #:22


                                                                              1    insurance companies because of the fire risks due to the homeless living on their
                                                                              2    sidewalks. 48 Fire hydrants are being repurposed by homeless for drinking,
                                                                              3    bathing, and washing clothes and personal items, compromising fire-readiness
                                                                              4    and putting an untold number of lives and structures at greater risk in the event of
                                                                              5    a fire. 49 There have been no observable efforts to curb the use of open flames,
                                                                              6    despite fire code provisions that prohibit them and the frequent use of open
                                                                              7    flames in homeless encampments. 50 In fact, the Mitchell settlement specifically
                                                                              8    permits violations of the fire code by allowing “open-flame cooking devices” as
                                                                              9    long as they have fuel containers under a certain size. See Stipulated Order of
                                                                              10   Dismissal at 11, Mitchell v. City of Los Angeles, Case No. CV16-01750 SJO
                                                                              11   (JPRx) (C.D. Cal. May 31, 2019), ECF No. 119.
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                                                                              12          38. Fires originating in homeless encampments are now a regular
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                                                                              13   occurrence in Los Angeles County. One of the most destructive fires in Los
                                                                              14   Angeles over the last 10 years, the Skirball Fire, was caused by a cooking fire at a
                                                                              15   homeless encampment in the hills of Bel Air in 2017—that fire caused thousands
                                                                              16   to evacuate and destroyed several houses. 51 In July 2019, a fire broke out in a
                                                                              17   homeless encampment in the Sepulveda Basin, where homeless residents report
                                                                              18
                                                                                         48
                                                                                            Joel Grover and Amy Corral, Your Insurance is Canceled Because of
                                                                              19   Homeless Tent Fires, NBC Los Angeles (Sept. 23, 2019, 11:55 AM),
                                                                                   https://www.nbclosangeles.com/news/local/LA-Homeless-Encampment-Fires-
                                                                              20   Insurance-Rates-Tents-Homelessness-561145811.html.
                                                                              21         49
                                                                                            Joel Grover and Amy Corral, Firefighters Lose Critical Tool to Battle
                                                                                   Rise in Homeless Fires, NBC Los Angeles (July 22, 2019, 3:17 PM),
                                                                              22   https://www.nbclosangeles.com/investigations/Firefighters-Lose-Critical-Tool-
                                                                                   to-Battle-Rise-in-Homeless-Fires-513057481.html.
                                                                              23
                                                                                         50
                                                                                            See Grover and Corral, supra note 49,
                                                                              24   https://www.nbclosangeles.com/investigations/Firefighters-Lose-Critical-Tool-
                                                                                   to-Battle-Rise-in-Homeless-Fires-513057481.html; County of Los Angeles,
                                                                              25   Ordinance re Open Fires § 307.6 (2017), http://lacounty-
                                                                                   ca.elaws.us/code/coor_title32.
                                                                              26
                                                                                         51
                                                                                            Gale Holland, Laura J. Nelson, et al., Fire at a homeless encampment
                                                                              27   sparked Bel-Air blaze that destroyed homes, officials say, Los Angeles Times
                                                                                   (Dec. 12, 2017, 5:55 PM), https://www.latimes.com/local/lanow/la-me-skirball-
                                                                              28   fire-cause-20171212-story.html.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20      Page 23 of 92 Page ID
                                                                                                                  #:23


                                                                              1    they put out “multiple fires daily,” burning 6 acres and destroying the
                                                                              2    encampment. 52
                                                                              3    C.    Public Health is Compromised
                                                                              4           39. Beyond crime and fire, the homelessness crisis presents a pressing
                                                                              5    public health predicament. The accumulation of property and food storage in
                                                                              6    tents by homeless individuals has made Skid Row and other areas hotbeds for
                                                                              7    flea-infested rats and other disease-carrying vermin, making some areas nearly
                                                                              8    unlivable. 53 Los Angeles has declared Skid Row a “typhus zone” and at least one
                                                                              9    Deputy City Attorney has contracted typhus apparently from the conditions
                                                                              10   surrounding her office building in Downtown Los Angeles. 54 LAPD Officers
                                                                              11   working Central Division downtown contracted typhoid fever, caused by
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                                                                              12   contamination of human fecal matter. 55 LA City was recently cited by
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                                                                              13   Cal/OSHA for the homeless encampments outside City Hall East for exposing its
                                                                              14
                                                                              15
                                                                              16
                                                                              17         52
                                                                                            Ariella Plachta and Elizabeth Chou, A Sepulveda basin encampment fire
                                                                                   left dozens of homeless people displaced but service providers have little to offer
                                                                              18   them, Los Angeles Daily News (July 31, 2019, 1:23 PM),
                                                                                   https://www.dailynews.com/2019/07/31/a-sepulveda-basin-encampment-fire-left-
                                                                              19   dozens-of-homeless-people-displaced-but-service-providers-have-little-to-offer-
                                                                                   them/.
                                                                              20
                                                                                         53
                                                                                            Lauren Fruen, Collapse of a City That’s Lost Control: Shocking New
                                                                              21   Pictures From Downtown LA Capture The Huge Problem it Faces With Trash
                                                                                   and Rats Amid Fear of Typhoid Fever Outbreak Among LAPD, Daily Mail and
                                                                              22   Associated Press, (June 2, 2019, 2:03 PM),
                                                                                   https://www.dailymail.co.uk/news/article-7095533/Pictures-downtown-LA-
                                                                              23   capture-problem-faces-trash-tries-rodents.html.
                                                                              24         54
                                                                                            Harriet Ryan, ‘Absolutely terrifying’: Deputy city attorney says she
                                                                                   contracted typhus at City Hall, Los Angeles Times, (Feb. 9, 2019, 5:45 PM),
                                                                              25   https://www.latimes.com/local/lanow/la-me-ln-city-hall-typhus-20190209-
                                                                                   story.html.
                                                                              26
                                                                                         55
                                                                                            Jaclyn Cosgrove, LAPD employee contracts bacteria that causes typhoid
                                                                              27   fever, Los Angeles Times, (May 29, 2019, 8:44 PM),
                                                                                   https://www.latimes.com/local/lanow/la-me-ln-lapd-typhoid-fever-20190529-
                                                                              28   story.html.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 24 of 92 Page ID
                                                                                                                  #:24


                                                                              1    workers to trash and bodily fluids. 56 Experts have predicted a “major infectious
                                                                              2    disease epidemic” outbreak in DTLA, including measles and/or tuberculosis. 57
                                                                              3    The United Nations noted “Los Angeles failed to meet even the minimum
                                                                              4    standards the United Nations High Commissioner for Refugees sets for refugee
                                                                              5    camps in the Syrian Arab Republic and other emergency situations.” 58
                                                                              6           40. Beyond the societal implications associated with unsanitary
                                                                              7    conditions related to unsheltered homelessness, it has been well-documented that
                                                                              8    the physical and mental health of unsheltered persons is significantly worse than
                                                                              9    those of their sheltered or housed counterparts. 59 According to a recent report
                                                                              10   from the Los Angeles County Department of Public Health (“DPH”), homeless-
                                                                              11   related deaths doubled from 2013 to 2018. 60 On average, a homeless person in
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                                                                                            California News Wire Services, State Slaps City Of LA Over Unsanitary
                                                                              16   Conditions, Los Angeles, CA Patch.com (Aug. 16, 2019, 1:31 PM),
                                                                                   https://patch.com/california/los-angeles/state-slaps-city-la-over-unsanitary-
                                                                              17   conditions.
                                                                              18         57
                                                                                            Victor Garcia, Dr. Drew Pinsky Warns Los Angeles Could be at Risk of
                                                                                   a Deadly Epidemic This Summer, Fox News, (May 23, 2019),
                                                                              19   https://www.foxnews.com/us/dr-drew-pinsky-major-epidemic-los-angeles-kill-
                                                                                   thousands.
                                                                              20
                                                                                         58
                                                                                           Report of the Special Rapporteur on extreme poverty and human rights
                                                                              21   on his mission to the United States of America, U.N. Doc. A/HRC/38/33/Add.1
                                                                                   (May 4, 2018), https://documents-dds-
                                                                              22   ny.un.org/doc/UNDOC/GEN/G18/125/30/PDF/G1812530.pdf.
                                                                              23         59
                                                                                            Adeline M. Nyamathi and Barbara Leake, et al., Sheltered versus
                                                                                   nonsheltered homeless women, J. Gen. Intern. Med. vol. 15, issue 8, at pp. 565-72
                                                                              24   (Aug. 2000), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1495574/; Janey
                                                                                   Rountree, Nathan Hess, and Austin Lyke, Health Conditions Among Unsheltered
                                                                              25   Adults in the U.S., California Policy Lab (October 2019),
                                                                                   https://www.capolicylab.org/wp-content/uploads/2019/10/Health-Conditions-
                                                                              26   Among-Unsheltered-Adults-in-the-U.S.pdf.
                                                                              27         60
                                                                                            County of Los Angeles, Public Health, supra note 1,
                                                                                   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                              28   al.pdf.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20      Page 25 of 92 Page ID
                                                                                                                   #:25


                                                                              1    Los Angeles will die 22 years earlier than the general population. 61 Importantly,
                                                                              2    the report noted:
                                                                              3    A principal finding is that the overall homeless mortality rate has steadily
                                                                              4    increased over the past six years. This means that increases in the number of
                                                                              5    homeless deaths recently reported in the media cannot be attributed solely to
                                                                              6    the fact that the total number of homeless people has also been increasing.
                                                                              7    Put simply, being homeless in LA County is becoming increasingly
                                                                              8    deadly. 62
                                                                              9           41.     Dr. Barbara Ferrer, director of DPH conceded: “Homeless people
                                                                              10   are in fact dying at a higher rate because they’re homeless.” 63 Yet in New York
                                                                              11   City, where the number of people experiencing homelessness is high (91,897
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                                                                              12   persons) but the rate of unsheltered homelessness is low (5 percent compared to
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                                                                              13   Los Angeles’ 75 percent), the mortality rates of homeless persons compared to
                                                                              14   general population low-income adults is nearly identical. 64 Unsheltered
                                                                              15   homelessness both causes and exacerbates physical and mental health problems. 65
                                                                              16
                                                                              17
                                                                                         61
                                                                                          Id. at 5 (“The average age at death was 51 among the homeless and 73
                                                                              18   among the general population.”).
                                                                              19         62
                                                                                              Id. (emphasis added).
                                                                              20         63
                                                                                             Jessica Flores, Homeless deaths in LA County doubled between 2013
                                                                                   and 2018, Curbed Los Angeles (Oct. 30, 2019, 3:50 PM),
                                                                              21   https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.
                                                                              22         64
                                                                                             Bonnie D. Kerker, PhD, Jay Bainbridge, PhD, et al., A Population-Based
                                                                                   Assessment of the Health of Homeless Families in New York City, 2001–2003,
                                                                              23   American Journal of Public Health (Sept. 20, 2011),
                                                                                   https://ajph.aphapublications.org/doi/abs/10.2105/AJPH.2010.193102.
                                                                              24
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                                                                                            County of Los Angeles, supra note 1,
                                                                              25   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                                   al.pdf; Seena Fazel, MD, John R. Geddes, MD, et al., The health of homeless
                                                                              26   people in high-income countries: descriptive epidemiology, health consequences,
                                                                                   and clinical and policy recommendations, The Lancet, vol. 382, issue 9953, pp.
                                                                              27   1529-40 (Oct. 25, 2014),
                                                                                   https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(14)61132-
                                                                              28   6/fulltext.

                                                                                                                         23
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 26 of 92 Page ID
                                                                                                                  #:26


                                                                              1           42. Los Angeles County has recognized this, and in 2012 the
                                                                              2    Department of Health Services launched a program called Housing for Health,
                                                                              3    observing “[a]ccess to community based housing options is an important element
                                                                              4    of our evolving county healthcare system, particularly in response to the
                                                                              5    homelessness crisis.” 66 A study conducted by the RAND Corporation on the first
                                                                              6    890 participants enrolled found that the cost of providing health care per
                                                                              7    participant decreased by 40 percent (from an average of $38,146 to $15,358)
                                                                              8    because there was less need for the patients to access the system. 67
                                                                              9    D.    Crowded and Blocked Sidewalks Put Everyone at Risk
                                                                              10         43.    The homelessness crisis has also impeded the use of a critical
                                                                              11   element of city life: sidewalks. Municipalities have an obligation to keep
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                                                                              12   sidewalks clear for use by the public. The City itself recognized this in its recent
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                                                                              13   Motion to Dismiss filed in the ongoing litigation in Garcia v. City of Los
                                                                              14   Angeles:
                                                                              15         Sidewalks serve numerous functions and implicate a myriad of
                                                                              16         individual interests. Children on field trips, persons with disabilities,
                                                                              17         mail carriers with delivery carts, free-speech demonstrators, shop
                                                                              18         owners, travelers, and the many thousands of other persons that live,
                                                                              19         work, and visit Los Angeles—all have legitimate claims to use these
                                                                              20         narrow strips of public property. As courts have long recognized,
                                                                              21
                                                                              22         66
                                                                                            Health Services of Los Angeles County, Housing for Health,
                                                                                   http://dhs.lacounty.gov/wps/portal/dhs/housingforhealth (last visited Mar. 9,
                                                                              23   2020).
                                                                              24         67
                                                                                            Sarah B. Hunter, Housing for Health; Los Angeles County’s Department
                                                                                   of health Tackles Homelessness with an Innovative Housing Program That Saves
                                                                              25   Money, The Rand Blog (Jan. 18, 2018),
                                                                                   https://www.rand.org/blog/2018/01/housing-for-health-los-angeles-countys-
                                                                              26   department-of.html (Notably the County experienced a net savings of 20% even
                                                                                   taking the costs of housing into consideration (from an average of $38,146 per
                                                                              27   participant to $30,646). Of course, this number doesn’t take into consideration
                                                                                   the additional savings from other departments such as reduced law enforcement
                                                                              28   contacts.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20      Page 27 of 92 Page ID
                                                                                                                    #:27


                                                                              1          “[t]he public is entitled to the free and unobstructed use of the entire
                                                                              2          streets and sidewalks . . . ” Vanderhurst v. Tholcke, 113 Cal. 147, 152
                                                                              3          (1896). To balance among the many, often competing uses, cities
                                                                              4          have been designated as trustees of these public spaces. In this
                                                                              5          capacity, they have not only the power but “the duty to keep their
                                                                              6          communities’ streets open and available for movement of people and
                                                                              7          property.” Schneider v. State, 308 U.S. 147, 160-61 (1939) (emphasis
                                                                              8          added); see also Smith v. Corp. of Wash., 61 U.S. (20 How.) 135, 146
                                                                              9          (1858); Cal. Gov. Code § 37359 (“the legislative body having control
                                                                              10         of any property owned or controlled by the city may at any time
                                                                              11         withdraw…or limit the access or use in area or time or in any other
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                                                                              12         reasonable manner deemed necessary.”).
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   Def. City of Los Angeles’ Mot. to Dismiss Suppl. Compl. at 2, Garcia v.
                                                                              14   City of Los Angeles, Case No.: 2:19-cv-6182-DSF-PLA (C.D. Cal. Oct. 21,
                                                                              15   2019), ECF No. 22.
                                                                              16         44.      Public sidewalks and the maintenance of them constitutes a
                                                                              17   “program, service, or activity within the meaning of Title II of the Americans
                                                                              18   with Disabilities Act and Section 504 of the Rehabilitation Act of 1973.” 68
                                                                              19   Municipalities have an obligation to ensure that public sidewalks are usable and
                                                                              20   compliant with ADA requirements, such as providing a minimum of 36 inches of
                                                                              21   clearance for wheelchair users, yet the City regularly ignores its obligations and
                                                                              22   fails to provide such clearance.
                                                                              23         45.      Encampments throughout the City and County block sidewalks and
                                                                              24   public rights-of-way. Local governments, as explained by the City, have an
                                                                              25   obligation to balance the needs of all citizens to access sidewalks, particularly for
                                                                              26   those with disabilities who have no alternative like stepping around a blockage.
                                                                              27
                                                                                         68
                                                                                              Willits v. City of Los Angeles, 925 F. Supp. 2d 1089, 1093 (C.D. Cal.
                                                                              28   2013).

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 28 of 92 Page ID
                                                                                                                  #:28


                                                                              1    Yet the City is consistently failing to do so. Disabled persons in wheelchairs
                                                                              2    such as plaintiffs Charles Van Scoy and Leandro Suarez must choose daily
                                                                              3    whether to stay in their homes or walk into the middle of the street with
                                                                              4    oncoming traffic. Mothers with young children in strollers, like plaintiffs Deisy
                                                                              5    Suarez and Karyn Pinsky, do the same. Children on their way to and from school
                                                                              6    daily risk injury by car where sidewalks are impassable.
                                                                              7          46.    Citizens are calling 311 to request cleanup of sidewalk encampments
                                                                              8    at a skyrocketing rate—increasing 167 percent between 2016 and 2018. 69 Yet if
                                                                              9    City officials even respond, it is to simply power-wash the sidewalk and then
                                                                              10   allow encampments to resume. 70
                                                                              11         47.    After Martin v. Boise was decided, Los Angeles Police
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                                                                              12   Department’s Office of the Chief of Police issued an order suspending all
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                                          LOS ANGELES, CA 90025




                                                                              13   enforcement of L.A.M.C 41.18 except to provided “minimum clearance of a
                                                                              14   continuous three-foot wide pathway as required under the Americans with
                                                                              15   Disabilities Act” or “When a person is sitting, sleeping, or lying within ten (10)
                                                                              16   feet of any operational and utilizable entrance or exit of a building, driveway, or
                                                                              17   loading dock.”
                                                                              18         48.    The prevalent and virtually permanent nature of these
                                                                              19   encampments—unimpeded by any meaningful City enforcement or cleanup
                                                                              20   efforts despite notice to the City—reflects an unambiguous official City policy to
                                                                              21   permit usurpation of public sidewalks in certain areas. For example, on Venice
                                                                              22   Boulevard under the 405 freeway, a large-scale encampment has been been
                                                                              23
                                                                              24         69
                                                                                            Emily Alpert Reyes, Benjamin Oreskes, Doug Smith, L.A. is swamped
                                                                                   with 311 complaints over homeless camps. But are the cleanups pointless?, Los
                                                                              25   Angeles Times (June 7, 2019, 5:00 AM),
                                                                                   https://www.latimes.com/local/lanow/la-me-ln-homeless-cleanups-accelerate-
                                                                              26   20190607-htmlstory.html.
                                                                              27         70
                                                                                             Id.; Matt Tinoco, LA /wukk Spend $30M This Year on Homeless Sweeps.
                                                                                   Do They Even Work?, LAist (Apr. 10, 2019, 6:00 AM),
                                                                              28   https://laist.com/2019/04/10/homeless_sweeps_los_angeles_public_health.php.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 29 of 92 Page ID
                                                                                                                  #:29


                                                                              1    allowed to persist for over a year. City workers have actively encouraged
                                                                              2    homeless persons in nearby areas to move to this encampment. In the Skid Row
                                                                              3    area, as part of the Mitchell v. City of Los Angeles settlement, the City agreed to
                                                                              4    allow nearly unlimited property accumulation on the public sidewalks while
                                                                              5    providing little comfort to the ADA-based concerns regarding the navigational
                                                                              6    impediments to those with disabilities. The freeway overpasses near the Los
                                                                              7    Angeles Civic Center now are so packed that it is difficult for an able-bodied
                                                                              8    individual to walk past without stepping in the street, and impossible for those
                                                                              9    who need the assistance of wheelchairs and walkers.
                                                                              10         49.    The sidewalk problem directly affects businesses that are accessed
                                                                              11   by sidewalks. This prevents disabled customers from reaching businesses, but
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                                                                              12   also deters able-bodied customers who seek to access their businesses or abandon
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                                          LOS ANGELES, CA 90025




                                                                              13   some businesses in favor of more accessible ones. As discussed above,
                                                                              14   businesses are collectively spending hundreds of thousands of dollars on
                                                                              15   increased sanitation and security measures while struggling to maintain
                                                                              16   employees and tenants. Both business owners and residents of the area are thus
                                                                              17   subject to substantial and unreasonable interference with their enjoyment of their
                                                                              18   property. Indeed, the streets and sidewalks of Skid Row have been rendered
                                                                              19   unusable because of human waste, garbage, and encampments that the City has
                                                                              20   allowed to persist.
                                                                              21   F.    Environmental Impact
                                                                              22         50.    The unhealthy aspects of the homelessness crisis extend to the
                                                                              23   environment. There appears to be no environmental impact study of the kind of
                                                                              24   widespread and systemic homelessness in Los Angeles. Yet all indications show
                                                                              25   the impact has been significant. 71 Every day, businesses and residents find used
                                                                              26
                                                                              27         71
                                                                                           Courtenay White, Environmental Impacts of Homeless Encampments in
                                                                                   the Guadalupe River Riparian Zone, School of Environment and Sustainability,
                                                                              28   Royal Roads University (Jan. 9, 2014),

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                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES       Document 1 Filed 03/10/20       Page 30 of 92 Page ID
                                                                                                                 #:30


                                                                              1    needles in their drains, on sidewalks, and in gutters. Los Angeles County has far
                                                                              2    more unsheltered people than Orange County, and officials there recovered over
                                                                              3    14,000 hypodermic needles, plus over 5,000 pounds of “hazardous waste”
                                                                              4    including human waste, and toxic chemicals such as propane, pesticides,
                                                                              5    solvents, and paint during a clean-up of a homeless encampment in the Santa Ana
                                                                              6    Riverbed consisting of approximately 700 people. 72 While City sanitation
                                                                              7    workers are deployed to identify and discard toxic waste, only 30 teams are
                                                                              8    working to cover 500 square miles, missing countless numbers of needles, human
                                                                              9    waste, and other toxic substances making its way into our ecosystems.
                                                                              10         51.   The Environmental Protection Agency recently recognized this issue
                                                                              11   in a letter addressed to Governor Gavin Newsom:
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                                                                              12         The EPA is aware of the growing homelessness crisis developing in
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                                          LOS ANGELES, CA 90025




                                                                              13         major California cities, including Los Angeles and San Francisco, and
                                                                              14         the impact of this crisis on the environment. Indeed, press reports
                                                                              15         indicate that “piles of human feces” on sidewalks and streets in these
                                                                              16         cities are becoming all too common. The EPA is concerned about the
                                                                              17         potential water quality impacts from pathogens and other
                                                                              18         contaminants from untreated human waste entering nearby waters.
                                                                              19         San Francisco, Los Angeles and the state do not appear to be acting
                                                                              20         with urgency to mitigate the risks to human health and the
                                                                              21         environment that may result from the homelessness crisis. 73
                                                                              22
                                                                              23   https://viurrspace.ca/bitstream/handle/10170/665/white_courtenay.pdf?sequence=
                                                                                   1&isAllowed=y.
                                                                              24
                                                                                         72
                                                                                            Anh Do, ‘Eye-popping’ number of hypodermic needles, pounds of waste
                                                                              25   cleared from Orange County riverbed homeless encampment, Los Angeles Times
                                                                                   (Mar. 10, 2018, 4:30 PM), https://www.latimes.com/local/lanow/la-me-ln-
                                                                              26   riverbed-debris-20180310-story.html.
                                                                              27         73
                                                                                          Letter to Governor Gavin C. Newsom from Andrew R. Wheeler,
                                                                                   September 26, 2019, https://www.epa.gov/sites/production/files/2019-
                                                                              28   09/documents/9.26.19_letter-epa.pdf.

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                                                                                                                    COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 31 of 92 Page ID
                                                                                                                   #:31


                                                                              1          52.    Thousands of people camp in or near the Los Angeles River basin,
                                                                              2    without access to toilets and sanitation services. The amount of related toxic and
                                                                              3    human waste making its way into our environment is, upon information and
                                                                              4    belief, substantial, but its full scope is unknown. 74
                                                                              5          53.    The power-washing scheme takes place daily throughout the City,
                                                                              6    and uses likely millions of gallons of water yearly to clean refuse and filth from
                                                                              7    the streets and into our drains and ultimately, oceans. In a city and state facing
                                                                              8    water shortages, just on the other side of a devastating eight-year drought, such
                                                                              9    water usage, particularly without any kind of review taking place, is shameful
                                                                              10   and ultimately threatening to the water systems of the City and County.
                                                                              11         54.    The environmental impact of fires arising out of homelessness is
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                                                                              12   also of great concern. Fires originating in homeless encampments are not just a
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                                          LOS ANGELES, CA 90025




                                                                              13   potential threat—they have actually destroyed thousands of acres of brush and
                                                                              14   wildlife. The sweeping footprints of the City and County of Los Angeles
                                                                              15   encompass vast amounts of undeveloped land, full of dry brush and other readily
                                                                              16   combustible material. Such areas are an attractive location for many homeless
                                                                              17   persons wishing to reside “off the grid” and the combination of propane-fueled
                                                                              18   cooking fires and bootlegged electricity in untended conditions is a recipe for,
                                                                              19   and indeed has already resulted in, massively destructive fires.
                                                                              20   G.    Property Values and Businesses are Affected
                                                                              21         55.    Another casualty of the homelessness crisis is the value of property
                                                                              22   and businesses. Downtown Los Angeles has experienced a renaissance over the
                                                                              23   last 20 years with loft conversions, hundreds of new restaurants, and currently
                                                                              24
                                                                              25
                                                                              26
                                                                                         74
                                                                                             Anna Almendrala, Fecal Bacteria in California Waterways Increases
                                                                              27   With Homelessness crisis, CaliforniaHealthline.org (Jan. 6, 2020),
                                                                                   https://californiahealthline.org/news/fecal-bacteria-in-californias-waterways-
                                                                              28   increases-with-homeless-crisis/.

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 32 of 92 Page ID
                                                                                                                  #:32


                                                                              1    over three million square feet of office space under construction. 75 That
                                                                              2    renaissance is now in jeopardy due to the homelessness crisis. Businesses are
                                                                              3    suffering and property values have been affected. The average apartment
                                                                              4    occupancy rate, rent pricing, number of sales, and sale price per square foot
                                                                              5    downtown have all decreased from 2018 numbers correlating with a rise in
                                                                              6    homelessness at the same time. Businesses throughout Los Angeles, such as
                                                                              7    Desuar Spa on 5th Street, owned by Deisy Suarez, and Exclusive Motors on
                                                                              8    Venice Boulevard, owned by George Frem, both described infra, have customers
                                                                              9    declining to utilize their services due to nearby encampments.
                                                                              10         56.    Nowhere is the impact felt more strongly than on Skid Row itself,
                                                                              11   where encampments are visibly choking out local property owners and
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                                                                              12   businesses. As discussed in further detail infra, Plaintiff Joseph Burk can no
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                                          LOS ANGELES, CA 90025




                                                                              13   longer maintain tenants in his building and production companies are declining to
                                                                              14   work there due to the surrounding environment. He has been trying to sell the
                                                                              15   property but the offers he receives have been less than half of what other
                                                                              16   comparable properties receive in neighboring areas. The offers he has accepted
                                                                              17   have dropped out of escrow due to concerns about the area. He has been trying
                                                                              18   to rent the property, but no one will rent it. He and his wife have been living
                                                                              19   there, but due to the conditions on the sidewalk outside his home, it is becoming
                                                                              20   nearly unlivable. He is now saddled with what should be a valuable building that
                                                                              21   is near-impossible to sell, rent, live in, or use for business purposes—all due to
                                                                              22   conditions outside his property that are beyond his control, but are directly within
                                                                              23   the City’s control.
                                                                              24
                                                                              25
                                                                                         75
                                                                                            Vivian Marino, Revitalization Projects Reawaken Downtown Los
                                                                              26   Angeles, The New York Times (Mar. 5, 2019),
                                                                                   https://www.nytimes.com/2019/03/05/business/revitalization-projects-reawaken-
                                                                              27   downtown-los-angeles.html; Andrea Lo, How downtown Los Angeles made a
                                                                                   stunning comeback, CNN.com (Feb. 16, 2017, 3:50 PM),
                                                                              28   https://www.cnn.com/2017/02/15/architecture/downtown-la-revival/index.html.

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                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 33 of 92 Page ID
                                                                                                                  #:33


                                                                              1          57.    As detailed infra, Alliance member Lisa Rich’s family has owned
                                                                              2    commercial property in the Skid Row area for decades, but she is now having to
                                                                              3    heavily discount the rents she charges, repair at least one building damaged by
                                                                              4    fires at a cost of $80,000, and pay four times her prior premiums for fire
                                                                              5    insurance. These burdens have her to consider abandoning all financial dealings
                                                                              6    in the area. Alliance member Mark Shinbane has difficulty hiring and retaining
                                                                              7    employees, has had to replace doors and fences, has to clean the perimeter of the
                                                                              8    building multiple times per day, and hire additional staff to handle cleaning and
                                                                              9    maintenance, all at economic cost. Alliance member Larry Rauch has doubled
                                                                              10   his spending on security and cleaning to keep employees and maintain
                                                                              11   certifications, all at economic cost. Plaintiff Harry Tashdjian has been forced to
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                                                                              12   spend over $100,000 on upgraded fire and security systems and pest control just
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                                          LOS ANGELES, CA 90025




                                                                              13   in the last few years while simultaneously losing customers due to the property’s
                                                                              14   surroundings.
                                                                              15   H.    The Homelessness Crisis Harms Society
                                                                              16          58. The City and County have basic obligations to its citizens—all its
                                                                              17   citizens—to preserve the public health, to ensure a semblance of law and order,
                                                                              18   to maintain public areas and infrastructure for the use and enjoyment of all its
                                                                              19   residents. Yet the homelessness crisis persists and threatens all of these: general
                                                                              20   public welfare and health threatened by disease, rats, and toxic waste permeating
                                                                              21   public areas. Law and public order are being threatened by the increased crime
                                                                              22   both on and by homeless, driven by rampant drug addiction and its concomitant
                                                                              23   gang and property-related crimes. Unchecked waste and disease affect the
                                                                              24   sheltered and unsheltered alike living in or near these areas.
                                                                              25         59.    The County, as the provider of last resort, has the additional
                                                                              26   obligation to “relieve and support all incompetent, poor, indigent persons, and
                                                                              27   those incapacitated by age, disease, or accident . . . when such persons are not
                                                                              28   supported and relieved by their relatives or friends, by their own means, or by

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 34 of 92 Page ID
                                                                                                                  #:34


                                                                              1    state hospitals or other state or private institutions.” Cal. Welf. & Inst. Code
                                                                              2    §17000. The purpose animating Section 17000 is to “provide for protection,
                                                                              3    care, and assistance to the people of the state in need thereof, and to promote the
                                                                              4    welfare and happiness of all of the people of the state by providing appropriate
                                                                              5    aid and services to all of its needy and distressed.” Cal. Welf. & Inst. Code
                                                                              6    §10000. Yet the “incompetent, poor, [and] indigent persons” are not being
                                                                              7    relieved and supported, nor is “protection, care, and assistance” being given to
                                                                              8    those who desperately need it. The result is readily observable: squalor,
                                                                              9    lawlessness, disease, and death.
                                                                              10   I.    Crucial Funds That Could Alleviate This Man-Made Disaster Are
                                                                              11         Used In a Manner Unable to Achieve the Ostensible Goal
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                                                                              12         60.    The challenges presented by the homelessness crisis persist despite
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                                          LOS ANGELES, CA 90025




                                                                              13   massive expenditures of taxpayer dollars. For the 2019/2020 fiscal year, the City
                                                                              14   of Los Angeles has approved a $10 billion budget that includes approximately
                                                                              15   $176 million in homeless assistance (including $85 million in HEAP grants from
                                                                              16   the state), roughly 1.7 percent of the budget. 76 This doesn’t include money
                                                                              17   received and allocated pursuant to Proposition HHH. This also doesn’t include
                                                                              18   the portions of the various department budgets dedicated to homelessness (such
                                                                              19   as police and fire response), estimated in 2015 to be over $100 million—and the
                                                                              20   number of unsheltered homeless Angelenos has nearly doubled in that time, from
                                                                              21   14,968 to 27,221.77
                                                                              22         61.    In 2016, City residents voted overwhelmingly to increase their
                                                                              23   property taxes and issue general obligation bonds to generate a total of $1.2
                                                                              24
                                                                                         76
                                                                                            City of Los Angeles, Budget Summary (2019-2020),
                                                                              25   http://cao.lacity.org/budget19-20/2019-20Budget_Summary.pdf.
                                                                              26         77
                                                                                            Los Angeles Almanac, Homelessness in Los Angeles County 2019
                                                                                   (2019), http://www.laalmanac.com/social/so14.php; Office of the City
                                                                              27   Administrative Officer, Miguel A. Santana, Homelessness and the City of Los
                                                                                   Angeles (Apr. 16, 2015), https://clkrep.lacity.org/onlinedocs/2015/15-
                                                                              28   0211_rpt_CAO_04-21-2015.pdf.

                                                                                                                         32
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 35 of 92 Page ID
                                                                                                                   #:35


                                                                              1    billion over a ten-year period with the claimed goal of building 10,000 units of
                                                                              2    Permanent Supportive Housing (“PSH”). 78 The City of Los Angeles has now
                                                                              3    allocated nearly all of that $1.2 billion, for a slated total of “5,873 supportive
                                                                              4    units for homeless residents and another 1,767 affordable units” presumably for
                                                                              5    low-income (but not yet homeless) persons. 79 While permanent housing is
                                                                              6    certainly a valuable piece of the puzzle, the median cost of HHH housing is now
                                                                              7    an astonishing $531,000 per unit, greater than many market-rate homes for sale in
                                                                              8    Los Angeles County. “An unusually high 35 to 40 percent of costs are so-called
                                                                              9    ‘soft costs’ (development fees, consultants, financing, etc.) compared to just 11
                                                                              10   percent for actual land costs.” 80 Part of the high cost is due to the “elongated
                                                                              11   approval and construction timelines”—three to six years—which is “plainly out
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                                                                              12   of step with the City’s urgent need to bring tens of thousands of people off the
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                                          LOS ANGELES, CA 90025




                                                                              13   streets and into housing.” 81 The purpose of HHH was to provide a significant
                                                                              14   solution to address the increasing homelessness crisis. Yet for less than a quarter
                                                                              15   of the $1.2 billion price tag, the City of Los Angeles could provide a bed for
                                                                              16
                                                                              17         78
                                                                                              The Proposition HHH ballot described it thus:
                                                                              18                To provide safe, clean affordable housing for the homeless and
                                                                                         for those in danger of becoming homeless, such as battered women
                                                                              19         and their children, veterans, seniors, foster youth, and the disabled;
                                                                                         and provide facilities to increase access to mental health care, drug
                                                                              20         and alcohol treatment, and other services; shall the City of Los
                                                                                         Angeles issue $1,200,000,000 in general obligation bonds, with
                                                                              21         citizen oversight and annual financial audits?
                                                                              22   City of Los Angeles, City Clerk, Voter Information Pamphlet at 7 (Nov. 8,
                                                                                   2016),
                                                                              23   http://clerk.cityofla.acsitefactory.com/sites/g/files/wph606/f/2016%20Nove
                                                                                   mber%20County%20WEB_English.pdf.
                                                                              24
                                                                                         79
                                                                                           Ron Galperin, LA Controller, High Cost of Homeless Housing: Review
                                                                              25   of Proposition HHH, (Oct. 8, 2019), https://lacontroller.org/wp-
                                                                                   content/uploads/2019/10/The-High-Cost-of-Homeless-Housing_Review-of-Prop-
                                                                              26   HHH_10.8.19.pdf.
                                                                              27         80
                                                                                              Id.
                                                                              28         81
                                                                                              Id.

                                                                                                                         33
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 36 of 92 Page ID
                                                                                                                  #:36


                                                                              1    every unsheltered Angeleno. 82 Instead, year after year, the point-in-time count
                                                                              2    has increased and to date, over three years since Proposition HHH was passed,
                                                                              3    only 46 PSH units have been opened. In focusing almost exclusively on PSH, a
                                                                              4    solution which is laudable but alone takes too long, is too expensive, and
                                                                              5    provides less than 20 percent of the beds actually needed, the City has wasted its
                                                                              6    best opportunity to address this crisis and failed to accomplish its stated goal as
                                                                              7    promised to the voters in 2016.
                                                                              8          62.    While most of the HHH money has been committed (though many
                                                                              9    have not even broken ground yet), there have been several opportunities to pivot
                                                                              10   strategies and claw-back some of the funding. For example, on December 10,
                                                                              11   2019 City Council voted to give an extension to several developers who have
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                                                                              12   missed deadlines. 83 That extension represented $225 Million that could have
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                                          LOS ANGELES, CA 90025




                                                                              13   been pulled back from Permanent Supportive Housing and used to provide
                                                                              14   shelter approximately 20,000 homeless individuals. As it is, these projects only
                                                                              15   fund 410 units, of which 284 are for supportive housing for chronic homeless
                                                                              16   and 126 for low-income families.
                                                                              17         63.    Another significant source of waste is found in the City’s
                                                                              18   encampment clean-up strategy. In July 2019 the City Council approved an
                                                                              19   increase of $6.45 million on top of $26.5 million already in the budget for both
                                                                              20   noticed and “rapid response” clean-ups consisting of Sanitation workers and
                                                                              21   LAPD Officers responding to particular areas of homeless encampments, having
                                                                              22
                                                                                         82
                                                                                            HHH is funded using General Obligation (G.O.) bonds, which are
                                                                              23   limited by the California Constitution to fund “the acquisition or improvement of
                                                                                   real property.” Cal. Const. art. 13A § 1(b)(2). The phrase “acquisition or
                                                                              24   improvement of real property” is not defined by legal authority. There are many
                                                                                   options presented herein which could easily fall within this category, including
                                                                              25   tiny home structures, 3D printed homes, or modification of existing structures
                                                                                   such as the abandoned L.A. County hospital.
                                                                              26
                                                                                         83
                                                                                            City of Los Angeles, City Clerk, LACityClerk Connect, Council File: 17-
                                                                              27   0090-S2,
                                                                                   https://cityclerk.lacity.org/lacityclerkconnect/index.cfm?fa=ccfi.viewrecord&cfn
                                                                              28   umber=17-0090-S2 (last visited Mar. 9, 2020).

                                                                                                                         34
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 37 of 92 Page ID
                                                                                                                   #:37


                                                                              1    camp residents move their property, process what is left (dumping literally
                                                                              2    thousands of tons of needles and toxic waste yearly), and then permitting the
                                                                              3    same encampments to return to the same location. 84 The cycle repeats itself with
                                                                              4    no ultimate change or real net positive benefit for the campers or society. As one
                                                                              5    person noted about the plan: “This, while well-intentioned, is housekeeping
                                                                              6    service for encampments.” 85 Mayor Garcetti apparently agrees this program is a
                                                                              7    waste: “We can’t sweep or move homelessness away. . . We’re not going to wash
                                                                              8    down sidewalks one day, only to see an encampment return the next, and people
                                                                              9    not helped. It doesn’t get any single person off the street with that strategy.” 86
                                                                              10         64.    The County also faces tough questions about its management of
                                                                              11   homelessness-related funds. This fiscal year, the County passed a $36.1 billion
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                                                                              12   budget for this fiscal year, which includes $532.8 million raised by Measure H
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                                                                              13   dedicated to addressing homelessness. Measure H was described as a tax voted
                                                                              14   for county residents in 2017 to “fund mental health, substance abuse treatment,
                                                                              15   health care, education, job training, rental subsidies, emergency and affordable
                                                                              16   housing, transportation, outreach, prevention, and supportive services for
                                                                              17   homeless children, families, foster youth, veterans, battered women, seniors,
                                                                              18   disabled individuals, and other homeless adults.” 87 This amount is wholly
                                                                              19
                                                                              20         84
                                                                                          City of Los Angeles, Mayor Eric Garcetti, Mayor Garcetti Announces
                                                                                   New Plan to Deploy New Sanitation Teams, Deliver Services to Homeless
                                                                              21   Encampments (June 19, 2019), https://www.lamayor.org/mayor-garcetti-
                                                                                   announces-new-plan-deploy-new-sanitation-teams-deliver-services-homeless-
                                                                              22   encampments.
                                                                              23         85
                                                                                            Emily Alpert Reyes, L.A. could overhaul how homeless encampments
                                                                                   are cleaned, Los Angeles Times (June 19, 2019, 3:00 AM),
                                                                              24   https://www.latimes.com/local/lanow/la-me-ln-homeless-encampment-cleanup-
                                                                                   dumping-bathrooms-trash-20190619-story.html.
                                                                              25
                                                                                         86
                                                                                          Aaron Schrank, LA seeks permanent solution to homeless encampments,
                                                                              26   Marketplace (Apr. 26, 2018), https://www.marketplace.org/2018/04/26/la-seeks-
                                                                                   permanent-solution-homeless-encampments/.
                                                                              27
                                                                                         87
                                                                                           County of Los Angeles, LA County budget process concludes with
                                                                              28   adoption of $36.1 billion supplemental budget (2019-2020),

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                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES           Document 1 Filed 03/10/20     Page 38 of 92 Page ID
                                                                                                                     #:38


                                                                              1    separate from, and in addition to, the significant percentage of County funds
                                                                              2    allotted to departments to address issues of homelessness, including those housed
                                                                              3    and treated in County jails, emergency treatment and transport, Department of
                                                                              4    Mental Health, LA County Fire Department, medical treatment through various
                                                                              5    hospitals and treatment centers, and criminal prosecution and defense costs, not
                                                                              6    to mention funding General Relief and other myriad social services.
                                                                              7           65.       Measure H has generated a significant amount of money, yet a
                                                                              8    substantial portion of these funds are wasted through a failure to spend the funds.
                                                                              9    In the 2017/2018 fiscal year, $258,937,000 was allocated for homeless services
                                                                              10   under Measure H and astonishingly $86,727,737 was left unspent at the end of
                                                                              11   the year. For the 2018/2019 fiscal year the County of Los Angeles allocated
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                                                                              12   $412,241,000 for homeless services through Measure H; $39,323,000 remained
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                                                                              13   unused. 88 In this time of critical emergency, for any funds to be left unspent is a
                                                                              14   tragedy. Moreover, there is little indication that the funds spent have actually
                                                                              15   reduced the homelessness crisis. The problem is outpacing the solution, and the
                                                                              16   goal of Measure H—reducing and preventing homelessness—remains largely
                                                                              17   unrealized. 89
                                                                              18
                                                                              19
                                                                              20   https://lacounty.gov/budget/; Los Angeles County, California, Sales Tax for
                                                                                   Homeless Services and Prevention, Measure H, Ballotpedia.org (March 2017),
                                                                              21   https://ballotpedia.org/Los_Angeles_County,_California,_Sales_Tax_for_Homel
                                                                                   ess_Services_and_Prevention,_Measure_H_(March_2017).
                                                                              22
                                                                                          88
                                                                                           County of Los Angeles, FY 2018-2019 Actuals Measure H Expenditures
                                                                              23   (Aug. 30, 2019), http://file.lacounty.gov/SDSInter/lac/1060405_COAB-
                                                                                   MeasureH18-19Expenditures.pdf.
                                                                              24
                                                                                          89
                                                                                             County of Los Angeles, County develops action plan for homelessness
                                                                              25   prevention (Dec. 16, 2019), https://homeless.lacounty.gov/news/county-
                                                                                   develops-action-plan-for-homelessness-prevention/ (approximately 133 people
                                                                              26   per day are finding some sort of housing, while an estimate 150 people per day
                                                                                   are entering homelessness); Erika D. Smith, In 2019, homelessness truly felt like
                                                                              27   a crisis in every corner of L.A., Los Angeles Times (Dec. 20, 2019, 3:00 AM),
                                                                                   https://www.latimes.com/california/story/2019-12-10/homeless-housing-crisis-
                                                                              28   los-angeles.

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 39 of 92 Page ID
                                                                                                                  #:39


                                                                              1          66.    In addition, the County has failed to meet its statutory obligation to
                                                                              2    provide appropriate mental health services. A healthy community will have 50
                                                                              3    IMD (Institute for Mental Disease) beds per 100,000 people; Los Angeles only
                                                                              4    has 23. 90 Courts are reticent to declare a person conserved because there’s
                                                                              5    nowhere for them to go, and the system designed to address these issues is
                                                                              6    massively overburdened. As of 2019 the County had almost $1 billion in funds
                                                                              7    allocated to it through the Mental Health Services Act, and while there has been
                                                                              8    some discussion about what to do with these funds, to date no reported
                                                                              9    expenditure has been made. 91 The County points to the state’s antiquated and
                                                                              10   restrictive conservatorship laws and the Federal government’s refusal to permit
                                                                              11   Medicaid finances for IMD beds, both of which do need to be addressed. Yet
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                                                                              12   even under the existing scheme, local courts could conserve many severely
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                                          LOS ANGELES, CA 90025




                                                                              13   mentally ill persons were there sufficient beds available. The blame for
                                                                              14   insufficient placement rests squarely on the County’s shoulders. And people
                                                                              15   suffering from very serious mental diseases decline living on the street instead,
                                                                              16   many of whom pay the ultimate price. 92
                                                                              17         67.    Both the County and City have hundreds of millions of dollars in
                                                                              18   emergency funds to be used for disaster relief. This homelessness crisis is
                                                                              19
                                                                              20
                                                                              21         90
                                                                                            E. Fuller Torrey, M.D., Kurt Entsminger, J.D., et al., The Shortage of
                                                                                   Public Hospital Beds for Mentally Ill Persons: A Report of the Treatment
                                                                              22   Advocacy Center, Mental Illness Policy.org (2004-2005),
                                                                                   https://mentalillnesspolicy.org/imd/shortage-hospital-beds.html.
                                                                              23
                                                                                         91
                                                                                            Thomas Curwen, With an epidemic of mental illness on the streets,
                                                                              24   counties struggle to spend huge cash reserves, Los Angeles Times (Aug. 19,
                                                                                   2018, 5:00 AM), https://www.latimes.com/local/california/la-me-mhsa-unspent-
                                                                              25   balance-20180819-story.html.
                                                                              26         92
                                                                                            Dennis McDougal, Op-Ed: My daughter was murdered, but it was
                                                                                   misguided mental health laws that put her in danger, Los Angeles Times (Jan.
                                                                              27   26, 2020, 3:00 AM), https://www.latimes.com/opinion/story/2020-01-26/i-hope-
                                                                                   police-catch-my-daughters-killer-but-i-know-her-mental-illness-also-played-a-
                                                                              28   role-in-her-death.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 40 of 92 Page ID
                                                                                                                  #:40


                                                                              1    nothing short of a disaster, with thousands of casualties and massive collateral
                                                                              2    consequences, yet emergency funds remain untapped.
                                                                              3          68.    Together, the County and City fund LAHSA, which has been totally
                                                                              4    ineffective at stemming the growing tide of homelessness. Among LAHSA’s
                                                                              5    shortcomings is the failure to move people up and out from emergency shelters
                                                                              6    and bridge shelters to permanent housing. One woman at the Downtown
                                                                              7    Women’s Center has been there for five years as she waits for housing;
                                                                              8    unfortunately those deemed “sickest” get priority for housing and women like her
                                                                              9    who are more capable of caring for themselves get pushed down the list. The
                                                                              10   agency has been so disorganized, it apparently just discovered 3,000 units they
                                                                              11   “didn’t know about” in their system. 93
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                                                                              12         69.    Solutions exist that would meet the articulated program goals in a
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                                                                              13   time- and cost-effective manner, including Sprung structures (already being used
                                                                              14   in many places in Los Angeles), military-grade inflatable tents (being utilized in
                                                                              15   Honolulu), pallet shelters (being used in Sacramento), and festival tents (utilized
                                                                              16   in Modesto), discussed in para. 13 supra. Board and care facilities could be
                                                                              17   utilized as bridge shelters. The City of Seattle has created small “villages” of
                                                                              18   tiny houses which don’t require a lot of property (6,000 to 30,000 square feet)
                                                                              19   and can be built in a matter of months, with building cost of $1,500-$7,500 per
                                                                              20   unit (depending on utility connections) and run on an annual budget of $3,000-
                                                                              21   $7,000 depending on services provided. 94 Hundreds of smaller properties
                                                                              22
                                                                              23
                                                                              24
                                                                              25
                                                                                         93
                                                                                            Elijah Chiland, Agency responsible for housing LA’s homeless
                                                                              26   discoverys 3,000 units it ‘didn’t know about, Curbed Los Angeles (Feb. 20,
                                                                                   2020), https://la.curbed.com/2020/2/20/21145578/lahsa-units-homeless-housing.
                                                                              27
                                                                                         94
                                                                                            Lee, supra note 18, https://shelterforce.org/2019/03/15/tiny-house-
                                                                              28   villages-in-seattle-an-efficient-response-to-our-homelessness-crisis/.

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20         Page 41 of 92 Page ID
                                                                                                                   #:41


                                                                              1    throughout the City and County of Los Angeles fit the bill and could be utilized
                                                                              2    in a large-scale way to provide an “enhanced shelter” option. 95
                                                                              3          70.    One of the most promising solutions to this crisis already exists in
                                                                              4    the form of collaborative housing, yet LAHSA refuses to refer homeless persons
                                                                              5    to the program, calling it “undignified” because it houses two to a room (like
                                                                              6    college dormitories or sober living facilities), and doesn’t permit alcohol and
                                                                              7    drug use within the houses (even though LAHSA purports to encourage a life
                                                                              8    style of recovery). 96 SHARE! collaborative housing provides affordable
                                                                              9    permanent supportive housing in single-family houses and duplexes throughout
                                                                              10   Los Angeles County. It utilizes a shared housing model, wherein existing single
                                                                              11   family homes are purchased or leased, or new homes or duplexes are constructed,
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                                                                              12   the home is furnished with low-cost basic furniture, and persons are housed two-
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                                          LOS ANGELES, CA 90025




                                                                              13   to-a-room forming a sense of community and kinship, and supported by peer
                                                                              14   advocate counselors. Residents pay rent averaging $600 per month (sufficiently
                                                                              15   low that it is covered SSI, SSDI, or low wage jobs with enough left over for food
                                                                              16   and other basics of life); no security deposit is required and all bedding, cleaning
                                                                              17   supplies, and utilities are provided. It costs roughly $4,000 per person to get
                                                                              18   started, and thereafter is self-sustaining; no infrastructure is required as it relies
                                                                              19   on existing homes for sale or rent (over 30,000 currently listed in the County). A
                                                                              20   proposal was made to the LA City Council in October of 2017 to house and
                                                                              21
                                                                                         95
                                                                                           Examples cited in one private study include 3.6 acres of empty, county-
                                                                              22   owned property located at Soto and E. Cesar Chavez, 13.5 acres of underutilized
                                                                                   county-owned property located at Adams and Grand, 1.3 acres of empty state-
                                                                              23   owned property at 1616 Maple Ave, 20,000 square feet of City-owned property at
                                                                                   5800 S. Figueroa Street, a 15,000 square foot empty lot located at 2301 San
                                                                              24   Pedro Street, 1.4 acres of unoccupied city-owned property at 4521 Browne Ave.,
                                                                                   a combined 3 acres of city and county owned property at Alpine and Spring in
                                                                              25   Chinatown, 2.7 acres of city-owned property at 9413 S. Spring, and 8 useable
                                                                                   acres adjacent to Hope Gardens Family Center in Sylmar which is unable to
                                                                              26   expand due to conditional use permits.
                                                                              27         96
                                                                                           Share!, History & Vision, https://shareselfhelp.org/about-share-the-self-
                                                                                   help-and-recovery-exchange/history-vision-share-the-self-help-and-recovery-
                                                                              28   exchange/ (last visited Mar. 9, 2020).

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20       Page 42 of 92 Page ID
                                                                                                                    #:42


                                                                              1    provide peer services to 2,000 people for the minimal cost of $8 million. This
                                                                              2    evidence based, housing-first program for chronically and other homeless
                                                                              3    individuals with proven outcomes of success has yet to be funded.
                                                                              4              71.   Another promising option is 3D-printed homes, currently being built
                                                                              5    in Austin, Texas and Tabasco, Mexico, which come in various square foot
                                                                              6    models (400-800 square feet), cost around $4,000 per unit, and take only 24
                                                                              7    hours to build. 97 The company that innovated this model is willing to sell their
                                                                              8    upgraded printer, the Vulcan II, which would expedite building and potentially
                                                                              9    reduce costs. More land is needed than some of the more temporary options
                                                                              10   described supra, and several hundred acres of land are available in less populated
                                                                              11   areas of the City and County. When paired with wrap-around services, and
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                                                                              12   transportation to facilitate job accessibility, the County and City could develop
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                                          LOS ANGELES, CA 90025




                                                                              13   nearly self-sustaining communities that have been successful in other cities. 98
                                                                              14             72.   Utilizing any of the options described in the preceding paragraphs,
                                                                              15   or a combination, in a large-scale manner would be an effective way of spending
                                                                              16   taxpayer funds that would actually accomplish the goals identified by the
                                                                              17   programs. Yet still the City focuses on funding exorbitantly expensive PSH units
                                                                              18   and wasting taxpayer dollars on “housekeeping services” for encampments,
                                                                              19   neither of which are addressing the immediate crisis on the ground. And the
                                                                              20   County spends massive amounts on a host of programs that, while positive, lack
                                                                              21   focus and fail to solve the most pressing problems presented by the homelessness
                                                                              22   crisis.
                                                                              23   J.        Neither City nor County Has Proffered Workable Holistic Solutions
                                                                              24
                                                                                            Jayson, supra note 21, https://www.washingtonpost.com/realestate/3d-
                                                                                             97

                                                                              25   printed-homes-a-concept-turns-into-something-solid/2020/03/05/61c8b0d2-36e4-
                                                                                   11ea-bf30-ad313e4ec754_story.html; Aria Bendix, supra note 21,
                                                                              26   https://www.businessinsider.com/3d-homes-that-take-24-hours-and-less-than-
                                                                                   4000-to-print-2018-9.
                                                                              27
                                                                                            Mobile Loaves & Fishes, Community First! Village,
                                                                                             98

                                                                              28   https://mlf.org/community-first/ (last visited Mar. 9, 2020).

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20       Page 43 of 92 Page ID
                                                                                                                    #:43


                                                                              1              73.   While the City and County have made efforts to address this crisis,
                                                                              2    they are at best scattered and neither has developed comprehensive plans to solve
                                                                              3    it. The new County mapping tool shows a total of 4,506 interim housing units
                                                                              4    coming online in the next two years (which includes beds within the City of Los
                                                                              5    Angeles and other locations), and 9,960 supportive housing units in the
                                                                              6    “pipeline” (the majority of which are funded through HHH and will not be ready
                                                                              7    for another several years). 99 That is less than 15,000 new beds becoming
                                                                              8    available when there are more than 44,000 people in the County without a safe
                                                                              9    place to sleep on a nightly basis, and many of those beds that are planned won’t
                                                                              10   be available for years.
                                                                              11             74.   Plaintiffs do not suggest the City and County are doing nothing; the
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                                                                              12   amount of effort and resources that have been devoted to addressing this issue is
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                                          LOS ANGELES, CA 90025




                                                                              13   considerable and admirable. But the actual result is an astonishing lack of
                                                                              14   progress in addressing the crisis, and continued expansion of the crisis despite
                                                                              15   such efforts and resources.
                                                                              16             75.   Without beds to offer, the City and County’s efforts are stymied and
                                                                              17   destined to fail under Martin v. City of Boise. And so the crisis continues and
                                                                              18   accelerates, with little hope of a City- or County-driven solution. Because of the
                                                                              19   painful results of current policies, and because of the lack of political and
                                                                              20   bureaucratic will to undertake effective and proven means to combat it, the
                                                                              21   Plaintiffs and the entire City and County are suffering under the weight of an
                                                                              22   urgent crisis. Plaintiffs are left with no choice but to resort to the Courts for
                                                                              23   relief.
                                                                              24
                                                                              25
                                                                              26
                                                                                             99
                                                                                             County of Los Angeles, Los Angeles County Homelessness & Housing
                                                                              27   Map: A Data Driven GIS Map of Interim and Supportive Housing (Dec. 12,
                                                                                   2019),
                                                                              28   https://storymaps.arcgis.com/stories/400d7b75f18747c4ae1ad22d662781a3.

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 44 of 92 Page ID
                                                                                                                   #:44


                                                                              1                              IV.     THE PARTIES
                                                                              2                   PLAINTIFFS AND INDIVIDUALIZED HARMS
                                                                              3          76.    LA ALLIANCE FOR HUMAN RIGHTS (the “Alliance”) is an
                                                                              4    unincorporated association consisting of a broad coalition of Los Angeles
                                                                              5    stakeholders who understand that homelessness in LA is a human rights crisis
                                                                              6    and are working towards solutions to address the crisis and its related impact on
                                                                              7    health and safety issues throughout the region. Each of its members is a resident
                                                                              8    of Los Angeles City and Los Angeles County, and pays municipal taxes to each.
                                                                              9    All individual plaintiffs herein are members of the Alliance. Additionally, the
                                                                              10   following individuals are representative of the membership:
                                                                              11                a.     BOB SMILAND is the President and chief executive officer
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                                                                              12   of Inner-City Arts—a non-profit organization dedicated to providing elementary,
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                                          LOS ANGELES, CA 90025




                                                                              13   middle, and high school students instruction in a range of subject areas within the
                                                                              14   visual, performing, and media arts. The organization serves almost 10,000
                                                                              15   students per year and is open 6 days a week from 7:30 a.m. to 9:30 p.m. As the
                                                                              16   CEO and President, he is directly responsible for the safety of the students and
                                                                              17   staff. He both lives and works in the Skid Row area. The increase in squalor,
                                                                              18   disease, and violence over the last several years has threatened not only his
                                                                              19   personal well-being, but that of his co-workers, and the hundreds of students he
                                                                              20   works with on a daily basis.
                                                                              21         Mr. Smiland’s apartment building, which houses 53 residents, experiences
                                                                              22   at least one break-in a week, and neither he nor his visitors can safely leave their
                                                                              23   cars parked on the street overnight, as cars left overnight are frequently
                                                                              24   vandalized. Ambulances appear at all times of the day and night outside the
                                                                              25   building, and the last two years have brought an increase of gun shots, and other
                                                                              26   violent noises in the area.
                                                                              27         The explosion in in the number of tents, people, and personal belongings
                                                                              28   stored on the sidewalks in the area creates regular blockades, preventing Inner-

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                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 45 of 92 Page ID
                                                                                                                   #:45


                                                                              1    City Arts staff and students from walking to the school. Because of this
                                                                              2    blockade, those staff members that rely on the 7th and San Pedro bus stop,
                                                                              3    roughly 6 blocks away, are forced to walk in the street the entire way. Staff
                                                                              4    members no longer walk to work out of fear that they will be attacked. It is no
                                                                              5    longer safe for students to walk between their schools alone—they must be
                                                                              6    escorted by staff members of the Central City East Association. Mr. Smiland—
                                                                              7    an imposing man at 6 feet, 5 inches—does not feel safe walking the 40 yards
                                                                              8    from the school to the post office during the day. Each time he makes this walk,
                                                                              9    he is confronted by multiple people whose conduct poses a threat to his safety.
                                                                              10         Inner-City Arts has experienced a sharp increase in vandalization. Graffiti,
                                                                              11   once a rare occurrence, appears weekly on the organization’s buildings. There
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                                                                              12   has also been a sharp rise in break-ins to the campus over the past year. These
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                                          LOS ANGELES, CA 90025




                                                                              13   break-ins are a major safety concern for the school, its staff, and its students.
                                                                              14   Because of the increased danger, violence, and vandalization, the school’s
                                                                              15   security costs have risen from minimal to over $80,000 per year. The school has
                                                                              16   also been forced to install a fence for protection, a large capital expense that
                                                                              17   impedes the carefully designed architectural aesthetic of the property. These
                                                                              18   expenses have diverted resources away from the core work of the organization.
                                                                              19         As someone who both lives and works within the Skid Row area, Mr.
                                                                              20   Smiland has been treated differently than other similarly situated individuals
                                                                              21   living and working outside of this area. He is subjected to violence, garbage,
                                                                              22   narcotics use, offensive odors and sounds, forced to walk in the middle of the
                                                                              23   street, and lacks police enforcement of the laws protecting his safety and security,
                                                                              24   different from individuals living and working outside of this geographic area and
                                                                              25   not subject to these same conditions at the same rate. This unfair, unequal
                                                                              26   treatment funnels these problems into the area where he lives and works,
                                                                              27   increasing the homeless population density and exacerbating existing problems.
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                                                                                                                         43
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20      Page 46 of 92 Page ID
                                                                                                                   #:46


                                                                              1                  b.    DONALD SHAW has lived in or near Skid Row for the last
                                                                              2    25 years. He was in and out of jail for much of that time but has been free, clean
                                                                              3    and sober since 2013. He is now the residential manager of security at the
                                                                              4    Midnight Mission (the “Mission”), located at 601 San Pedro Street, in the heart
                                                                              5    of Skid Row, where he lives and oversees a one-year drug and alcohol program
                                                                              6    that helps 150 men get clean each year. While working as the assistant manager,
                                                                              7    he became the liaison between the Mission and the Los Angeles Police
                                                                              8    Department (“LAPD”). He represented the Mission at all LAPD meetings. In
                                                                              9    attending these meetings, he began to understand the challenges the LAPD has in
                                                                              10   the Skid Row area, and he informed the LAPD how concerned the Mission’s
                                                                              11   security team was about the hazards personal property created outside the
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                                                                              12   Mission. He also asked LAPD officers multiple times if they could help get
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   people to move their possessions off the Mission’s walls or keep their property
                                                                              14   from blocking entrances. The officers seemed sympathetic to his plight but
                                                                              15   explained there was nothing the LAPD could or is allowed to do to alleviate such
                                                                              16   conditions.
                                                                              17         When he walks to work, he is forced to walk in the street due to the
                                                                              18   blocked sidewalks, and as a result, he was nearly hit twice by passing cars. He
                                                                              19   has also witnessed and experienced the significant increase in drugs and violence
                                                                              20   in the Skid Row over the last several years arising out of the increase in
                                                                              21   unsheltered homeless persons living in encampments on the sidewalks in the
                                                                              22   area. The conditions surround Mr. Shaw and those at the Mission is such that
                                                                              23   going out at night is too big a risk, so he doesn’t.
                                                                              24                 c.    GALVESTER GAULDING has struggled with drug and
                                                                              25   alcohol abuse for the past 20 years, and in 2005 became homeless and ended up
                                                                              26   in jail due to drug-related issues. From 2007 to 2008, he lived in a halfway
                                                                              27   house, and, during this time, started attending meetings and battling his addiction,
                                                                              28   constantly alternating between rehab and the hospital. Mr. Gaulding suffers from

                                                                                                                         44
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 47 of 92 Page ID
                                                                                                                   #:47


                                                                              1    both mental and physical health issues, including bipolar disorder, severe
                                                                              2    depression, and hypertension. The time he spent without regular shelter
                                                                              3    exacerbated those issues: he rarely was able to sleep more than a few hours at a
                                                                              4    time, he was exposed to the heat in summer and the cold and rain in winter. He
                                                                              5    took illegal drugs to self-medicate, both for his mental health issues and to cope
                                                                              6    with the stress of living on the streets; the narcotics further intensified his chronic
                                                                              7    illnesses. It wasn’t until he finally entered the Union Rescue Mission
                                                                              8    approximately two years ago that he began to heal: he was able to sleep without
                                                                              9    fear of attack or exposure to the elements and began to take his medication
                                                                              10   regularly. But he will never be the same.
                                                                              11         When he arrived at the Mission, he was told that if he finished the one-year
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                                                                              12   drug and alcohol program, they would give him the resources he needed to find a
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   place to live. He was successful and received a Section 8 voucher for permanent
                                                                              14   housing. But the only available housing was on Skid Row, which is rife with
                                                                              15   conditions threaten his sobriety and safety. He was terrified to take the offered
                                                                              16   housing on Skid Row and waited an extra year until he was finally able to find
                                                                              17   housing out of the area. He received his keys and moved in three weeks ago.
                                                                              18         In the last two years while living in Skid Row, he was physically attacked,
                                                                              19   witnessed multiple stabbings, and saw multiple dead bodies. As a former addict
                                                                              20   who has struggled with this disease for his entire life, he it was nearly impossible
                                                                              21   to stay clean on Skid Row; he mostly chose to avoid going outside at all because
                                                                              22   the moment he did, someone offered him drugs.
                                                                              23                d.     KYLE HARPT is formerly homeless and on July 5, 2016, he
                                                                              24   enrolled in a program at the Mission. He came to the Mission because of the
                                                                              25   facilities and the programs it offered and stayed at the Mission for a year and a
                                                                              26   half. He has remained sober since then. After graduating from the Mission, he
                                                                              27   moved to 5th and Main Street, adjacent to Skid Row. He began to see the dire
                                                                              28   circumstances afflicting Skid Row on a daily basis, and was fearful of the

                                                                                                                         45
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 48 of 92 Page ID
                                                                                                                   #:48


                                                                              1    increase in violence, unchecked drug use, and exploding sanitation and disease
                                                                              2    problems that continue to plague the area. Concerned for his health, he got
                                                                              3    various vaccinations, including the vaccine for Hepatitis A.
                                                                              4          Mr. Harpt has observed people openly using drugs on the street and the
                                                                              5    prevalent absence of police enforcement. Walking down the street, he has seen
                                                                              6    people smoking meth out of glass pipes or smoking crack, and he is regularly
                                                                              7    accosted by individuals offering to sell him drugs. Mr. Harpt observed no effort
                                                                              8    by city officials, including the police, to stem this flagrant use of drugs.
                                                                              9          From 2016-2019 he worked at the Mission doing data base work. To
                                                                              10   avoid dangerous areas and altercations in Skid Row, Mr. Harpt used a set path
                                                                              11   well out of his way to get to and from work. A couple years ago, he was robbed
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                                                                              12   outside of his house in broad daylight—the offender pulled a knife and stole his
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   bicycle. This incident and the violent altercations he observed on the streets of
                                                                              14   Skid Row caused Mr. Harpt to fear for his own safety. In late 2019 Mr. Harpt
                                                                              15   changed jobs and left the area; he would like to return to downtown if conditions
                                                                              16   change for the better.
                                                                              17                e.     MARK SHINBANE is the President and part-owner of Ore-
                                                                              18   Cal Corporation which is a family-owned business in the Skid Row area. He has
                                                                              19   also been the Chairman of Central City East Association (CCEA) for several
                                                                              20   years. Ore-Cal Corporation is an international seafood importer, processor, and
                                                                              21   distributor. It is a second-generation family-owned-business and they have
                                                                              22   owned property in the general area since 1961. Ore-Cal has been located on 634
                                                                              23   Crocker Street since 1971. Four years ago, Crocker Street and other streets in
                                                                              24   that vicinity—such as 6th Street, 7th Street and Towne Avenue—were free of
                                                                              25   encampments. Mr. Shinbane recalls small homeless encampments west of San
                                                                              26   Pedro Street on San Julian Street and Wall Street in the past, but personal
                                                                              27   possessions were generally kept contained, crime was generally addressed, and
                                                                              28   the sidewalks were usable.

                                                                                                                         46
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 49 of 92 Page ID
                                                                                                                  #:49


                                                                              1          In 2016, immediately after the injunction issued in Mitchell v. City of Los
                                                                              2    Angeles, Crocker Street, the neighborhood surrounding Ore-Cal became a haven
                                                                              3    for homeless individuals. The streets rapidly filled with tents and encampments,
                                                                              4    inundating the area, which coincided with an increase in violence and an inability
                                                                              5    to traverse the sidewalks. Individuals loiter at all times of the day, and the
                                                                              6    growing encampments block sidewalks, doorways, driveways, and streets. Mr.
                                                                              7    Shinbane regularly observes open drug use and people walking in a perpetual
                                                                              8    drug-induced state, and bodies lying on the sidewalks or doorways near his
                                                                              9    business. There has been an increase of used needles on the streets, sidewalks,
                                                                              10   and inside drains located on the business’ property.
                                                                              11         Mr. Shinbane’s conversations with LAPD Officers and Detectives in the
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                                                                              12   area indicate that gang members are supplying narcotics to homeless individuals
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                                          LOS ANGELES, CA 90025




                                                                              13   right outside of Ore-Cal. There has been an increase in violence with both
                                                                              14   homeless (as victims and perpetrators) and gang members. His employees and
                                                                              15   transportation drivers are frequently assaulted or threatened by homeless
                                                                              16   individuals. Illegal entry onto their property, car break-ins, and thefts are now a
                                                                              17   common occurrence.
                                                                              18         Ore-Cal and its employees are subject to an increased risk of fire because
                                                                              19   of the encampment fires that surround the property. This danger is made worse
                                                                              20   by the huge quantities of trash and debris that litter their street and surrounding
                                                                              21   neighborhood. The conditions on the street are worsening and there has been a
                                                                              22   significant increase in rats and vermin as well as urine and feces in their gutters
                                                                              23   and on their property. These conditions have made it extremely difficult for Mr.
                                                                              24   Shinbane to hire new workers, and his company has lost many well qualified
                                                                              25   candidates due to the unpleasant neighborhood and environment—at least 10
                                                                              26   candidates for administrative or managerial roles declined an offer because of
                                                                              27   concern for their safety or the conditions in the area. Approximately 25 to 40
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                                                                                                                         47
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 50 of 92 Page ID
                                                                                                                   #:50


                                                                              1    percent of candidates decline offers or interviews based solely on the location.
                                                                              2    This never used to be the case.
                                                                              3          To combat some of the deteriorating conditions, Mr. Shinbane’s business
                                                                              4    has completely fenced its property to prevent individuals from camping on their
                                                                              5    grounds and to keep the used needles from being fed into their exterior drains
                                                                              6    from the rampant narcotics use. He was forced to replace roll up doors and add
                                                                              7    sections of fence due to individuals constantly urinating on them, a cost of
                                                                              8    $25,000.
                                                                              9          Ore-Cal has also had to significantly increase its exterior maintenance by
                                                                              10   washing and sanitizing the perimeter of their facility daily. In some cases, it is
                                                                              11   necessary to clean multiple times a day, in order to maintain cleanliness. He now
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                                                                              12   spends $15,000 a year—a new expense—on supplies and staff dedicated to
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                                          LOS ANGELES, CA 90025




                                                                              13   maintaining the perimeter and external areas of their facility.
                                                                              14         His company’s property has appeared in footage taken recently by a
                                                                              15   reporter for a local television affiliate that accurately captures the conditions in
                                                                              16   Skid Row. (See Chris Cristi, L.A.’s homeless: Aerial tour of Skid Row, epicenter
                                                                              17   of crisis, ABC7.com (June 13, 2019), https://abc7.com/society/las-homeless-
                                                                              18   aerial-tour-of-skid-row-epicenter-of-crisis/5344680/.) The video shows mounds
                                                                              19   of trash with tents, structures, and other property completely blocking sidewalks
                                                                              20   and spilling into the streets at the corner of 6th and Crocker, just yards away from
                                                                              21   the Ore-Cal building.
                                                                              22         Mr. Shinbane has observed no meaningful efforts by the City to address
                                                                              23   these issues and has noted a lack of law enforcement activity in the area
                                                                              24   surrounding his business despite the prevailing state of lawlessness.
                                                                              25                f.     LARRY RAUCH is the president of Los Angeles Cold
                                                                              26   Storage Company located at 400 South Central Avenue within the Skid Row
                                                                              27   area. Los Angeles Cold Storage is a public refrigerated warehouse that stores
                                                                              28   frozen and refrigerated foods for hundreds of customers. It is owned by Standard

                                                                                                                         48
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20      Page 51 of 92 Page ID
                                                                                                                   #:51


                                                                              1    Southern Corporation, which Mr. Rauch’s family owns. He has worked for Los
                                                                              2    Angeles Cold Storage for over 45 years.
                                                                              3          Mr. Rauch is one of the founding members of CCEA, has been Chairman
                                                                              4    twice and has also sat on the Finance and Executive Committees. He is also the
                                                                              5    past Chairman of both the International Association of Refrigerated Warehouses
                                                                              6    and the World Food Logistics Organization, both of which are international
                                                                              7    organizations representing his industry. He is a past Chairman of the Jewish
                                                                              8    Family Service, the oldest Jewish social service agency in Los Angeles. He is
                                                                              9    also a past Chairman of the Jewish Community Foundation.
                                                                              10         Over the past three years, there has been an explosion in the numbers of
                                                                              11   people living on the streets near Los Angeles Cold Storage. This rapid increase
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                                                                              12   in the population has resulted in dangerously unhealthy living conditions and a
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                                          LOS ANGELES, CA 90025




                                                                              13   sharp decrease in sanitation. With the increase in individuals has come an
                                                                              14   increase in personal property, trash, and human feces, all of which line the streets
                                                                              15   that he, his employees, and his customers depend on daily. Given the nature of
                                                                              16   their business, sanitation and health conditions in the immediate area surrounding
                                                                              17   the facility are a high priority for them.
                                                                              18         Los Angeles Cold Storage is inspected by a variety of government
                                                                              19   agencies including: the Food and Drug Administration (FDA), the United States
                                                                              20   Department of Agriculture (USDA), the United States Department of Commerce
                                                                              21   (USDC), the Los Angeles City Public Works (Sanitation), the Occupational and
                                                                              22   Safety Administration (CAL OSHA), the Los Angeles County Health
                                                                              23   Department (Environmental Health), the Los Angeles City Fire Department,
                                                                              24   departments: 1) Fire Safety and 2) CAL/ARP, Los Angeles County Fire
                                                                              25   Department (HAZMAT), the City of Los Angeles Public Works (Watershed
                                                                              26   Protection Division and Industrial Waste Management Division), and the State of
                                                                              27   California Department of Public Health (Food and Drug branch). Their ability to
                                                                              28   remain operational and profitable as a business depends on their compliance with

                                                                                                                          49
                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 52 of 92 Page ID
                                                                                                                  #:52


                                                                              1    the rules and regulations of each of the organizations listed above. The increase
                                                                              2    in squalor, feces, and trash has required the company to wash their sidewalks
                                                                              3    down every morning before 6 a.m. to maintain the necessary certifications
                                                                              4    certification and ensure the employees and truck drivers do not bring the
                                                                              5    unsanitary conditions from the street into the warehouses or offices. Efforts to
                                                                              6    remain sanitary are made even more difficult by the rodent infestation on the
                                                                              7    nearby streets. Trash left out by those on the streets ensures that the rodents are
                                                                              8    well fed each day and continue to maintain a home on the streets, which in turn
                                                                              9    creates health risks for those living on the street and working and living in the
                                                                              10   area, including Los Angeles Cold Storage employees.
                                                                              11         Some Los Angeles Cold Storage customers require that the company be
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                                                                              12   audited and certified by the British Retail Consortium (“BRC”), a global safety
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   and sanitation program. While Los Angeles Cold Storage holds an AA
                                                                              14   certification, the highest possible level, with BRC, their customers expect them to
                                                                              15   maintain this high-level certification. The lack of sanitation, and accumulation of
                                                                              16   trash and human waste outside constantly poses an imminent risk of failing BRC
                                                                              17   audits, which would result in the loss of valuable customers.
                                                                              18         The company continues to incur significant additional security costs to
                                                                              19   protect their property and avoid graffiti, and has installed extra cameras and
                                                                              20   lighting to protect its buildings, as well as employing a security guard to escort
                                                                              21   employees to company vehicles and monitor the safety of the building throughout
                                                                              22   the night. Annual security costs for Los Angeles Cold Storage have skyrocketed
                                                                              23   by nearly 100 percent to a current level of $150,000.
                                                                              24         Los Angeles Cold Storage employees are often endangered on their
                                                                              25   commute to work. Because the sidewalks are often completely blocked with
                                                                              26   individuals, personal belongings, and tents, employees have been forced to walk
                                                                              27   in the middle of the street to access the parking lot. Employees have experienced
                                                                              28   harassment on multiple occasions in the forms of panhandling or individuals

                                                                                                                         50
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 53 of 92 Page ID
                                                                                                                   #:53


                                                                              1    exposing themselves. These panhandlers create even greater danger for those
                                                                              2    forced to walk in the street, because when they approach cars for money the cars
                                                                              3    swerve to avoid them. The number of individuals in the street causes a great
                                                                              4    danger to vehicles passing through, and for vehicles entering and leaving their
                                                                              5    facility.
                                                                              6           The high concentration of desperate people has led to an increase in
                                                                              7    violence in the area. Now, his employees must be escorted to and from their cars
                                                                              8    in order to avoid harassment. Employees have also experienced an increase in
                                                                              9    theft and physical damage done to their cars.
                                                                              10          Mr. Rauch’s daily observation of the human tragedy in Skid Row both
                                                                              11   saddens and frustrates him—he is sobered by the squalor in which unsheltered
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                                                                              12   individuals live, and irked by the inaction of the City in the face of this crisis.
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                                          LOS ANGELES, CA 90025




                                                                              13                g.     HAL BASTIAN, a commercial real estate professional in Los
                                                                              14   Angeles for 37 years, has been one of the leaders of the Downtown Los Angeles
                                                                              15   Renaissance for the last 26 years. He began working as a retail broker for
                                                                              16   Cushman & Wakefield in Downtown Los Angeles (“DTLA”) in 1994. He later
                                                                              17   transitioned to the role of leasing director for The Old Bank District—the first
                                                                              18   adaptive reuse project in downtown that converted historical office buildings into
                                                                              19   loft apartments. From 2001 to 2014, he served as the Director of Economic
                                                                              20   Development for the Downtown Center Business Improvement District
                                                                              21   (DCBID), and eventually, its Executive Vice President. During this time, Mr.
                                                                              22   Bastian facilitated the construction of over 22,000 housing units, leading tours
                                                                              23   and producing special events that recruited thousands of new residents and
                                                                              24   resulted in the construction of dozens of new commercial and mixed-used
                                                                              25   developments, and attracting over 300 new businesses to the downtown area,
                                                                              26   including Ralphs, Fresh Fare, Bottega Louie and Whole Foods Market. He lives
                                                                              27   in DTLA.
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                                                                                                                          51
                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 54 of 92 Page ID
                                                                                                                  #:54


                                                                              1          Mr. Bastian’s extensive experience in DTLA has made it clear to him that
                                                                              2    both action and inaction by the City has been a substantial contributing factor in
                                                                              3    the current homelessness crisis. In particular, the City’s response to a series of
                                                                              4    federal lawsuits has coincided with this crisis, which affects the homeless and
                                                                              5    housed alike, and he joins this lawsuit to bring about a substantial change in the
                                                                              6    deteriorating conditions of DTLA.
                                                                              7                 h.     LISA RICH owns several buildings in Skid Row, which she
                                                                              8    rents out to various businesses. Her family has been running the properties for
                                                                              9    over 40 years and has brought significant numbers of jobs to the area. Over the
                                                                              10   past several years, the number of homeless persons on the sidewalk in front of the
                                                                              11   buildings has dramatically increased, as has the amount of personal possessions.
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                                                                              12   Frequently, tents and belongings block the sidewalks for days at a time, bringing
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   with them refuse, criminal activity, and unhygienic conditions. At times, the
                                                                              14   buildup of property has physically prevented tenants and patrons from accessing
                                                                              15   the buildings. Tenants have complained and requested rent reductions due to the
                                                                              16   effect the homeless encampments are having on their business.
                                                                              17          Ms. Rich attempted twice to contact LAPD for assistance in moving the
                                                                              18   property, but received no help. When she asked why the LAPD had not moved
                                                                              19   homeless persons or their property, she was informed that there was nothing
                                                                              20   LAPD could do. After learning the City would not help, Ms. Rich attempted to
                                                                              21   install fencing around some of her higher risk properties to keep tents from being
                                                                              22   propped directly against the buildings. However, for one of the buildings, the
                                                                              23   City warned her that the fencing was unlawful and would lead to fines. Before
                                                                              24   she could remove the fencing at issue, an unknown person or entity removed the
                                                                              25   chain link, and tents returned, gathering around the bare fence poles.
                                                                              26         In late 2017, a campfire at a homeless encampment burned out of control
                                                                              27   and set one of Ms. Rich’s buildings on fire. The blaze significantly damaged the
                                                                              28   building’s offices and electrical system, requiring more than $80,000 worth of

                                                                                                                         52
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 55 of 92 Page ID
                                                                                                                   #:55


                                                                              1    repairs. The fire and repair process disrupted her tenant’s business for significant
                                                                              2    time. At her next policy renewal period, her fire insurer refused to renew the
                                                                              3    policy covering all of her buildings, claiming her buildings could no longer be
                                                                              4    insured because of the risks posed by the adjacent homeless encampments. Ms.
                                                                              5    Rich then approached 24 other insurers—of those, 23 insurers outright refused to
                                                                              6    insure her buildings at any rate. Eventually, one insurer offered to cover her
                                                                              7    buildings at a premium more than four times her original rate. As a result of
                                                                              8    these developments, she is actively considering selling her family’s business and
                                                                              9    abandoning the Skid Row area.
                                                                              10                i.     DEISY SUAREZ is a resident of and business owner in
                                                                              11   Downtown Los Angeles. She lives and works on 5th Street (“5th”) and
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                                                                              12   Broadway Street (“Broadway”). Ms. Suarez is the proud mother of two young
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   children, both under two. Due to the violence and disease surrounding the
                                                                              14   encampments throughout downtown, Ms. Suarez fears for her and her children’s
                                                                              15   safety each time they leave their home. In fact, this fear has become almost
                                                                              16   paralyzing, often preventing Ms. Suarez from leaving the building by foot.
                                                                              17         Given her children’s young age, Ms. Suarez uses a stroller when traveling
                                                                              18   by foot. The increase in homeless persons and their property on the streets
                                                                              19   hinders Ms. Suarez’s ability to freely travel the public sidewalks and regularly
                                                                              20   puts her and her children’s lives in danger. She finds it difficult to travel 3rd
                                                                              21   Street and Main Street, between 7th and 8th Street along Maple Street, along the
                                                                              22   east side of Los Angeles Street between Winston and 5th Street, between 5th and
                                                                              23   6th Street on Los Angeles Street, and along Main Street between 6th and 7th
                                                                              24   Street.
                                                                              25         Some of these routes are blocked by street vendors who become extremely
                                                                              26   aggressive, and whose belongings and “shops” take up the entire sidewalk. On
                                                                              27   other streets, tents and personal belongings fill the sidewalk, making it difficult or
                                                                              28   impossible for a person with a stroller or someone in a wheelchair to pass. When

                                                                                                                         53
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 56 of 92 Page ID
                                                                                                                   #:56


                                                                              1    she asks individuals to move themselves or their belongings so that she can use
                                                                              2    the sidewalk, she is often met with aggression. As a result, Ms. Suarez is
                                                                              3    frequently forced to walk, with her children in their strollers, in the street with
                                                                              4    moving cars, to reach her destination because the streets are blocked with
                                                                              5    individuals and belongings. As a mother of young children, Ms. Suarez feels
                                                                              6    extremely vulnerable walking on the streets.
                                                                              7          Ms. Suarez’s business has also been negatively impacted by the homeless
                                                                              8    crisis in Downtown Los Angeles. She owns Desuar Spa, a day spa, that is
                                                                              9    located in the same building where she and her family live. At least a few times a
                                                                              10   month, she and her staff receive phone calls from clients canceling their
                                                                              11   appointments because they are afraid of getting out of the car or walking to the
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                                                                              12   building. The hotel concierges at the Intercontinental and the Weston have
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   expressed safety concerns for guests looking to visit the day spa. Sometimes,
                                                                              14   there are individuals asleep on the sidewalk in front her business, making it
                                                                              15   difficult, and unnerving for individuals to enter the building. The increase in
                                                                              16   homeless persons living and sleeping outside of her business has made it difficult
                                                                              17   for her to retain staff. Multiple staff members have quit as a direct result of
                                                                              18   frightening interactions with the homeless individuals. And Ms. Suarez has
                                                                              19   struggled to recruit new staff members because of the danger the location of the
                                                                              20   spa poses.
                                                                              21         77.    JOSEPH BURK owns an historic building utilized for a company
                                                                              22   he created called Location 606, Inc. His property is primarily rented for film,
                                                                              23   television, commercial and music video production. Until 2017, he rented part of
                                                                              24   the property to tenants, but since then, due to the conditions in the area, he can no
                                                                              25   longer get a tenant to occupy the property, and he now lives there with his wife.
                                                                              26   He pays property taxes, but cannot use the public sidewalks around his own
                                                                              27   property. Mr. Burk’s residence has become unlivable due to surrounding
                                                                              28   conditions, and his business has been destroyed. Production companies have

                                                                                                                         54
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20        Page 57 of 92 Page ID
                                                                                                                    #:57


                                                                              1    stopped using his building for film shoots, and he has gotten countless rejection
                                                                              2    emails and letters citing the conditions around his property. He has lost hundreds
                                                                              3    of thousands of dollars because production companies cannot use Mr. Burk’s
                                                                              4    property since they need accessible driveways and sidewalks for heavy
                                                                              5    equipment, lighting and sound items, and costume trucks, and the exits and
                                                                              6    entrances to his property are often fully blocked by shelters and possessions. On
                                                                              7    at least one occasion when his property was to be used for filming, the crew was
                                                                              8    unable able to bring their equipment inside his building and demanded its money
                                                                              9    back. His property has been on the market for years without an acceptable offer,
                                                                              10   and he has experienced a significant decline in his own quality of life as a result
                                                                              11   of the increased filth, violence, and drug use in the surrounding areas.
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                                                                              12         78.      Over the past three years, Mr. Burk has received the following
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                                          LOS ANGELES, CA 90025




                                                                              13   communications from production companies considering his property for filming:
                                                                              14               a. October 11, 2016 email: “After driving past your place on 6th and
                                                                              15                  Crocker yesterday I can no longer present your property for
                                                                              16                  upcoming commercial shoots. The homeless condition directly
                                                                              17                  around your property is out of control and I wouldn’t feel safe
                                                                              18                  bringing any film crew into that area.”
                                                                              19               b. October 24, 2016 email: “Sorry the scout left before going inside to
                                                                              20                  see your space today. He told me that when he showed up, he could
                                                                              21                  barely walk down the street because there were so many homeless
                                                                              22                  tents and people around. He said it would be a nightmare to try and
                                                                              23                  film there and didn’t want to put the option in front of the director.
                                                                              24                  Also, wouldn’t be appealing to bring the client there due to all the
                                                                              25                  homeless people.”
                                                                              26               c. February 7, 2017 email: “Thank you for showing [interested client]
                                                                              27                  your place. She really liked it. But she is concerned about the
                                                                              28

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 58 of 92 Page ID
                                                                                                                   #:58


                                                                              1                  neighborhood because her show has a big star attached. Thanks
                                                                              2                  again.”
                                                                              3                d. June 27, 2017 email: “When the location manager showed up with
                                                                              4                  the director, his instant reaction was ‘I won’t shoot here, because I
                                                                              5                  won’t get out of the car[.]’ Due to the severity of the homelessness
                                                                              6                  in your area, I fear you are losing out on a lot of shoots. I know
                                                                              7                  it[’]s out of your hands, but thanks for all your help today.”
                                                                              8          79.     From 2003 to 2017, two full-time tenants, a married couple, lived in
                                                                              9    the building, but they moved out due to the declining quality of life arising out of
                                                                              10   the homelessness crisis. The amount of noise and trash coming from the
                                                                              11   encampments had become too much for them. The wife was harassed repeatedly
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                                                                              12   and the husband had his bike stolen numerous times. People would (and still do)
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                                          LOS ANGELES, CA 90025




                                                                              13   urinate and defecate on the property’s fence, which would run down toward the
                                                                              14   front door. The tenants frequently came across used needles which were left
                                                                              15   behind from people in the encampments, and called 911 several times to report
                                                                              16   individuals overdosing on drugs.
                                                                              17         80.     Since those tenants moved out, Mr. Burk has struggled to find a full-
                                                                              18   time tenant for the property. People are not interested in renting his property as a
                                                                              19   home or living space because of the surrounding area. LAPD officers have told
                                                                              20   Mr. Burk that they have been instructed by their superiors not to ask the homeless
                                                                              21   to move their belongings from the sidewalks or from his property. Because of
                                                                              22   this, when he has asked people to move their belongings from blocking the
                                                                              23   entrance to his home, he has been threatened, spit on, and verbally attacked.
                                                                              24   Weekly, he witnesses public sex, prostitution, and/or nudity on 6th Street and
                                                                              25   Crocker street. His security cameras often catch violent encounters, like a
                                                                              26   shooting that occurred in the end of January across the street from his building.
                                                                              27         81.     Insurance premiums on his property are significantly higher than on
                                                                              28   properties in other areas of DTLA due to the increased danger surrounding him

                                                                                                                         56
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20        Page 59 of 92 Page ID
                                                                                                                    #:59


                                                                              1    daily. The building across from him caught on fire from a homeless
                                                                              2    encampment’s open flame; the building down the street recently caught on fire
                                                                              3    for the same reason. He has difficulty receiving mail or packages. The mail
                                                                              4    carrier will not deliver his mail if his mailbox is blocked and will not get out of
                                                                              5    his truck to deliver mail or packages to his front door because he has said it is not
                                                                              6    safe. He regularly receives his neighbors’ mail because the carrier simply
                                                                              7    chooses the mailbox that is not blocked that day to put the entire block’s mail in.
                                                                              8    If everyone’s mailboxes are blocked, mail is not delivered. Food delivery
                                                                              9    services will no longer deliver food to his property after dark. Rideshare drivers
                                                                              10   such as Lyft or Uber will refuse to pick up or drop off there.
                                                                              11         82.      Mr. Burk has been trying to sell the property since early 2018.
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                                                                              12   There have been several interested buyers, yet the property has not sold, as the
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   conditions surrounding the building and the recent and widely reported typhus
                                                                              14   and hepatitis outbreaks in the area have scared off potential buyers. His property
                                                                              15   has dropped out of escrow multiple times. All potential buyers have cited the
                                                                              16   dangerous conditions on the surrounding streets and sidewalks as the reason they
                                                                              17   would not purchase the property.
                                                                              18               a. For example, on January 17, 2018, he received an email from a
                                                                              19                  potential buyer stating, in part, “Just wondering how you’re planning
                                                                              20                  to sell it when the homeless are 3 tents deep all around that. I know
                                                                              21                  that DTLA is working on the problem but isn’t the skid row
                                                                              22                  development company super close? . . . [W]hat precautions and what
                                                                              23                  actions can be taken regarding the sidewalks around the property as
                                                                              24                  owners[,] if we were to buy it?” The email also included a text
                                                                              25                  message screen shot from a potential buyer stating, “Thanks for
                                                                              26                  letting me know about the sidewalk directly around the building. I
                                                                              27                  just know that it will make it awfully hard for pedestrians to walk
                                                                              28                  over from the arts district . . . if no one will venture over because the

                                                                                                                           57
                                                                                                                        COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES           Document 1 Filed 03/10/20     Page 60 of 92 Page ID
                                                                                                                     #:60


                                                                              1                    rest of the surrounding streets look like a scene from Mad Max then
                                                                              2                    that could be a hiccup.”
                                                                              3          83.       In 2018, the City of Los Angeles inquired about acquisition of Mr.
                                                                              4    Burk’s property. The City would not tell him why they were interested in his
                                                                              5    property, but in January 2019, he found out from an article in the Los Angeles
                                                                              6    Times that the City was looking to turn his property into a Homeless Hygiene
                                                                              7    Center. The City has not made an offer on the property but has made matters
                                                                              8    worse by releasing his address to the public.
                                                                              9          84.       Last year, Mr. Burk spoke to some young men who told him they
                                                                              10   came to Skid Row from the Valley because they knew they could pitch a tent,
                                                                              11   buy and use drugs, without any repercussions. To be clear, they were not
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                                                                              12   homeless, they were simply capitalizing on the drug-haven Skid Row has
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                                          LOS ANGELES, CA 90025




                                                                              13   become. This is just one example of the “attractive nuisance” of Skid Row as a
                                                                              14   result of the City and County’s current lax enforcement policies.
                                                                              15         85.       The homelessness crisis right outside Mr. Burk’s building is
                                                                              16   heartbreaking, but what is even more heartbreaking is that the City is allowing it
                                                                              17   to get worse.
                                                                              18         86.       HARRY TASHDJIAN owns an upholstery supplier in the
                                                                              19   industrial area of DTLA, and the property surrounding the business location. Mr.
                                                                              20   Tashdjian’s building typically houses millions of dollars’ worth of inventory.
                                                                              21   When he purchased the building in 2013, tents were not allowed on the streets
                                                                              22   during the day. Because his business operates during traditional business hours,
                                                                              23   he believed that the location would not hinder business, which generally has
                                                                              24   between 70 and 100 will-call orders per day through which customers order
                                                                              25   product then come into the business shop to pick it up.
                                                                              26         87.       In mid-2016, Mr. Tashdjian saw an immediate increase in tents on
                                                                              27   the streets and sidewalks outside of his business. Today, tents occupy the
                                                                              28   sidewalks at all hours, and it is difficult for him and his customers to access his

                                                                                                                           58
                                                                                                                        COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 61 of 92 Page ID
                                                                                                                   #:61


                                                                              1    business due to the piles of property and people loitering on the sidewalk and in
                                                                              2    the street. Customers constantly tell him how difficult it is to get into the
                                                                              3    building or the adjacent parking lot without hitting people. Mr. Tashdjian has
                                                                              4    been repeatedly told that customers prefer to do business with competitors to
                                                                              5    avoid the hassle and inconvenience of trying to access his store.
                                                                              6          88.    Vendors from all over the world—Italy, Germany, United Kingdom,
                                                                              7    China, etc.—visit Mr. Tashdjian’s shop and express shock and dismay that such
                                                                              8    horrendous conditions exist in Los Angeles. His business is now at a much
                                                                              9    greater risk for vandalism, violence, and fire damage. Homeless individuals
                                                                              10   frequently urinate into or onto his building or the adjacent parking lot, and there
                                                                              11   has been an increase in graffiti on his building. The number of tents immediately
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                                                                              12   outside of his building puts his business at risk of fire damage—indeed, the fire
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                                          LOS ANGELES, CA 90025




                                                                              13   department responds at least once a year to a tent fire that has started immediately
                                                                              14   outside his building. Sometimes it is an innocent accident from an open flame;
                                                                              15   other times, it is intentional due to some drug dealers’ disagreement. His security
                                                                              16   has caught these arsons on camera.
                                                                              17         89.    The conditions surrounding his property have cost Mr. Tashdjian a
                                                                              18   great deal of money. Because of the immediate fire danger posed by the tents
                                                                              19   outside his building, he has been forced to upgrade his fire monitoring system
                                                                              20   which cost approximately $40,000. He has also had to spend approximately
                                                                              21   $37,000 on a new security surveillance system to protect the building. The
                                                                              22   LAPD frequently seeks footage caught on this security system during
                                                                              23   investigations. Theft is also a major concern—pallets are constantly stolen from
                                                                              24   their building and car batteries are frequently stolen from inside people’s cars.
                                                                              25         90.    There has also been a significant uptick in the population of rats
                                                                              26   surrounding his building, and as a result, rat feces coat all three fences
                                                                              27   surrounding his property. To address the increase in fecal matter on his property,
                                                                              28   as well as the proliferation in cockroaches, he has hired a pest control company

                                                                                                                         59
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 62 of 92 Page ID
                                                                                                                   #:62


                                                                              1    and had the health department visit the property multiple times. The gate
                                                                              2    surrounding is property has been repeatedly damaged, costing him thousands of
                                                                              3    dollars in repairs.
                                                                              4           91.    Over the last few years, as the City and County have permitted the
                                                                              5    homelessness crisis to grow, the risk to his property from fire damage and
                                                                              6    vandalism has increased exponentially—the business constantly replaces gates
                                                                              7    and other property, cleans the facilities, and pays security to safeguard its
                                                                              8    property. They have had to spend over $100,000 in upgrades to their system and
                                                                              9    increased monitoring and pest control just as a result of the increased homeless
                                                                              10   persons and property in the area. He and his employees cannot walk anywhere in
                                                                              11   the area and are constantly subject to risk of disease due to the putrid conditions
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                                                                              12   outside the business.
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                                          LOS ANGELES, CA 90025




                                                                              13          92.    The City and the County have offered no assistance to Mr. Tashdjian
                                                                              14   and have taken no steps to address the impact of the homelessness crisis on his
                                                                              15   business or to enforce the laws that are broken daily in the area around his
                                                                              16   business.
                                                                              17          93.    KARYN PINSKY works in DTLA and lives there with her husband
                                                                              18   and their three-year-old son. She and her husband moved to DTLA in 2010
                                                                              19   because they were drawn to the architecture, history, and walkability of the area.
                                                                              20   Homeless people have always been present near their home, but in far fewer
                                                                              21   numbers. In 2010, the only tents west of Skid Row were on Broadway, and they
                                                                              22   were erected every night and removed shortly after sunrise. From 2010 to 2016,
                                                                              23   Ms. Pinsky and her husband, and later her son, were able to enjoy many
                                                                              24   wonderful features of DTLA—they regularly walked their dog along Main Street,
                                                                              25   and they felt comfortable walking to the many wonderful establishments and
                                                                              26   restaurants that were nearby.
                                                                              27          94.    All this has changed dramatically over the past several years as the
                                                                              28   homelessness crisis has deepened. When walking outside, Ms. Pinsky is fearful

                                                                                                                         60
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 63 of 92 Page ID
                                                                                                                   #:63


                                                                              1    that either she or her son will be the subject of some random act of violence.
                                                                              2    This fear stems from dangerous encounters either she or her husband have had
                                                                              3    with individuals on the streets. Once, while sitting outside at a café on Spring
                                                                              4    Street, a homeless woman screamed and became violent towards her because she
                                                                              5    thought Ms. Pinsky was “judging” her—only when her husband and others
                                                                              6    intervened was the situation defused. On another occasion, her husband saw the
                                                                              7    aftermath of a violent encounter between a neighbor and a homeless, mentally ill
                                                                              8    individual—the individual hit their neighbor in the face with a 2x4 that had a nail
                                                                              9    in it. Earlier this year, a homeless man seated outside a café on 6th Street near
                                                                              10   Broadway, a block from their house, randomly pushed a stranger into the street in
                                                                              11   front of an oncoming bus. The man was struck by the bus and ultimately died.
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                                                                              12   Another neighbor on a different floor was attacked in the middle of the night by
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                                          LOS ANGELES, CA 90025




                                                                              13   someone who gained access through a fire escape window. Now, as a result, she
                                                                              14   no longer feels safe sleeping with her window cracked even a little at night
                                                                              15   because of its proximity to the fire escape.
                                                                              16         95.    Sexual assaults on women also have increased significantly in the
                                                                              17   last several years, and as a result, Ms. Pinsky is terrified of being assaulted while
                                                                              18   running errands or just walking to or from a restaurant. The conditions
                                                                              19   immediately surrounding their home have gotten so dangerous that neither she
                                                                              20   nor her husband will leave the house late at night, even to let their elderly dog
                                                                              21   out. A woman in their building was attacked twice near the building while
                                                                              22   walking her dog at night. Since then, she and her husband decided to put a diaper
                                                                              23   on their dog to avoid going out.
                                                                              24         96.    Each time she takes her son outside, she’s afraid that he will contract
                                                                              25   one of the many diseases that are plaguing the area—typhus, tuberculosis,
                                                                              26   typhoid, hepatitis, or the plague. To avoid disease and violence, she’s stopped
                                                                              27   allowing her son to play at the park in Pershing Square, and she’s stopped taking
                                                                              28   him to Story Time at the Central Library. Family and friends are so fearful of the

                                                                                                                         61
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 64 of 92 Page ID
                                                                                                                  #:64


                                                                              1    disease and violence in the area that they will no longer come to visit Ms. Pinsky.
                                                                              2    The area was not always like this, but the City’s failure to limit the goods
                                                                              3    accumulated on sidewalks or remove tents during the day has fundamentally
                                                                              4    altered the neighborhood and her experience of it. Ms. Pinsky has been greatly
                                                                              5    affected and has a very real interest in remediating this issue insofar as her
                                                                              6    quality of life and basic enjoyment of her property has been severely diminished.
                                                                              7    At the same time, she also has compassion and empathy for those on the streets
                                                                              8    who are subject to the assaults (particularly women), the elements, the drug
                                                                              9    pushers, the gang members, the rats, filth, and disease. For Ms. Pinsky, this is no
                                                                              10   way for a society to treat its most helpless members.
                                                                              11         97.    CHARLES MALOW has been living at Union Rescue Mission,
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                                                                              12   within the Skid Row area, since 2012. Prior to 2008, he worked as a garage door
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                                          LOS ANGELES, CA 90025




                                                                              13   installer for 29 years, and from 2000 to 2006 he worked part-time as a security
                                                                              14   guard. He became homeless in 2008 when the economy tanked. From 2010 to
                                                                              15   2012, he lived on the streets of Glendora, California. In the winter of 2011 and
                                                                              16   2012, he stayed at a Glendora Winter Shelter and then decided to seek help at the
                                                                              17   Union Rescue Mission (“URM”) located on 545 San Pedro St., Los Angeles, CA
                                                                              18   90013. When he first arrived at URM in 2012, police officers would come by in
                                                                              19   the morning, and wake-up the people sleeping on the streets. They were required
                                                                              20   to pack up their belongings and stow them, so the sidewalks were not blocked.
                                                                              21   This also allowed illegal activity such as narcotics and weapons sales to be more
                                                                              22   easily discovered and therefore addressed. At that time, there were no tents in
                                                                              23   front of URM.
                                                                              24         98.    For a little over two years, Mr. Malow has been an Ambassador at
                                                                              25   URM. The Ambassador program allows a small group of men to live at URM
                                                                              26   indefinitely. Since living at URM, he has worked at Home Depot and in URM’s
                                                                              27   janitorial department, known as the EVS team. He knows that diseases such as
                                                                              28   typhus have made a resurgence on Skid Row, and this makes him extremely

                                                                                                                         62
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 65 of 92 Page ID
                                                                                                                   #:65


                                                                              1    concerned that his work with the EVS team puts him at greater risk of contracting
                                                                              2    a disease.
                                                                              3          99.    In the last several years Mr. Malow has seen a big increase in the
                                                                              4    volume of tents and belongings on the streets. This has greatly affected his daily
                                                                              5    life. He has observed a dramatic increase in the rodent problem on Skid Row and
                                                                              6    has seen rats running in and out of tents when he sweeps the sidewalks and
                                                                              7    gutters outside of URM. A major cause of this rodent problem is the volume of
                                                                              8    trash disposed of on the streets—because individuals living on the streets throw
                                                                              9    food and trash in the streets, rats have more than enough food to flourish. There
                                                                              10   has also been a huge increase in the amount of human feces on the street which
                                                                              11   carries with it the significant risk of disease, not to mention the odors.
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                                                                              12         100. There is absolutely no room to walk on the sidewalk, so if he leaves
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                                          LOS ANGELES, CA 90025




                                                                              13   URM, Mr. Malow is forced to walk in the street. Even in places where he could
                                                                              14   physically walk between the encampment and the wall, he still must walk on the
                                                                              15   streets or risk violent confrontation from people who accuse him of invading their
                                                                              16   “space.” When he leaves URM, he must plan his route carefully even if traveling
                                                                              17   by public transportation. Due to an increase in crime, including narcotics sales
                                                                              18   and violent activity, he must use a car service to get back from the metro or bus
                                                                              19   station after visiting his mother in Anaheim. He always has the car drop him off
                                                                              20   directly in front of URM to avoid dangerous encounters on the street.
                                                                              21         101. Mr. Malow does not leave URM between the hours of 4 p.m. and 6
                                                                              22   a.m., because he is concerned for his safety on the streets. When he does leave,
                                                                              23   he is incessantly approached and offered illegal drugs for sale. He regularly sees
                                                                              24   people just outside his home using illegal narcotics in the form of pills or
                                                                              25   smoking or injecting themselves. He sees people lying motionless in gutters,
                                                                              26   often without clothes or shoes, and is constantly looking to see if that person is
                                                                              27   dead or merely unconscious from drugs or alcohol. As a person who has
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                                                                                                                         63
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES           Document 1 Filed 03/10/20      Page 66 of 92 Page ID
                                                                                                                     #:66


                                                                              1    struggled with drug and alcohol use, it is particularly painful to watch and
                                                                              2    experience.
                                                                              3              102. The excessive build-up of tents and debris over the last few years is
                                                                              4    directly responsible for this significant increase in crime because it allows
                                                                              5    criminals to operate in relative anonymity. This increase in debris, tents, and
                                                                              6    personal items on the streets also makes it impossible for health and safety
                                                                              7    workers to identify public health risks, causing disease and unsafe conditions to
                                                                              8    spread right outside his home. As a formerly homeless individual, Malow knows
                                                                              9    first-hand the difficulties that come from living on the street and is deeply
                                                                              10   troubled by both the City’s actions and inaction in the face of the homelessness
                                                                              11   crisis.
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                                                                              12             103. CHARLES VAN SCOY also lives at Union Rescue Mission and
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                                          LOS ANGELES, CA 90025




                                                                              13   has been homeless or lived in shelters at various points in time over the last three
                                                                              14   decades. Sometime after 2010, he moved to Long Beach Rescue Mission, where
                                                                              15   he lived for two or three years. He has been living at the URM for three years
                                                                              16   and is part of its Ambassador program.
                                                                              17             104. Due to various illnesses, Mr. Van Scoy is confined to a wheelchair.
                                                                              18   He depends on Access Services (“Access”), Los Angeles County’s Paratransit
                                                                              19   program, when traveling further distances within the city. Sometimes Access is
                                                                              20   available to him, but sometimes it is not—it is a limited program and he is
                                                                              21   regularly in danger of losing qualification for its services. Because of the
                                                                              22   homelessness crisis, it is presently impossible for Mr. Van Scoy to navigate the
                                                                              23   sidewalks surrounding the URM, and so he must choose every day to stay inside
                                                                              24   or risk traversing busy streets in a wheelchair and risking accident and injury—
                                                                              25   indeed, the risk is even greater for him on the streets because the massive
                                                                              26   amounts of trash and property (and sometimes unconscious bodies) in the gutters
                                                                              27   require him edge closer to the center of the streets. When he asks people to move
                                                                              28   their belongings on the sidewalk to make a path for his 32-inch wheelchair, he is

                                                                                                                           64
                                                                                                                        COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 67 of 92 Page ID
                                                                                                                  #:67


                                                                              1    met with threats and aggression, so he doesn’t even ask anymore. He has missed
                                                                              2    important doctors’ appointments and meetings because it is so difficult for him to
                                                                              3    move along public sidewalks.
                                                                              4          105. Every time Mr. Van Scoy leaves URM, people approach him to buy
                                                                              5    or sell drugs. As a recovering addict, it feels like walking into a firestorm. So
                                                                              6    many of the tents and enclosures are used by gang members to sell drugs and
                                                                              7    weapons that people who come to Skid Row looking for services frequently find
                                                                              8    themselves targets for drug pushers.
                                                                              9          106. Mr. Van Scoy has observed that the increase in debris on the streets
                                                                              10   has been accompanied by a rodent infestation that carries with it the high risk of
                                                                              11   disease. The lack of sanitation and accumulation of trash and human waste have
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                                                                              12   made the streets increasingly dangerous for him. He knows of one individual
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   who came into contact with human feces and developed an infection that led to
                                                                              14   the amputation of a leg. Van Scoy’s medical conditions make him particularly
                                                                              15   vulnerable to the spread of bacteria and disease.
                                                                              16         107. All these circumstances combine to render Mr. Van Scoy a prisoner
                                                                              17   in his own home.
                                                                              18        108.    GEORGE FREM owns a luxury auto-shop in Mar Vista California,
                                                                              19   which primarily services high-end vehicles. In 2015, a few homeless individuals
                                                                              20   set up tents under the 405 freeway adjacent to his business. Since then, the
                                                                              21   population of the encampment has continually increased, and he currently
                                                                              22   estimates that more than 80 people live there. The residents have brought a
                                                                              23   variety of goods with them including tents, mattresses, wardrobes, and
                                                                              24   more. The encampment effectively fully covers the sidewalk on one side of the
                                                                              25   road. Mr. Frem now sees drug use, prostitution, violence, and public indecency
                                                                              26   on a regular basis. In the summer, the scent of urine and feces permeates the air,
                                                                              27   causing Mr. Frem and his patrons to question whether the area is safe to occupy.
                                                                              28

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 68 of 92 Page ID
                                                                                                                  #:68


                                                                              1         109.     The City conducts weekly sanitary cleanups of the camp. When
                                                                              2    they do so, the City tells the homeless persons that any property left within a
                                                                              3    designated zone will be considered abandoned and disposed of accordingly. This
                                                                              4    causes the unsheltered persons to move themselves and all of their belongings to
                                                                              5    the area immediately outside of the cleanup area and directly in front of Mr.
                                                                              6    Frem’s business. Additionally, every Friday LAHSA representatives set up a
                                                                              7    mobile shower station directly in front of Mr. Frem’s business, resulting in lines
                                                                              8    of people on the sidewalk for hours as they wait for the showers to be
                                                                              9    available. When this occurs, customers frequently question whether their
                                                                              10   vehicles are safe in the lot and whether they will be stored inside overnight.
                                                                              11        110.     Before the encampment was in place, Mr. Frem received significant
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                                                                              12   business from other auto shops who would sub-contract to him for repairs. The
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   encampment and related activity, especially the presence of homeless persons
                                                                              14   immediately outside of the property, caused those shops to doubt the safety of
                                                                              15   their vehicles while at Mr. Frem’s shop, and has caused them to stop using him
                                                                              16   for sub-contract work. Prior to 2015, Mr. Frem would get significant walk-in
                                                                              17   business from his prime location on a major arterial road, but now long-time
                                                                              18   customers tell Mr. Frem that they do not feel safe picking up their vehicles late at
                                                                              19   night and potential customers turn away when they see the conditions outside of
                                                                              20   the shop.
                                                                              21        111.     This has decreased the number of service orders the shop has every
                                                                              22   year since the encampment arose. Before the encampment was in place, Mr.
                                                                              23   Frem’s shop consistently performed over 1000 repairs per year. But, because of
                                                                              24   the City’s policies effectively maintaining and promoting the camp, the numbers
                                                                              25   have declined year on year, and now, the shop can only draw around 600 repair
                                                                              26   jobs per year. The City’s homelessness policies have caused serious economic
                                                                              27   damage to Mr. Frem’s business and have effectively destroyed the value of his
                                                                              28   enterprise.

                                                                                                                        66
                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 69 of 92 Page ID
                                                                                                                  #:69


                                                                              1         112.    LEANDRO SUAREZ is chief petty officer (“CPO”) in the United
                                                                              2    States Navy and has served for over 22 years. He resides with his sister, Deisy
                                                                              3    Suarez, at Fifth Street and Broadway four days of the week. While stationed off
                                                                              4    the coast of Southern California, he was involved in an accident that resulted in
                                                                              5    the amputation of his right leg and his left big toe. It took him nearly two years
                                                                              6    to be healthy enough to use a prosthetic leg. He also suffers from lower back
                                                                              7    problems and problems with his toes, knees, and feet. Currently, he can only
                                                                              8    walk for five to eight minutes at a time with the assistance of two crutches.
                                                                              9    Because of his limited mobility with the prosthetic, CPO Suarez relies on an
                                                                              10   electric wheelchair for most daily activities, e.g. walking the dog, grocery
                                                                              11   shopping, or going “long” distances.
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                                                                              12        113.    Navigating the streets of Downtown Los Angeles is nearly
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                                          LOS ANGELES, CA 90025




                                                                              13   impossible for CPO Suarez, and he is often confined on his block at Fifth and
                                                                              14   Broadway. The swelling number of persons living on the streets with their
                                                                              15   possessions severely limit Mr. Suarez’s ability to travel by wheelchair throughout
                                                                              16   DTLA.
                                                                              17        114.    Streets that contain businesses with outdoor patios, chairs, or other
                                                                              18   decorative materials pose a particularly difficult problem for CPO Suarez. While
                                                                              19   the law requires businesses to ensure a certain portion of the sidewalk remain
                                                                              20   clear, homeless persons openly camp in front of these establishments, effectively
                                                                              21   blocking the entire sidewalk. CPO Suarez cannot get around these persons, and
                                                                              22   because he is in a wheelchair, he must go back to the corner so he can use the
                                                                              23   ramp to access the street and cross to the other side. This is a laborious, time-
                                                                              24   consuming, and dangerous process. And the constant backtracking limits CPO
                                                                              25   Suarez’s ability to travel within the city because his wheelchair is not made for
                                                                              26   long distances.
                                                                              27        115.    When CPO Suarez asks homeless persons to move themselves or
                                                                              28   their belongings, they often become aggressive with him, demanding that he

                                                                                                                         67
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20         Page 70 of 92 Page ID
                                                                                                                   #:70


                                                                              1    prove he “owns the sidewalk,” or that he give them cigarettes or other
                                                                              2    paraphernalia as a “tax.” More often than not, people simply refuse to move,
                                                                              3    again, forcing Mr. Suarez to find a curb, cross to the other side of the street, and
                                                                              4    hope that there will be enough public walkway for his wheelchair to fit through
                                                                              5    so that he can complete a simple errand, task, or outing.
                                                                              6          116.   The buildup of goods and persons on the streets prevents CPO
                                                                              7    Suarez from freely traveling throughout the city. He is limited in the distance
                                                                              8    and the places he can travel because his electric wheelchair has a limited battery
                                                                              9    life. When streets are blocked with property and people, CPO Suarez is forced to
                                                                              10   find a different, unobstructed, route to his destination. And sometimes, because
                                                                              11   CPO Suarez’s wheelchair has limited battery life, he is prevented from even
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                                                                              12   reaching his destination. In fact, at times the idea of traveling outside is so
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   daunting that Mr. Suarez is forced to remain indoors.
                                                                              14         117.   Mr. Suarez’s difficulties are exacerbated when construction projects
                                                                              15   limit the sidewalk further. A construction project between 4th and 5th Street has
                                                                              16   made it is nearly impossible for Mr. Suarez to travel down Broadway because
                                                                              17   while a makeshift walkway exists, the walkway is often blocked by homeless
                                                                              18   persons or their property. Mr. Suarez’s request that the individuals move is often
                                                                              19   rebuffed, preventing him from descending down the ramp or having full and free
                                                                              20   access to public sidewalks or the ability to travel the streets.
                                                                              21         118.   Mr. Suarez regularly endures verbal abuse from the individuals he
                                                                              22   asks to move so that he can access the public walkway. Already physically
                                                                              23   vulnerable, this constant beratement has left Mr. Suarez fearful of traveling
                                                                              24   outside.
                                                                              25         119. GARY WHITTER has been homeless on and off in the Los
                                                                              26   Angeles area for the last 13 years. He struggles with alcoholism, depression,
                                                                              27   bipolar disorder, chronic back pain, and hypertension. While he was living on
                                                                              28   the streets, he would sleep wrapped up in a blanket, usually on hard cement or a

                                                                                                                         68
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 71 of 92 Page ID
                                                                                                                   #:71


                                                                              1    blanket. He could not get more than an hour or two of sleep at a time because of
                                                                              2    fear of attacks, noise, people asking him to move, physical pain, or exposure to
                                                                              3    the elements. Sleep deprivation caused his mental state to spiral, exacerbating his
                                                                              4    depression, bipolar, and hypertension conditions. The hard sleeping conditions
                                                                              5    and constantly carrying all his belongings everywhere he went lead to severe
                                                                              6    back pain.
                                                                              7           120. The stress of the stigma of being homeless was also significant,
                                                                              8    adding to his depression and hypertension. As hard as he tried, he understood
                                                                              9    that he always looked and smelled terrible. It was impossible to keep his hygiene
                                                                              10   up and as a result he was constantly sick. Due to his unpredictable living and
                                                                              11   sleeping conditions, he lacked regular medical and dental care. He frequently
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                                                                              12   encountered persons attempting to scam him or victimize him in some way. All
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   of this caused his mental and physical state to further decline.
                                                                              14          121. In the middle of March, 2019, he entered into a program at the
                                                                              15   Union Rescue Mission, and has now been there for almost a year. He is able to
                                                                              16   get a full night’s sleep which has significantly increased his mental stability and
                                                                              17   reduced his hypertension. Sleeping on a bed, and not having to carry his worldly
                                                                              18   possessions on his back, has helped his back pain tremendously and he can move
                                                                              19   uninhibited which has itself improved his mental stability and hypertension. He
                                                                              20   now has regular access to medical and mental health clinics, and his mental and
                                                                              21   physical health has improved markedly. This is the third time he has been
                                                                              22   through Union Rescue Mission’s program and he is unsure about what will
                                                                              23   happen in the future once he graduates. He is aware that permanent housing is
                                                                              24   difficult to find, but he is fearful of living on Skid Row or returning to living on
                                                                              25   the streets.
                                                                              26          122. Staying on Skid Row has its own dangers. He often has to walk on
                                                                              27   the street because the sidewalks are completely blocked with tents and
                                                                              28   possessions. Even when there is room to walk on the sidewalk, he often must

                                                                                                                         69
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20       Page 72 of 92 Page ID
                                                                                                                  #:72


                                                                              1    walk in the street anyway or risk harassment for walking in a person’s
                                                                              2    “backyard” (the area in front of the tent). Other than walking to Rite-Aid to pick
                                                                              3    up his prescriptions or to the Department of Public Social Services office to get
                                                                              4    his General Relief check, he stays inside because he is too afraid to leave the
                                                                              5    building. At night he can hear gunshots and sirens all night long, and on the roof,
                                                                              6    it isn’t uncommon to witness people getting attacked on the street, including
                                                                              7    women getting beaten or raped.
                                                                              8
                                                                              9                                     DEFENDANTS
                                                                              10        123.    CITY OF LOS ANGELES (“City”) is a municipal entity existing
                                                                              11   under the laws of the State of California, with the capacity to sue and be sued.
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                                                                              12   The departments of the City include the Los Angeles Department of Public
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   Works with its various sub-departments include the Los Angeles Department of
                                                                              14   Sanitation (LASAN), and the Los Angeles Police Department (LAPD).
                                                                              15        124.    COUNTY OF LOS ANGELES (“County”) is a municipal entity
                                                                              16   existing under the laws of the State of California, with the capacity to sue and be
                                                                              17   sued. The departments of the County include the Los Angeles Sheriff’s
                                                                              18   Department (LASD), the Department of Mental Health (DMH), the Department
                                                                              19   of Public Health (DPH), and the Department of Public Social Services (DPSS).
                                                                              20        125.    The CITY and COUNTY jointly fund, manage, and administer the
                                                                              21   Los Angeles Homeless Service Authority (LAHSA), an independent joint powers
                                                                              22   authority. According to its website, “LAHSA is the lead agency in the Los
                                                                              23   Angeles Continuum of Care, which is the regional planning body that coordinates
                                                                              24   housing and services for homeless families and individuals in Los Angeles
                                                                              25   County. LAHSA coordinates and manages over $300 million annually in federal,
                                                                              26
                                                                              27
                                                                              28

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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 73 of 92 Page ID
                                                                                                                   #:73


                                                                              1    state, county, and city funds for programs that provide shelter, housing, and
                                                                              2    services to people experiencing homelessness.” 100
                                                                              3         126.      Does 1 through 200, inclusive, are persons, entities, government
                                                                              4    bodies, municipal employees, the names and identifies of which are currently
                                                                              5    unknown.
                                                                              6
                                                                              7                               V.      CAUSES OF ACTION
                                                                              8                               FIRST CAUSE OF ACTION
                                                                              9                                          Negligence
                                                                              10                                   (Against all Defendants)
                                                                              11         127. Plaintiffs re-allege and incorporate herein by this reference each and
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                                                                              12   every allegation set forth in paragraphs 1 through 126 of this Complaint as
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   though set forth fully herein.
                                                                              14         128. Defendants, by and through their agents and employees, have sole
                                                                              15   right and responsibility to control, maintain, and keep safe and clean the public
                                                                              16   and public-right-of-way areas in the City and unincorporated parts of the County,
                                                                              17   including parks, sidewalks, streets, public buildings, and certain undeveloped
                                                                              18   areas such as alongside freeways and other transportation routes, and to make and
                                                                              19   enforce laws assuring the public health and safety thereof for its citizens and their
                                                                              20   guests. Among other things, Defendants have the duty to maintain these areas in
                                                                              21   a manner which does not unreasonably interfere with the free passage or use by
                                                                              22   plaintiffs, and which addresses and alleviates conditions which are harmful to
                                                                              23   health, or indecent or offensive to the senses, and which create a fire hazard or
                                                                              24   permit crime to occur unabated including the illegal sale of controlled substances.
                                                                              25         129. As controlling law makes clear, “The public is entitled to the free
                                                                              26   and unobstructed use of the entire streets and sidewalks. . .” Vanderhurst, 113
                                                                              27
                                                                                         100
                                                                                               LAHSA, About LAHSA, https://www.lahsa.org/about (last visited Mar.
                                                                              28   9. 2020).

                                                                                                                           71
                                                                                                                        COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 74 of 92 Page ID
                                                                                                                  #:74


                                                                              1    Cal. at 152. Indeed, municipalities have “the duty to keep their communities’
                                                                              2    streets open and available for movement of people and property.” Schneider, 308
                                                                              3    U.S. at 160-61.
                                                                              4          130. In 2016, the City sponsored and supported a ballot measure which
                                                                              5    promised to “provide safe, clean affordable housing for the homeless, and … to
                                                                              6    provide facilities to increase access to mental health care, drug, and alcohol
                                                                              7    treatment and other services” if its citizens authorized the issuance of
                                                                              8    $1,200,000,000 in general obligation bonds for that purpose. 101 Proposition HHH
                                                                              9    passed overwhelmingly and became law in 2017, thereby obligating and creating
                                                                              10   a duty of the City to implement it in a manner to achieve its purposes.
                                                                              11         131. In 2017, the County sponsored a ballot measure which promised to
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                                                                              12   “fund mental health, substance abuse treatment, health care, education, job
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   training, rental subsidies, emergency and affordable housing, transportation,
                                                                              14   outreach, prevention, and supportive services for homeless children, families,
                                                                              15   foster youth, veterans, battered women, seniors, disabled individuals, and other
                                                                              16   homeless adults” if its citizens authorized a ¼ cent sales tax for ten years to be
                                                                              17   used for that purpose. Proposition H passed overwhelming and became law,
                                                                              18   thereby obligating the County to implement it in a manner to achieve its
                                                                              19   purposes.
                                                                              20         132. Defendants and their agents have breached their duty to its citizens,
                                                                              21   including and specifically to plaintiffs and Alliance members, and each plaintiff
                                                                              22   and Alliance member has suffered damages as a result, as described more fully
                                                                              23   supra. The bases of this cause of action is the conduct, acts, and omissions of
                                                                              24   individual responsible officials, including Does 1-150, inclusive, based on the
                                                                              25   theory of respondeat superior.
                                                                              26
                                                                                         101
                                                                                             City of Los Angeles, City Clerk, Voter Information Pamphlet at 7 (Nov.
                                                                              27   8, 2016),
                                                                                   http://clerk.cityofla.acsitefactory.com/sites/g/files/wph606/f/2016%20November
                                                                              28   %20County%20WEB_English.pdf.

                                                                                                                         72
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 75 of 92 Page ID
                                                                                                                  #:75


                                                                              1          133. Plaintiffs seek no damages hereunder and seek equitable and
                                                                              2    injunctive relief only. As such neither the City nor County are entitled to any
                                                                              3    claims of immunity pursuant to California Government Code section 814.
                                                                              4
                                                                              5                             SECOND CAUSE OF ACTION
                                                                              6                              Violation of Mandatory Duty
                                                                              7                  Cal. Gov’t Code § 815.6; Welf & Inst. Code § 17000
                                                                              8                       (Against Defendant County of Los Angeles)
                                                                              9          134. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              10   every allegation set forth in paragraphs 1 through 133 of this Complaint as
                                                                              11   though set forth fully herein.
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                                                                              12         135. Defendant County of Los Angeles is liable under California
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                                          LOS ANGELES, CA 90025




                                                                              13   Government Code section 815.6 and common law negligence theory for violation
                                                                              14   of a statutorily mandated duty to provide medical care for the indigent.
                                                                              15   California Welfare and Institutions Code section 17000 provides: “Every county
                                                                              16   and every city and county shall relieve and support all incompetent, poor,
                                                                              17   indigent persons, and those incapacitated by age, disease, or accident, lawfully
                                                                              18   resident therein, when such persons are not supported and relieved by their
                                                                              19   relatives or friends, by their own means, or by state hospitals or other state or
                                                                              20   private institutions.”
                                                                              21         136. Section 10000 clarifies and defines the purpose of these obligations
                                                                              22   as follows:
                                                                              23         The purpose of this division is to provide for protection, care, and
                                                                              24         assistance to the people of the state in need thereof, and to promote
                                                                              25         the welfare and happiness of all of the people of the state by
                                                                              26         providing appropriate aid and services to all of its needy and
                                                                              27         distressed. It is the legislative intent that aid shall be administered
                                                                              28         and services provided promptly and humanely, with due regard for

                                                                                                                         73
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 76 of 92 Page ID
                                                                                                                  #:76


                                                                              1          the preservation of family life, and without discrimination on
                                                                              2          account of ancestry, marital status, political affiliation, or any
                                                                              3          characteristic listed or defined in Section 11135 of the Government
                                                                              4          Code. That aid shall be so administered and services so provided,
                                                                              5          to the extent not in conflict with federal law, as to encourage self-
                                                                              6          respect, self-reliance, and the desire to be a good citizen, useful to
                                                                              7          society.
                                                                              8    Cal. Welf. & Inst. Code § 10000.
                                                                              9          137. Sections 17000 and 10000 taken together mandate that “medical
                                                                              10   care be provided to indigents. . . promptly and humanely.” Tailfeather v. Board
                                                                              11   of Supervisors, 48 Cal. App. 4th 1223, 1245 (1996). This means counties must
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                                                                              12   provide medical care to the poor “at a level which does not lead to unnecessary
                                     1990 SOUTH BUNDY DR., SUITE 705
                                          LOS ANGELES, CA 90025




                                                                              13   suffering or endanger life and health.” Id. at 1240. The California Supreme
                                                                              14   Court has held that “subsistence medical services” must be provided. Hunt v.
                                                                              15   Superior Court, 21 Cal. 4th 984, 1014-15 (“Section 10000 imposes a minimum
                                                                              16   standard of care—one requiring that subsistence medical services be provided
                                                                              17   promptly and humanely.”) Counties have an obligation to provide “medically
                                                                              18   necessary care, not just emergency care.” County of Alameda v. State Bd. of
                                                                              19   Control, 14 Cal. App. 4th 1096, 1108 (1993) (citation omitted). That includes
                                                                              20   care “sufficient to avoid substantial pain and infection.” Hunt, 21 Cal. 4th at 1014
                                                                              21   (citing Cooke v. Superior Court, 213 Cal. App. 3d 401, 413-15 (1989)).
                                                                              22   Importantly, a county’s obligation to provide medically necessary care must be
                                                                              23   fulfilled “without regard to its fiscal plight.” Fuchino v. Edwards-Buckley, 196
                                                                              24   Cal. App. 4th 1128, 1134 (2011) (citation omitted). “Medically necessary” for
                                                                              25   adults is defined in California Welfare & Institutions Code section 14059.5(a):
                                                                              26   “[A] service is ‘medically necessary’ or a ‘medical necessity’ when it is
                                                                              27   reasonable and necessary to protect life, to prevent significant illness or
                                                                              28

                                                                                                                         74
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 77 of 92 Page ID
                                                                                                                   #:77


                                                                              1    significant disability, or to alleviate severe pain.” Cal. Welf. & Inst. Code §
                                                                              2    14059.5(a).
                                                                              3          138. Given the above described facts and circumstances, and significant
                                                                              4    studies, statistics, and reports including those set forth supra, and other such
                                                                              5    evidence as may be provided, it cannot be doubted that a person’s status as an
                                                                              6    unsheltered homeless individual both causes and exacerbates physical and mental
                                                                              7    health problems, ultimately causing much higher rates of infection, disease,
                                                                              8    decay, pain, and death. As Dr. Barbara Ferrer, director of the LA County
                                                                              9    Department of Public Health, admitted: “Homeless people are in fact dying at a
                                                                              10   higher rate because they’re homeless.” 102 Recognizing this, the LA County
                                                                              11   Department of Health Services has implemented limited program to provide
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                                                                              12   housing as part of its larger healthcare obligation which has been wildly
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                                          LOS ANGELES, CA 90025




                                                                              13   successful. But unfortunately, it has not gone far enough to address the homeless
                                                                              14   crisis which is ravaging the city and county, such that approximately 44,000
                                                                              15   persons remain unsheltered in the County as of January 2019.
                                                                              16         139. Basic shelter is “medically necessary” insofar as it is “reasonable
                                                                              17   and necessary to protect life, to prevent significant illness or significant
                                                                              18   disability, or to alleviate severe pain” and the City and County’s failure to
                                                                              19   provide the same to its homeless population constitutes a breach of its duty under
                                                                              20   California Welfare & Institution Code Sections 17000 and 10000.
                                                                              21         140. Plaintiffs, and each of them, have been damaged by the County’s
                                                                              22   failure to provide beds, as described in detail supra.
                                                                              23         141. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              24   equitable and injunctive relief only. As such neither the City nor County are
                                                                              25   entitled to any claims of immunity pursuant Cal. Gov. Code § 814.
                                                                              26
                                                                              27
                                                                                         102
                                                                                              Flores, supra note 63,
                                                                              28   https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.

                                                                                                                         75
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 78 of 92 Page ID
                                                                                                                   #:78


                                                                              1                              THIRD CAUSE OF ACTION
                                                                              2             Violation of Cal. Civ. Code § 3490, et seq. (Public Nuisance)
                                                                              3                                 (Against all Defendants)
                                                                              4          142. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              5    every allegation set forth in paragraphs 1 through 141 of this Complaint as
                                                                              6    though set forth fully herein.
                                                                              7          143. California has defined nuisance as
                                                                              8          [a]nything which is injurious to health, including, but not limited to,
                                                                              9          the illegal sale of controlled substances, or is indecent or offensive to
                                                                              10         the senses, or an obstruction to the free use of property, so as to
                                                                              11         interfere with the comfortable enjoyment of life or property, or
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                                                                              12         unlawfully obstructs the free passage or use, in the customary manner,
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                                          LOS ANGELES, CA 90025




                                                                              13         of any navigable lake, or river, bay, stream, canal, or basin, or any
                                                                              14         public park, square, street, or highway, is a nuisance.
                                                                              15   Cal. Civ. Code § 3479.
                                                                              16         144. A nuisance cause of action “is plainly aimed at protecting the public
                                                                              17   from the hazards created by public nuisances.” People v. ConAgra Grocery
                                                                              18   Prod. Co., 17 Cal. App. 5th 51, 136 (2017). In addition to health and safety
                                                                              19   hazards, “[a] reduction in property values caused by activities on a . . . piece of
                                                                              20   land, and an assault on the senses by noise, dust, and odors, are just the kinds of
                                                                              21   harm that common law suits to abate a nuisance are designed to redress.” Solid
                                                                              22   Waste Agency of N. Cook Cty. v. U.S. Army Corps of Eng’rs, 101 F.3d 503, 505
                                                                              23   (7th Cir. 1996). A public nuisance is the substantial and unreasonable
                                                                              24   interference with a public right. San Diego Gas & Elec. Co. v. Superior Court,
                                                                              25   13 Cal. 4th 893, 938-39 (1996).
                                                                              26         145. As described above, the City, by its failure to maintain the public
                                                                              27   property under its control, and to enforce the laws requiring the same, is
                                                                              28   perpetuating and facilitating nuisance violations.

                                                                                                                         76
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20        Page 79 of 92 Page ID
                                                                                                                  #:79


                                                                              1          146. All Plaintiffs have experienced a substantial and unreasonable
                                                                              2    interference with the enjoyment of their property, whether that be a building
                                                                              3    owned or room rented; each have suffered and continue to be threatened with
                                                                              4    respect to their health and welfare, by reason of the constant threat of disease and
                                                                              5    the experience of human waste, trash, and encampments outside their property.
                                                                              6          147. Each plaintiff and Alliance member has been damaged in his or her
                                                                              7    own right, in a manner specially injurious to him or herself. No plaintiff or
                                                                              8    Alliance member consented to defendants’ conduct.
                                                                              9
                                                                              10                           FOURTH CAUSE OF ACTION
                                                                              11            Violation of Cal. Civ. Code § 3501, et seq. (Private Nuisance)
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                                                                              12                                (Against all Defendants)
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                                                                              13         148. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              14   every allegation set forth in paragraphs 1 through 147 of this Complaint as
                                                                              15   though set forth fully herein.
                                                                              16         149. Each Plaintiff and Alliance member identified owns, leases,
                                                                              17   occupies, or otherwise controls all of a portion of the home or business identified.
                                                                              18   By Defendants’ actions and inactions, each has created a condition or permitted a
                                                                              19   condition to exist that is harmful to the health, indecent and offensive to the
                                                                              20   senses, obstructs the free passage and use of public parks, squares, streets,
                                                                              21   highway, and sidewalks, permits unlawful sales of illicit narcotics, and
                                                                              22   constitutes a fire hazard, as described supra.
                                                                              23         150. Defendants’ conduct has been and is intentional and unreasonable,
                                                                              24   unintentional but negligent or reckless, and/or the condition permitted to exist
                                                                              25   was the result of abnormally dangerous activity which substantially interfered
                                                                              26   with each plaintiff’s and Alliance member’s use or enjoyment of his or her land
                                                                              27   that an ordinary person would reasonably be annoyed or disturbed by. No
                                                                              28   plaintiff or Alliance member consented to Defendants’ conduct; each was

                                                                                                                         77
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES        Document 1 Filed 03/10/20      Page 80 of 92 Page ID
                                                                                                                  #:80


                                                                              1    harmed, Defendants’ conduct was a substantial factor in causing the harm, and
                                                                              2    the seriousness of the harm outweighs any public benefit of such conduct (which
                                                                              3    is none).
                                                                              4          151. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              5    equitable and injunctive relief only. As such neither the City nor County are
                                                                              6    entitled to any claims of immunity pursuant to California Government Code
                                                                              7    section 814.
                                                                              8
                                                                              9                              FIFTH CAUSE OF ACTION
                                                                              10                    Inverse Condemnation/Cal. Const. art. I § 19
                                                                              11                  (Plaintiffs Alliance, Burk, and Frem against City)
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                                                                              12         152. Plaintiffs re-allege and incorporate herein by this reference each and
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                                                                              13   every allegation set forth in paragraphs 1 through 151 of this Complaint as
                                                                              14   though set forth fully herein.
                                                                              15         153. California Constitution, article I § 19 provides in relevant part:
                                                                              16   “Private property may be taken or damaged for a public use and only when just
                                                                              17   compensation, ascertained by a jury unless waived, has first been paid to, or into
                                                                              18   court for, the owner.” The actions by the City have limited, damaged, and/or
                                                                              19   burdened the owners’ property and/or business so substantially they rise to the
                                                                              20   level of a regulatory taking, yet no compensation has been provided.
                                                                              21         154. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              22   equitable and injunctive relief only.
                                                                              23   //
                                                                              24   //
                                                                              25   //
                                                                              26   //
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                                                                              28   //

                                                                                                                        78
                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 81 of 92 Page ID
                                                                                                                   #:81


                                                                              1                              SIXTH CAUSE OF ACTION
                                                                              2                         Waste of Public Funds and Resources
                                                                              3                               Cal. Civ. Proc. Code § 526a
                                                                              4                                 (Against All Defendants)
                                                                              5          155. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              6    every allegation set forth in paragraphs 1 through 154 of this Complaint as
                                                                              7    though set forth fully herein.
                                                                              8          156. California Code of Civil Procedure section 526a permits private
                                                                              9    individuals or entities to bring an action to “obtain a judgment, restraining and
                                                                              10   preventing any illegal expenditure of, waste of, or injury to, the estate, funds, or
                                                                              11   other property of a local agency.”
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                                                                              12         157.    Plaintiffs and Alliance members, each of them, are residents of the
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                                                                              13   City of Los Angeles and/or County of Los Angeles and/or own property and/or
                                                                              14   businesses therein and pay income tax, sales tax, property tax, and/or business
                                                                              15   license taxes and therefore having standing to bring an action under section 526a.
                                                                              16         158. As described more fully in paragraphs 59 through 69 supra, taxpayer
                                                                              17   funds have been misused and wasted by the City and County of Los Angeles,
                                                                              18   such they are incapable of achieving the ostensible goal of addressing the
                                                                              19   homelessness crisis in any significant way, much less “ending” it. Such
                                                                              20   expenditures, particularly when taken in the aggregate, cost several factors more
                                                                              21   than alternative available measures which are demonstrably effective in
                                                                              22   addressing the crisis.
                                                                              23         159. Proposition HHH and Measure H were promoted and passed by the
                                                                              24   electorate to address the homelessness crisis in a comprehensive and effective
                                                                              25   way. Instead, homelessness has steadily increased in this City and County.
                                                                              26         160. As detailed above the City and the County have spent enormous
                                                                              27   amounts of public funds on the homelessness crisis in ways that have had little or
                                                                              28   no effect on the crisis, and thereby wasted those public funds.

                                                                                                                           79
                                                                                                                        COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20       Page 82 of 92 Page ID
                                                                                                                   #:82


                                                                              1          161. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              2    equitable and injunctive relief only. As such neither the City nor County are
                                                                              3    entitled to any claims of immunity pursuant to California Government Code
                                                                              4    section 814.
                                                                              5
                                                                              6                            SEVENTH CAUSE OF ACTION
                                                                              7            Violation of California Environmental Quality Act (“CEQA”)
                                                                              8                          Cal. Public. Res. Code § 21000 et seq
                                                                              9                                 (Against All Defendants)
                                                                              10         162. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              11   every allegation set forth in paragraphs 1 through 161 of this Complaint as
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                                                                              12   though set forth fully herein.
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                                                                              13         163. The California Environmental Quality Act requires local
                                                                              14   governments to consider the environmental implications of their actions to
                                                                              15   “[e]nsure that long term protection of the environment. . . shall be the guiding
                                                                              16   criterion in public decisions.” Cal. Pub. Res. Code § 21001(d). Before any
                                                                              17   agency commences a “project”, environmental analysis must be complete.
                                                                              18   “Project” is defined as an “activity which may cause either a direct physical
                                                                              19   change in the environment, or a reasonably foreseeable indirect physical change
                                                                              20   in the environment. . .” Cal. Pub. Res. Code § 21065; see also, Cal. Code Regs.
                                                                              21   tit. 14, § 15378(a). “Activity,” for this purpose, includes “[a]n activity directly
                                                                              22   undertaken by any public agency,” (Cal. Pub. Res. Code § 21065(a)), as well as
                                                                              23   “[a]n activity that involves the issuance to a person of a lease, permit, license,
                                                                              24   certificate, or other entitlement for use by one or more public agencies.” Cal.
                                                                              25   Pub. Res. Code § 21065(c).
                                                                              26         164. The adoption of a rule or regulation can be a project subject to
                                                                              27   CEQA. Plastic Pipe & Fittings Ass’n v. California Bldg. Standards Comm’n,
                                                                              28   124 Cal. App. 4th 1390, 1412 (2004); Wildlife Alive v. Chickering, 18 Cal. 3d

                                                                                                                         80
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20    Page 83 of 92 Page ID
                                                                                                                    #:83


                                                                              1    190, 206 (1976). “A direct physical change in the environment is a physical
                                                                              2    change in the environment which is caused by and immediately related to the
                                                                              3    project. Examples of direct physical changes in the environment are the dust,
                                                                              4    noise, and traffic of heavy equipment that would result from construction of a
                                                                              5    sewage treatment plant and possible odors from operation of the plant.” Cal.
                                                                              6    Code Regs. tit. 14 § 15064(d)(1).
                                                                              7          165. Numerous acts by the City constitute a “project”, including the
                                                                              8    power-washing scheme which flushes thousands of tons per year of toxic
                                                                              9    substances into our oceans. The City’s decision to settle Mitchell v. City of Los
                                                                              10   Angeles is another example of a “project” in the Skid Row area; permitting
                                                                              11   unlimited property accumulation in the area has caused untold amounts of human
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                                                                              12   waste, trash, debris, and toxic substances to wash into our waterways. Substantial
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                                          LOS ANGELES, CA 90025




                                                                              13   evidence exists, as discussed supra, that the growing homelessness crisis may
                                                                              14   have a significant effect on the environment. 103 Yet no review has ever been done
                                                                              15   prior to adopting these projects, in violation of the California Environmental
                                                                              16   Quality Act.
                                                                              17         166. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              18   equitable and injunctive relief only. As such neither the City nor County are
                                                                              19   entitled to any claims of immunity pursuant to California Government Code
                                                                              20   section 814.
                                                                              21   //
                                                                              22   //
                                                                              23   //
                                                                              24   //
                                                                              25   //
                                                                              26   //
                                                                              27
                                                                              28         103
                                                                                               See para. 49-53, supra.

                                                                                                                            81
                                                                                                                         COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20       Page 84 of 92 Page ID
                                                                                                                    #:84


                                                                              1                               EIGHTH CAUSE OF ACTION
                                                                              2                      Violation of California Disabled Persons Act
                                                                              3                                 Cal. Civ. Code § 54, et seq
                                                                              4     (Plaintiffs Charles Van Scoy and Leandro Suarez Against Defendant City)
                                                                              5          167. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              6    every allegation set forth in paragraphs 1 through 166 of this Complaint as
                                                                              7    though set forth fully herein.
                                                                              8          168. California’s Disabled Persons Act codifies requirements that ensure
                                                                              9    equal and full access to individuals with disabilities. That Act provides, in part:
                                                                              10                Individuals with disabilities or medical conditions have
                                                                              11                the same right as the general public to the full and free
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                                                                              12                use of the streets, highways, sidewalks, walkways, public
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                                          LOS ANGELES, CA 90025




                                                                              13                buildings, medical facilities, including hospitals, clinics,
                                                                              14                and physicians’ offices, public facilities, and other public
                                                                              15                places.
                                                                              16   Cal. Civ. Code § 54 (a).
                                                                              17                Individuals with disabilities shall be entitled to full and equal
                                                                              18                access, as other members of the general public, to
                                                                              19                accommodations, advantages, facilities, medical facilities,
                                                                              20                including hospitals, clinics, and physicians’ offices . . . and
                                                                              21                other places to which the general public is invited, subject only
                                                                              22                to the conditions and limitations established by law, or state or
                                                                              23                federal regulation, and applicable alike to all persons.
                                                                              24   Cal. Civ. Code § 54.1(a)(1).
                                                                              25         169. As detailed above, Plaintiffs Charles Van Scoy and Leandro Suarez
                                                                              26   are individuals with disabilities as defined by the Disabled Persons Act, and are
                                                                              27   being denied full and equal access to places to which the general public is
                                                                              28   invited, including “free and full use” of public sidewalks, by the policies and

                                                                                                                         82
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 85 of 92 Page ID
                                                                                                                   #:85


                                                                              1    practices of the City of Los Angeles, including its failure to regularly maintain its
                                                                              2    sidewalks in a manner which permits wheelchair-bound individuals “full and free
                                                                              3    use” thereof.
                                                                              4           170. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              5    equitable and injunctive relief only. As such neither the City nor County are
                                                                              6    entitled to any claims of immunity pursuant to California Government Code
                                                                              7    section 814.
                                                                              8
                                                                              9                              NINTH CAUSE OF ACTION
                                                                              10              Violation of Title II of the Americans with Disabilities Act
                                                                              11                                42 U.S.C. § 12131, et seq.
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                                                                              12    (Plaintiffs Charles Van Scoy and Leandro Suarez against Defendant City)
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                                                                              13          171. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              14   every allegation set forth in paragraphs 1 through 170 of this Complaint as
                                                                              15   though set forth fully herein.
                                                                              16          172. The Americans with Disabilities Act (“ADA”) provides that people
                                                                              17   with disabilities be afforded “the full and equal enjoyment of the goods, services,
                                                                              18   facilities, privileges, advantages, or accommodations of any place of public
                                                                              19   accommodation …” 42 U.S.C. § 12182(a). Further, the ADA ensures that
                                                                              20   transportation facilities are constructed to a set of standards that ensures
                                                                              21   accessibility for the disabled. Sidewalks are the most common element of
                                                                              22   transportation infrastructure, yet if they are not accessible, they pose great
                                                                              23   challenges and dangers to anyone in a wheelchair or who has other mobility
                                                                              24   restrictions.
                                                                              25          173. Sidewalks are subject to the access requirements of Title II of the
                                                                              26   ADA and § 504 of the Rehabilitation Act. 42 U.S.C. § 12101(1); Willits, 925 F.
                                                                              27   Supp. 2d at 1093 (“Any public sidewalk over which the City of Los Angeles has
                                                                              28   responsibility to inspect and notify property owners of repair needs is a ‘program,

                                                                                                                         83
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20         Page 86 of 92 Page ID
                                                                                                                   #:86


                                                                              1    service, or activity’ within the meaning of Title II of the Americans with
                                                                              2    Disabilities Act and Section 504 of the Rehabilitation Act of 1973.”).
                                                                              3    Accordingly, sidewalk width requirements ensure that sidewalks are accessible
                                                                              4    for use by wheelchair-bound individuals.
                                                                              5          174. The minimum width for an ADA-compliant sidewalk is 36 inches.
                                                                              6    36 C.F.R. § 1191, app. D, § 403.5.1 (2014) (“the clear width of walking surfaces
                                                                              7    shall be 36 inches (915 mm) minimum”). Where obstructions such as telephone
                                                                              8    poles, traffic signal cabinets, or other utilities exist, the sidewalk must be
                                                                              9    constructed to allow the minimum width requirement of 36 inches between the
                                                                              10   edge of the obstruction and the edge of the sidewalk. Id. “A public entity shall
                                                                              11   maintain in operable working condition those features of facilities and equipment
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                                                                              12   that are required to be readily accessible to and usable by persons with
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                                                                              13   disabilities by the Act or this part.” 28 C.F.R § 35.133(a) (2011).
                                                                              14         175. Throughout Los Angeles, the City and County are failing to uphold
                                                                              15   their obligations to maintain clear and accessible sidewalks and public rights-of-
                                                                              16   way for its disabled residents and visitors, resulting in regular violations of the
                                                                              17   Americans with Disabilities Act. These ADA violations are obvious and known
                                                                              18   to the City and County both through its own inspections and various reports of
                                                                              19   blocked sidewalks due to encampments through its own reporting mechanisms,
                                                                              20   such as 311. Defendants and its agents and employees have failed and continue
                                                                              21   to fail to provide reasonable accommodations for disabled persons using public
                                                                              22   sidewalks.
                                                                              23         176. Defendants are obligated to operate the “service, program, or
                                                                              24   activity” “so that . . ., when viewed in its entirety, it is readily accessible to and
                                                                              25   useable by individuals with disabilities. 28 C.F.R. § 35.150(a) (2012). Yet when
                                                                              26   “viewed in its entirety” public rights-of-way are not provided by Defendants to
                                                                              27   be “readily accessible to and useable” by individuals bound to wheelchairs.
                                                                              28

                                                                                                                          84
                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 87 of 92 Page ID
                                                                                                                   #:87


                                                                              1          177. The discrimination and denial of access to the City’s rights-of-way
                                                                              2    for persons with disabilities is the direct result of Defendants’ policies and
                                                                              3    practices of deliberately permitting encampments to proliferate, particularly in
                                                                              4    certain areas such as Skid Row or on Venice Blvd under the 405 freeway, and the
                                                                              5    failure to adopt or implement any adequate procedure for regularly inspecting
                                                                              6    and maintaining the pedestrian rights-of-way clear of obstructions.
                                                                              7          178. As a direct and proximate result of the aforementioned acts,
                                                                              8    including but not limited to Defendants’ deliberate indifference to the violation of
                                                                              9    Mr. Van Scoy and Mr. Suarez’s federally protected rights, both have suffered
                                                                              10   pain, humiliation, hardship, anxiety, indignity, and severe mental and emotional
                                                                              11   anguish. This causes each of them to be deprived of their independence and
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                                                                              12   prevents each from accessing the services and benefits of public establishments.
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                                                                              13         179. Pursuant to 42 U.S.C. § 12133, Plaintiffs Van Scoy and Suarez are
                                                                              14   entitled to recover compensatory damages and reasonable attorneys’ fees and
                                                                              15   costs incurred in bringing this action.
                                                                              16
                                                                              17                             TENTH CAUSE OF ACTION
                                                                              18                  Violation of Section 504 of the Rehabilitation Act
                                                                              19                                    29 U.S.C. § 791 et seq.
                                                                              20    (Plaintiffs Charles Van Scoy and Leandro Suarez against Defendant City)
                                                                              21         180. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              22   every allegation set forth in paragraphs 1 through 179 of this Complaint as
                                                                              23   though set forth fully herein.
                                                                              24         181. Section 504 of the Rehabilitation Act of 1973 provides in relevant
                                                                              25   part: “[N]o otherwise qualified individual with a disability. . . shall, solely by
                                                                              26   reason of his or her disability, be excluded from the participation in, be denied
                                                                              27   the benefits of, or be subjected to discrimination under any program or activity
                                                                              28   receiving Federal financial assistance. . .” 29 U.S.C. § 794(a) (2016).

                                                                                                                           85
                                                                                                                        COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20      Page 88 of 92 Page ID
                                                                                                                    #:88


                                                                              1          182. Plaintiffs are otherwise qualified to participate in the services,
                                                                              2    programs, or activities that are provided to individuals in the City. The City is a
                                                                              3    recipient of federal financial assistance and therefore subject to Section 504.
                                                                              4    Upon information and belief, Defendants and their agents and employees have
                                                                              5    and continue to violate Section 504 of the Rehabilitation Act by excluding
                                                                              6    Plaintiffs Van Scoy and Suarez from participation in, denying them the benefits
                                                                              7    of, and subjecting them to discrimination regarding the benefits and services
                                                                              8    involved in utilizing public rights-of-way based solely on their disability
                                                                              9          183. Upon information and belief, said discrimination occurred with
                                                                              10   deliberate intent and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an
                                                                              11   award of compensatory damages, injunctive relief, and the cost of attorneys’ fees
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                                                                              12   in bringing this action.
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                                          LOS ANGELES, CA 90025




                                                                              13
                                                                              14                          ELEVENTH CAUSE OF ACTION
                                                                              15                    Violation of Due Process and Equal Protection
                                                                              16                     42 U.S.C. § 1983; U.S. Const. amend. V/XIV
                                                                              17                                (Against all Defendants)
                                                                              18         184. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              19   every allegation set forth in paragraphs 1 through 183 of this Complaint as
                                                                              20   though set forth fully herein.
                                                                              21         185. Defendants, by enforcing the law in some areas and declining to
                                                                              22   enforce the law in others, and by abdicating their duties under the law, have
                                                                              23   arbitrarily determined where homeless encampments may or may not be located
                                                                              24   and what communities should be affected, without following their own respective
                                                                              25   procedures and in violation of both state and federal law. This has placed a
                                                                              26   disproportionate burden on some persons, communities, and businesses over
                                                                              27   others.
                                                                              28

                                                                                                                         86
                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES          Document 1 Filed 03/10/20     Page 89 of 92 Page ID
                                                                                                                    #:89


                                                                              1          186. Upon information and belief, City and County officials have within
                                                                              2    the last year affirmatively notified and/or instructed homeless individuals that
                                                                              3    some areas (for example, Skid Row, certain areas in Venice, or under the 405
                                                                              4    freeway) were locations where camps would be allowed to exist and persist. This
                                                                              5    policy of allowing encampments in some areas and not others without review,
                                                                              6    public comment, vote, or other appropriate process is in direct violation of the
                                                                              7    Fifth and Fourteenth Amendments’ prohibitions against deprivation without due
                                                                              8    process and unequal protection of the law. When the City entered into the
                                                                              9    Mitchell settlement providing for the foregoing it agreed by its very terms, and
                                                                              10   implicitly, to treat a segment of the population (those living, working, and
                                                                              11   owning property within the “Designated Area” known as Skid Row and the
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                                                                              12   surrounding blocks), including many Plaintiffs herein differently than those
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                                          LOS ANGELES, CA 90025




                                                                              13   outside the “Designated Area.” The City had no rational basis for doing so.
                                                                              14         187. Upon information and belief, this was done with deliberate intent
                                                                              15   and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an award of
                                                                              16   compensatory damages, injunctive relief, and the cost of attorneys’ fees in
                                                                              17   bringing this action.
                                                                              18
                                                                              19                            TWELFTH CAUSE OF ACTION
                                                                              20         Violation of Due Process Clause (State-Created Danger Doctrine)
                                                                              21                       42 U.S.C. § 1983; U.S. Const. Amend. 14
                                                                              22                           (All Plaintiffs against All Defendants)
                                                                              23          188. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              24   every allegation set forth in paragraphs 1 through 187 of this Complaint as
                                                                              25   though set forth fully herein.
                                                                              26          189. By the acts and omissions described above, Defendants have
                                                                              27   affirmatively created or increased the risk that Plaintiffs would be exposed to
                                                                              28

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                                                                                                                       COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20      Page 90 of 92 Page ID
                                                                                                                   #:90


                                                                              1    dangerous conditions, which placed Plaintiffs specifically at risk, and Plaintiffs
                                                                              2    were harmed as a result
                                                                              3           190. Defendants knew or should have known that their acts or omissions
                                                                              4    specifically endangered Plaintiffs, and were deliberately indifferent thereto.
                                                                              5
                                                                              6                            THIRTEENTH CAUSE OF ACTION
                                                                              7                                 Uncompensated Taking
                                                                              8                       42. U.S.C. § 1983; U.S. Const. Amend. V/XIV
                                                                              9                      (Plaintiffs Alliance, Burk, and Frem Against City)
                                                                              10         191. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              11   every allegation set forth in paragraphs 1 through 190 of this Complaint as
                             TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
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                                                                              12   though set forth fully herein.
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                                          LOS ANGELES, CA 90025




                                                                              13         192. The Fifth Amendment mandates, in relevant part, that “private
                                                                              14   property [shall not] be taken for public use, without just compensation.” U.S.
                                                                              15   Const. amend. V. The Fifth Amendment is applied to the states through the
                                                                              16   Fourteenth Amendment. Chicago, Burlington, & Quincy R.R. Co. v. City of
                                                                              17   Chicago, 166 U.S. 226 (1897). The actions by the City, as described in detail
                                                                              18   supra, have limited, damaged, and/or burdened the property owners’ so
                                                                              19   substantially they rise to the level of a regulatory taking, yet no compensation has
                                                                              20   been provided.
                                                                              21         193. Upon information and belief, this was done with deliberate intent
                                                                              22   and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an award of
                                                                              23   compensatory damages, injunctive relief, and the cost of attorneys’ fees in
                                                                              24   bringing this action.
                                                                              25   //
                                                                              26   //
                                                                              27   //
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                                                                                                                     COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES         Document 1 Filed 03/10/20        Page 91 of 92 Page ID
                                                                                                                   #:91


                                                                              1                         FOURTEENTH CAUSE OF ACTION
                                                                              2    Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. § 1983)
                                                                              3                                 (Against All Defendants)
                                                                              4          194. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              5    every allegation set forth in paragraphs 1 through 193 of this Complaint as
                                                                              6    though set forth fully herein.
                                                                              7          195. Plaintiffs are informed, believe and allege that, at all times herein
                                                                              8    mentioned, Defendants City of Los Angeles and County of Los Angeles and their
                                                                              9    respective agents, with deliberate indifference, and conscious and reckless
                                                                              10   disregard to the safety, security, and constitutional and statutory rights of
                                                                              11   Plaintiffs, engaged in the unconstitutional conduct and omissions set forth above,
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                                                                              12   all pursuant to policy, procedure, or customs held by the City and County of Los
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                                          LOS ANGELES, CA 90025




                                                                              13   Angeles.
                                                                              14         196. The actions and inactions of the City of Los Angeles and County of
                                                                              15   Los Angeles were known or should have been known to the policy makers
                                                                              16   responsible for that agency and occurred with deliberate indifference to the
                                                                              17   constitutional violations set forth above, and/or to the strong likelihood that
                                                                              18   constitutional rights would be violated as a result of its customs and/or policies.
                                                                              19         197. Plaintiffs seek an award of compensatory damages, injunctive relief,
                                                                              20   and the cost of attorneys’ fees in bringing this action.
                                                                              21   WHEREFORE, Plaintiffs pray for judgment against all Defendants, and each of
                                                                              22   them, as more fully set forth below.
                                                                              23   //
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                                                                              25   //
                                                                              26   //
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                                                                                                                      COMPLAINT
                                                                          Case 2:20-cv-02291-DOC-KES       Document 1 Filed 03/10/20       Page 92 of 92 Page ID
                                                                                                                 #:92


                                                                              1                            VI.    PRAYER FOR RELIEF
                                                                              2          Plaintiffs pray for judgment against Defendants as follows:
                                                                              3          1.    Injunctive/equitable relief in a manner to be determined by law;
                                                                              4          2.    As to the federal claims and claims under the California constitution
                                                                              5    only, compensatory damages and other special, general and consequential
                                                                              6    damages according to proof;
                                                                              7          3.    An award of costs of suit, including attorneys’ fees; and
                                                                              8          4.    Such other and further relief as this Court deems just and proper.
                                                                              9
                                                                              10                     VII. DEMAND FOR JURY TRIAL
                                                                              11         Plaintiffs hereby demand a jury trial.
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                                                                              13   Dated: March 10, 2020                  /s/ Elizabeth A. Mitchell
                                                                                                                           SPERTUS, LANDES & UMHOFER, LLP
                                                                              14                                           Matthew Donald Umhofer (SBN 206607)
                                                                                                                           Elizabeth A. Mitchell (SBN 251139)
                                                                              15
                                                                              16                                           Attorneys for Plaintiffs
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                                                                                                                     COMPLAINT
